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                   PREPA 2022 CERTIFIED FISCAL PLAN
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          2022 Certified Fiscal Plan for the
      Puerto Rico Electric Power Authority
                             As certified by the Financial Oversight and Management
                                               Board for Puerto Rico on June 28, 2022
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 government of the United States. Examples of these factors include, but are not limited to:
    -    The effect of the Coronavirus Disease 2019 (“COVID-19”) on the health and well-being of the people of Puerto
         Rico;
    -    The short-term economic effects of COVID-19 on the global economy and the economies of the United States
         and Puerto Rico as they relate to Puerto Rico’s tax revenue and budget;
    -    The longer-term economic ramifications of behavioral changes caused by COVID-19 (i.e., reduced travel,
         increased work from home, reduced activity in large gathering places, etc.);
    -    The amount of federal government aid provided to U.S. states and territories (including Puerto Rico) the
         efficacy and speed of disbursement of such aid;
    -    The need to shift resources to create a more resilient structure to prevent or mitigate future pandemics;
    -    Any future actions taken or not taken by the United States government related to Medicaid;
    -    The amount and timing of receipt of any distributions from the Federal Emergency Management Agency
         (FEMA), U.S. Department of Housing and Urban Development (HUD)’s Community Development Block
         Grant-Disaster Recovery (CDBG-DR) Program and private insurance companies to repair damage caused by
         Hurricanes Irma and Maria and the major earthquakes that occurred in January 2020;
    -    The amount and timing of receipt of any additional amounts appropriated by the United States government
         to address the funding gap described herein;
    -    The timeline for completion of the work being done by PREPA to repair PREPA’s electric system and
         infrastructure and the impact of any future developments or issues related to the reconstruction and
         modernization of PREPA’s T&D electric system and infrastructure by LUMA and the legacy generation O&M
         procurement process on Puerto Rico’s economic growth;
    -    The impact of outmigration and declining population; and
    -    The timing and impact of the resolution of PREPA and Puerto Rico’s Title III cases and related litigation.
 Because of the uncertainty and unpredictability of these factors, their impact cannot be included in the assumptions
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 (fiscalplanforpuertorico@aafaf.pr.gov) or the Oversight Board (comments@promesa.gov) in the event clarification is
 required.
 The PREPA Certified Fiscal Plan incorporates the macroeconomic and demographic projections developed for and
 presented in the 2022 Certified Fiscal Plan for Puerto Rico as certified by the Financial Oversight and Management
 Board for Puerto Rico on January 27, 2022, in order to comply with Section 201 of PROMESA, incorporating such
 projections does not imply a representation by PREPA of the validity or reasonableness of the underlying assumptions
 or results.




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List of Acronyms and Key Terms

 AAFAF           Puerto Rico Fiscal Agency and Financial Advisory Authority
 ACD             Automated Call Distribution
 Act No. 83      PREPA’s Enabling Act
 Act 120-2018    Puerto Rico Electric Power System Transformation Act
 Act 17-2019     Puerto Rico Energy Public Policy Act
 Act 211-2018    Act for Implementation of the Puerto Rico Public Service Regulatory Board Reorganization
 Act 57-2014     Puerto Rico Energy Transformation and RELIEF Act
 ADC             Actuarially Determined Contribution
 ADMS            Advanced Distribution Management System
 AES             AES Puerto Rico, parent company AES Corporation., an Independent Power Producer
 AICPA           American Institute of Certified Public Accountants
 AMI             Advanced Metering Infrastructure
 AP              Accounts Payable
 AR              Accounts Receivable
 A&E             Architectural & Engineering
 A/C             Air conditioning
 BBA             Bipartisan Budget Act of 2018
 CAA             Clean Air Act
 CAIDI           Customer Average Interruption Duration Index
 CDBG            Community Development Block Grant
 CDBG-DR         Community Development Block Grant Disaster Recovery
 CEMIN           Customers Experiencing Multiple Interruptions
 CHP             Combined Heat and Power
 CILT            Contribution in Lieu of Taxes
 COR3            Central Office of Recovery, Reconstruction, and Resiliency
 COVID-19        Coronavirus Disease 2019
 DART            Days Away Restricted or Transferred
 DER             Distributed Energy Resource
 DG              Distributed Generation
 DHS             Department of Homeland Security
 DNER            Department of Natural and Environmental Resources of Puerto Rico
 DOE             Department of Energy
 DR              Demand Response
 DSO             Days Sales Outstanding
 EE              Energy Efficiency
 EHP             Environmental and Historical Preservation
 EMS             Energy Management System
 EOC             Emergency Operation Centers
 EPA             Environmental Protection Agency
 EPM             Enterprise Project Management
 ETR             Estimated Time of Restoration
 EV              Electric Vehicles
 FAASt           FEMA Advanced Award Strategy Initiative
 FEMA            Federal Emergency Management Agency
 FEMA PA 404     FEMA Hazard Mitigation Program
 FEMA PA 428     FEMA Public Assistance Program
 FERC            Federal Energy Regulatory Commission
 FCR             First Call Resolution

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 FFS                    Findings of Failure to Submit
 FOMB                   Financial Oversight and Management Board for Puerto Rico
 Front-End Transition   Period of time from and including the Effective Date of T&D OMA to and excluding Service
                        Commencement Date
 FY                     Fiscal Year
 GASB                   Governmental Accounting Standards Board
 GDB                    Government Development Bank for Puerto Rico
 GenCo                  Comprises existing PREPA-owned generation resources; to be operated and maintained by one or
                        more private operators
 GGHOA                  GridCo-GenCo-HydroCo Operating Agreement
 GNP                    Gross National Product
 GridCo                 Comprises transmission and distribution, customer service, and administrative functions of PREPA;
                        will be operated by LUMA
 GW                     Gigawatts
 GWh                    Gigawatt-hour
 HMGP                   Hazard Mitigation Grant Program
 HoldCo                 PREPA successor to be responsible for entity that will be responsible for certain non-operational
                        functions
 HydroCo                Hydropower Assets to be contributed by PREPA to HydroCo pursuant to a capital contribution
                        agreement
 HR                     Human Resources
 HUD                    Department of Housing and Urban Development
 IEEE                   Institute of Electrical and Electronics Engineers
 IoT                    Internet of Things
 IPP                    Independent Power Producer
 IRP                    Integrated Resource Plan
 IT                     Information Technology
 kV                     Kilovolts
 kWh                    kilowatt-hour
 LED                    Light-Emitting Diode
 LNG                    Liquified Natural Gas
 LOI                    Letter of Intent
 LUMA                   LUMA Energy, LLC & LUMA Energy ServCo, LLC
 MAIFI                  Momentary Average Interruption Frequency Index
 MATS                   Mercury & Air Toxics Standards
 MMBTU                   Million British Thermal Units
 MW                     Megawatts
 MWh                    Megawatt-hour
 NAAQS                  National Ambient Air Quality Standard
 NME                    Necessary Maintenance Expenses
 NTE                    Not to Exceed
 NYSE                   New York Stock Exchange
 O&M                    Operations and Maintenance
 OIG                    Office of Inspector General (Department of Homeland Security)
 OIPC                   Oficina Independiente de Protección al Consumidor
 OMS                    Outage Management System
 OPEB                   Other Post-Employee Benefits
 OSHA                   Occupational Safety and Health Administration
 OT                     Operational Technology
 Oversight Board        Financial Oversight and Management Board for Puerto Rico
 PA                     Public Assistance, FEMA program
 P3                     Public-Private Partnership
 P3A                    Puerto Rico Public-Private Partnerships Authority
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 PMO             Project Management Office
 PPA             Power Purchase Agreement
 PPE             Personal Protective Equipment
 PPOA            Power Purchase and Operating Agreement
 PRDOH           Puerto Rico Department of Housing
 PREB            Puerto Rico Energy Bureau
 PREB IC         Puerto Rico Energy Bureau Independent Coordinator
 PREPA           Puerto Rico Electric Power Authority
 PREPA ERS       Puerto Rico Electric Power Authority Employees’ Retirement System
 PRM             Planning Reserve Margin
 PSRB            Public Service Regulatory Board
 PROMESA         Puerto Rico Oversight, Management, and Economic Stability Act (2016)
 PropertyCo      Comprises existing PREPA-owned assets that are not directly related to generation, T&D, or
                 irrigation operations
 PW              Project Worksheet
 PV              Photovoltaics
 RFP             Request for Proposal
 RFQ             Request for Quotation
 RFR             Request for Reimbursement
 RPS             Renewable Portfolio Standard
 SAIDI           System Average Interruption Duration Index
 SAIFI           System Average Interruption Frequency Index
 SCADA           Supervisory Control and Data Acquisition
 SOQs            Statements of Qualifications
 SOW             Scope of Work
 SRP             LUMA System Remediation Plan
 T&D             Transmission and Distribution
 T&D OMA         Transmission and Distribution Operations and Maintenance Agreement
 TRC             Total Resource Cost
 TWh             Terawatt-hour
 UAAL            Unfunded Actuarial Accrued Liability
 USD             United State Dollar
 USGS            United States Geological Survey
 UTIER           Puerto Rico Electrical Industry and Irrigation Workers Union [by its Spanish acronym]
 VTP             Voluntary Transition Program
 WTI             West Texas Intermediate
 YTD             Year-To-Date




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Chapter 1. Executive Summary
The 2022 Certified Fiscal Plan lays out a path towards the completion of the
operational and financial reorganization of the Puerto Rico Electric Power
Authority (PREPA) and the successful completion of the transformation of Puerto
Rico’s energy sector.
Puerto Rico’s economic recovery depends on a comprehensive and overdue
transformation of its energy sector to deliver the safe, reliable, and affordable
service that Puerto Rico’s residents and businesses deserve. Like prior Certified Fiscal
Plans, the 2022 Certified Fiscal Plan lays out a set of continued actions to further advance and
accelerate progress on this transformation, including improving and modernizing the
transmission and distribution (T&D) system, as well as PREPA’s generation fleet, leveraging
private-sector expertise and experience to enhance T&D and generation system operations,
diversifying the Island’s energy resources, including the deployment of renewable energy
resources and restructuring legacy obligations. When fully implemented, these transformational
initiatives will set Puerto Rico on a trajectory to achieve a safe, reliable, affordable, resilient,
modern electric grid, improving the quality of life for its residents and supporting long-term
economic growth of the island activity, through private sector expertise independent from
political interference.
During FY2022, PREPA and the Government made progress on several initiatives:
■   Completed a competitive procurement process to obtain the best available market prices for
    major fuel supply contracts (Diesel and Bunker C) leading to savings in fuel costs compared
    to prior contracts.
■   Supported the procurement process for the Legacy Generation Public-Private Partnership
    (P3) by developing materials for and supporting the administration of the Request for
    Proposal (RFP) and bidder due diligence process for the Legacy Generation P3.
■   Completed the procurement of 18 solar PPOAs totaling approximately 845MW of installed
    capacity from Tranche 1 of the Renewable RFP.
■   Submitted over $200 million in generation projects to FEMA.
As T&D System operator, LUMA made progress on the following areas:
■   Reduced customer call-wait times by over 95% to less than one minute and increasing
    customer accessibility to e-billing platforms with over a million customers registering on
    electronic portal or downloading the LUMA app.
■   Reduced OSHA DART Rate and OSHA Injury Severity Rate by over 80%.
■   Addressed inherited backlog of DG project interconnection requests, approving over 130 MW
    of new rooftop solar and other DG systems.
■   Gained regulatory approval for 190 initial scopes of work representing $7.8 billion in federal
    funding


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Despite these efforts and progress to-date, much work remains to be done. These
responsibilities are now shared with the T&D operator, LUMA. Completing the comprehensive
transformation of Puerto Rico’s energy system, which includes the separation of the transmission
and distribution ownership from the generation ownership, reaching public policy renewable
energy targets, reducing outage frequency and duration, enabling rate affordability, improving
service reliability and customer satisfaction, and ensuring system resiliency and preparedness
against unforeseen events requires diligent implementation and coordination between LUMA and
PREPA, along with the support and cooperation of the P3A and PREB, of multiple key initiatives,
most importantly:
■   Improving T&D and Generation operations: Improving program management to
    ensure timely and on budget completion of key operational initiatives, including proactive
    maintenance programs.
■   Modernizing and Reconstructing the Transmission and Distribution System:
    Developing and timely executing a capital investment plan to modernize and strengthen the
    electrical grid.
■   Contracting new generation to meet RPS targets: Implementing the PREB-approved
    IRP Modified Action Plan to modernize power generation resources and increase renewable
    energy generation.
■   Effectively and efficiently deploying federal funding: Optimizing the available federal
    funding and other associated obligated funding to enable the transformation of the generation
    portfolio and the T&D Systems.
■   Improving workforce and public safety: Continue health, safety and technical training
    for employees to develop a safe and competent workforce and continue to improve customer
    and public awareness of electrical hazards.
■   P3A’s completion of the competitive procurement process for one or more
    operators for the PREPA legacy generation assets: Completion of the remaining
    procurement efforts to implement the transfer of operation and maintenance of PREPA’s
    legacy generation assets to professional and independent private operators.
■   Restructuring legacy debt obligations: Supporting ongoing efforts by FOMB and AAFAF
    to restructure PREPA’s existing, unsustainable debt load and regain access to capital markets,
    without unduly affecting electricity rates and the burden on customers and the economy of
    Puerto Rico.
■   Pension Reform: Balancing the objectives of rate affordability with PREPA’s pension
    obligations to employees and retirees, PREPA must support FOMB and AAFAF in addressing
    the pensions in a plan of adjustment that ensures a sustainable reform.
Delays in the implementation of renewable energy projects and energy efficiency
measures pose a serious risk to Puerto Rico’s ability to meet its renewable energy
and energy efficiency aspirations. These delays also highlight the need for the Government,
PREB, PREPA and LUMA to take urgent actions to enable and support the transition and
transformation of the energy system. PREB and LUMA must also work towards updating the
existing Integrated Resource Plan to reflect the current pace of deployment, as well as updated

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macroeconomic conditions, to ensure it serves as an appropriate roadmap for the actions and
decisions that must be taken in the short- and medium-term. A failure to address the root causes
of these delays, and to take the remedial actions needed to ensure a reliable energy service may
set Puerto Rico on a path to erasing the progress made over the last years, leaving the Island’s
residents and businesses permanently at the mercy of an unreliable, expensive, and inefficient
energy system.
Puerto Rico’s energy infrastructure lags national standards due to decades of
operational and financial mismanagement. Delayed capital projects have kept the system
vulnerable to disruption and increased rates. A historical lack of long-term planning has resulted
in PREPA’s system being technologically outdated, operationally inefficient, and heavily reliant
on an unreliable, high-cost, and highly polluting oil-fired generation fleet. The dependence on
outdated generation and low operational efficiency across the organization has resulted in high
electricity rates and low service reliability. Puerto Rico’s ratepayers spend a higher share of
income on electricity service than most US ratepayers for service with reliability that falls at the
bottom of the fourth quartile of peer utilities. While LUMA has brought professional and
experienced services to the operation of PREPA’s transformation and distribution system and
mitigated the impact of decades of politicized decision-making regarding grid maintenance and
operations, these issues with PREPA’s system are a result of long-term failures to invest in and
maintain its grid.
PREPA’s prior operational shortcomings and inability to implement modest rate
adjustments to cover its rising costs led persistent operational deficits and the
accumulation of significant legacy debt and pension obligations. As of May 2017,
PREPA held approximately $9 billion in financial debt obligations, the equivalent of $6,000 per
customer, while PREPA’s pension liability exceeded $4.3 billion, of which $3.6 billion was
unfunded, the equivalent of $2,400 per customer.1 In other words, for every $1.00 owed to
existing and future retirees, PREPA’s pension plan had less than $.20 available to pay pensioners.
These liabilities led PREPA to seek a restructuring of its legacy obligations through a voluntary
petition under Title III of the Puerto Rico Oversight, Management, and Economic Stability Act
(PROMESA) in 2017.
PREPA and the people of Puerto Rico have also faced compounding negative effects
from external factors. In September 2017, Hurricanes Irma and Maria devastated the electric
grid. In January 2020 key PREPA generation assets were damaged by a 6.4 magnitude
earthquake. Shortly following that disaster, the ongoing Coronavirus Disease 2019 (“COVID-19”)
pandemic begun which further delayed much needed system maintenance and improvements.
More recently, fuel global oil prices have increased significantly due to, among other things, the
Russian invasion of Ukraine in February 2022, which has driven rates above ~28 cents per kWh
even though PREPA’s current rates do not provide for payment of debt services or pensions. This
level of costs for fuel and electricity poses serious financial challenges to PREPA, its customers
and the overall island economy.
Over the next 30 years, the overall load in Puerto Rico’s electricity system is
forecasted to decline because of declining population and diminishing inflation-
adjusted economic activity. The rate of decline is further accelerated as customers leverage
energy efficiency (EE) and distributed generation (DG) to reduce their reliance on the grid. In this

1   Based on independent actuarial study conducted performed by Aon Hewitt, valuation results as of June 30, 2020
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context of forecasted declining load, implementing efficiencies will be required to limit the need
for rate increases to cover fixed costs of the system.
To successfully execute on the Certified Fiscal Plan and ensure continued progress
towards transformed energy sector, PREPA – together with LUMA– must effectively
manage several contingencies and risks. The ongoing effects of the COVID-19 pandemic
are expected to taper during the coming fiscal year. LUMA is expected to begin executing on large
capital projects funded by FEMA and other federal agencies. PREPA must also complete
transitioning matters to LUMA so that LUMA can maintain and prepare the system to withstand
potential future hurricanes and other weather events. Other contingencies include successfully
completing debt restructuring and working to ensure timely deployment and reimbursement of
federal funding for emergency reconstruction vendors and mitigation. PREPA will continue to
collaborate with key government counterparties including the Oversight Board, the P3A, AAFAF,
PREB, and Central Office of Recovery, Reconstruction, and Resiliency (COR3) to collectively
ensure successful transformation.
If successfully implemented, the 2022 Certified Fiscal Plan for PREPA will accelerate the
transformation of the Island’s energy sector into a safe, resilient, and modern electric grid,
providing reliable service to customers at predictable and affordable rates, enabling long-term
economic and job growth. Over the next five years, this transformation will result in access to safe,
reliable, clean and efficient energy system the people of Puerto Rico deserve.




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Chapter 2. Historical Context and Current Challenges
         Key Facts about PREPA
PREPA, formerly known as the Puerto Rico Water Resources Authority until 1979, was created
through Act No. 83 on May 2, 1941 (PREPA’s Enabling Act). Throughout its history, PREPA has
served as the sole franchise utility electricity provider in Puerto Rico. Until 2014, PREPA was self-
regulated and operated without an independent regulatory body to ensure accountability on long-
term planning and rate setting. As of the end of FY 2021, PREPA served approximately 1.5 million
customers and generated approximately $3.2 billion in revenues from 16 terawatt-hours (TWh)
of electricity sales.2

PREPA Compared to Similar Public Utilities

PREPA is the largest public power utility in the U.S. by number of customers served but has
relatively low generation output and energy sales on a per customer basis (Exhibit 1). PREPA
currently produces an annual net generation of roughly 12 megawatt-hours (MWh) of energy per
customer, meaning that PREPA delivers less than half as much power per customer than
comparable mainland utilities. PREPA’s annual peak hourly load is also substantially lower than
comparable mainland utilities, as Puerto Rico customers do not command sizeable increases in
load during winter months.3




2   Monthly Report to PREPA’s Governing Board, June 2021 (interim unaudited financial results).
3   Annual peak demand in Puerto Rico typically occurs within the August – October period.
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EXHIBIT 1: KEY PREPA FY 2020 STATISTICS COMPARED TO PEERS4




In terms of service reliability, the people of Puerto Rico have historically experienced lower quality
service than what is available and required in other jurisdictions. The average PREPA customer
loses power at least once every 5 to 6 weeks, compared to 1 to 2 times per year for mainland
customers. This adverse impact on quality of life and economic activity for Puerto Rico’s residents
and businesses is routinely a cause for concern in economic surveys and poses an underlying risk
to essential services for residents.
According to industry benchmarks and LUMA’s assessment during the front-end transition
period, in 2020 PREPA’s customers experienced nearly 8 times more service interruptions than
customers of the median US utility within IEEE benchmarks. Similarly, in 2020, the average
duration of power outages was nearly 10 times longer for PREPA’s customers than for mainland
customers (see Exhibit 2). Although PREPA had shown modest improvement since 2017, metrics
assessed for 2020 placed PREPA in the bottom quartile of peer utilities; Puerto Rico residents




4   Based on publicly available data sourced from either EIA 412 or annual reports and the EIA 861 filings for FY 2020. Utilities
    surveyed include Los Angeles Department of Water and Power; Long Island Power Authority; Salt River Project; City Public
    Service of San Antonio, Sacramento Municipal Utility District; Austin Energy; Jacksonville Electric Authority; Seattle City Light;
    Memphis Light, Gas and Water; Omaha Public Power District, New York Power Authority, Nashville Electric Service, Nebraska
    Public Power District, Colorado Springs Utilities. Net Generation includes energy purchases as well as generated energy on a
    net basis.
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and businesses experienced far more outages for far longer periods of time. PREPA’s reliability
metrics using industry standard methods are illustrated in Exhibit 2.5
EXHIBIT 2: RELIABILITY METRICS COMPARED TO PEER GROUP MEDIAN6




   Historical Challenges Leading to the Transformation
Mandate
PREPA is the sole electric power utility in Puerto Rico operating an exceptionally complex energy
system. Operating an electrical network on a mountainous, isolated, tropical island with dense
vegetation is challenging as it requires significant maintenance of often remote transmission and
distribution lines. Furthermore, the system cannot rely on access to a larger, regional, and
interconnected power grid for power generation like most parts of the U.S. mainland. The
complexity of operating the Puerto Rico energy system has been compounded by decades of
operational, maintenance, and financial challenges resulting in the system lagging far behind
national standards. Financially, PREPA’s operational shortcomings and historical failure to adjust
rates to cover rising costs over time, led to the accumulation of significant legacy debt and pension
obligations, as well as under-maintained and outdated infrastructure.
Several long-standing structural issues have led to PREPA’s current financial and operational
position:
▪   Political influence and lack of continuity in decision making: Historically,
    management decisions have been subject to political influence and changes, leading to high
    management turnover, discontinuity in capital investment plans, and electric customer rates
    that were insufficient to cover operating and maintenance costs and, debt service. Politicized
    decision making ultimately led PREPA to issue more debt to cover current debt service rather
    than to set rates sufficient to do so. As a result, customers have been faced with increasingly
    poor reliability due to aging infrastructure, sub-optimal management and financial
    performance and rate volatility because of a historical overdependence on oil-fired generation
    with its fluctuating market prices, among others.




5   LUMA’s filings with PREB related to performance metrics and System Remediation Plan.
    https://energia.pr.gov/wp-content/uploads/sites/7/2021/03/Request-for-Leave-to-File-Amended-Exhibit-2-NEPR-MI-2019-
    0007.pdf
6   IEEE Benchmark: https://cmte.ieee.org/pes-drwg/wp-content/uploads/sites/61/2021-IEEE-DRWG-Benchmarking-Results.pdf
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▪   Lack of rate adjustments to cover costs: PREPA has operated under a fiscal deficit since
    the early 2000s due to, among other things, its inability to implement modest base-rate
    adjustments for non-fuel operations and maintenance (O&M) expenses.7
▪   Macro-economic challenges. PREPA has been impacted by macroeconomic challenges in
    recent years. Puerto Rico’s economy began to deteriorate, experiencing a 20% decline in real
    gross national product (GNP) since 2007, while growing out-migration led to population
    decline of over 15% since 2004, shrinking PREPA’s revenue base. Consequently, by 2021,
    energy sales fell by 21% from its peak in 2007 and operating revenues declined by 31% over
    the same period. With fewer customers and a lower revenue base, existing customers have had
    to pay higher rates to cover fixed system costs.
▪   Overreliance on fossil fuels with fluctuating prices for power generation.
    Although PREPA has reduced its reliance on oil-based power generation by converting certain
    key power units to natural gas-based power generation, PREPA customers are still subject to
    a generation mix highly dependent on antiquated oil-fired units and a rate structure that
    passes through fluctuating fuel costs, resulting in historically volatile rates. This in turn
    challenges customers’ ability to pay and creates affordability pressure for all customer classes.
    Between 2009 and 2014, PREPA’s fuel-adjustment rider increased by around 45% when the
    oil price doubled from $60 to $120 per barrel.8 The combined impact of lower sales and higher
    fuel prices contributed to high and also volatile average customer rates ranging from 20 to
    30 c/kWh. In FY 2021, approximately 43% of generation was fueled by natural gas, 37% was
    oil-fired, 17% was coal fired, and 3% was from renewable sources. For comparison, the US
    national average for oil fired generation is currently less than 1% of total generation. Without
    further investment in lower cost renewable power sources and battery storage, Puerto Rico
    residents and businesses will remain vulnerable to changes in oil and gas prices.9
▪   Unsustainable debt and pension obligations: PREPA accumulated approximately
    $9 billion in debt and over $4 billion in pension liabilities. Rates were not adjusted to cover
    these growing liabilities. Without debt restructuring, electric rate increases of between 6 to
    8 c/kWh in real dollars to pay legacy debt would cause rates as of the date of the certification
    of this fiscal plan to increase above 35 c/kWh and would significantly elevate them on a long-
    term basis. Additionally, to fully fund pension benefits after plan assets are depleted, which is
    estimated to occur during FY2024, PREPA will be required to contribute over $250 million
    per year on average. This would represent an increase in the monthly electricity rate of 1.5 to
    2.1 c/kWh over the next two decades. For instance, in 2020 rates went down to approximately
    21 c/kWh and then increased exponentially in 2022 to ~26 c/kWh, due to supply chain
    constraints and the Russian invasion of Ukraine.
▪   Underinvestment in grid maintenance and modernization: Given insufficient
    revenues and an inability to implement rate adjustments to cover the substantial liabilities
    mentioned above, PREPA’s management historically reduced, or eliminated altogether,

7   PREPA has adjusted rates related to fuel and purchased power on a monthly or quarterly basis to reconcile actual costs but did
    not adjust its base rate for non-fuel O&M costs for over 25 years, prior to the 2016 rate filing and rate adjustment.
8   PREPA, FY2009 Monthly Report (interim, unaudited financial results); PREPA, FY2014 Monthly Report (interim, unaudited
    financial results).
9   Siemens Industry, Puerto Rico Integrated Resource Plan 2018-2019, RPT-015-19, rev. 2 (Schenectady, June 7, 2019), 7-3,
    http://energia.pr.gov/wp-content/uploads/2019/02/PREPA-Ex.-1.0-IRP-2019-PREPA-IRP-Report.pdf; U.S. Energy Information
    Administration, Puerto Rico: Profile Overview, last modified November 21, 2019, https://www.eia.gov/state/?sid=RQ.
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     prudent and needed investments in long-term maintenance and capital improvement
     programs. In recent years, capital investments in the T&D System were limited to the most
     urgent projects to avoid imminent system failure or respond to equipment breakdowns, rather
     than proactively improving the grid. Historic underspending on vegetation management and
     other maintenance resulted in a T&D System highly susceptible to damage from hurricanes,
     earthquakes, and other unforeseen events.
▪    Aging and inefficient generation fleet: Failed efforts to diversify and maintain
     generation resources have resulted in an aged and inefficient generation fleet. PREPA owns
     installed capacity of approximately 4,500 MW with another 1,000 MW contracted under
     PPOAs from AES and EcoEléctrica. The PREPA plants have an approximate average age of
     over 40 years, compared to a national average of 18 years.10 Aging assets lead to operational
     challenges, including lower operational flexibility because of slower ramp-up capacity, a
     higher likelihood of outages, increased costs per megawatt-hour generated, as well as non-
     compliance with environmental and health regulations. Further, PREPA-owned generation
     plants have high unavailability due to ongoing deratings, as well as forced and planned
     outages that result in less than 50% of PREPA-owned generation available for service on
     average over the past 12 months when considering the full 8,760 hours in the period.
Considering these long-standing operational and financial challenges, the 2022 Certified Fiscal
Plan for the Commonwealth of Puerto Rico, which the Oversight Board certified on January 27,
2022, confirms and updates the continued path towards the full transformation of Puerto Rico’s
energy sector, as required by Puerto Rico public policy11 and laid out in prior fiscal plans. The
Puerto Rico electricity system requires a comprehensive transformation to deliver the safe,
reliable, clean, and affordable service that Puerto Rico’s residents and businesses desperately
need and deserve. This transformation process is described further in Chapter 3.


          Governance Structure
PREPA’s Enabling Act established PREPA as a public corporation having legal existence separate
and independent from that of the Government of Puerto Rico. The PREPA Governing Board is
charged with the power to appoint the Executive Director or Chief Executive Officer, as well as all
other executive officers.
PREPA’s Governing Board is composed of seven members (Exhibit 3).
1. Three members are appointed by the Governor of Puerto Rico, with the advice and consent of
   the Senate; these members are selected from a list of candidates prepared by a professional
   recruitment firm.
2. Three members are appointed by the Governor at his or her sole discretion, one of which must
   be independent and not an employee of any government entity.
3. One member is elected by PREPA’s customers to represent customer interests.



11 US Congress, Exploring Energy Challenges and Opportunities. Excludes IPP installed capacity of 961 MW: all renewable
energy plants are independently owned and contracted through PPAs.

12   Defined within, but not limited to, Act 17-2019, Act 120-2018 and Act 57-2014.
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Additionally, Article 16 of Puerto Rico’s Fiscal Agency and Financial Advisory Authority (AAFAF)
Enabling Act provides that AAFAF’s Executive Director is a member of the Board of Directors of
any instrumentality of the Government of Puerto Rico that is designated as a covered territorial
instrumentality under PROMESA while such designation is in effect. Given PREPA’s designation
as a covered territorial instrumentality, AAFAF’s Executive Director, or his designee, is also a
member of PREPA’s Governing Board.12
Governing Board members appointed by the Governor with the advice and consent of the Puerto
Rico Senate serve staggered terms, while the members appointed at the Governor’s sole discretion
are considered at-will directors – except for the independent member, who serves a term of five
years. The customer interest representative also serves a term of five years.13



EXHIBIT 3: PREPA GOVERNING BOARD COMPOSITION




PREPA and its Governing Board are regulated by the Puerto Rico Electric Bureau (PREB).
PREPA’s Governing Board is also subject to the oversight of the Oversight Board since the
enactment of the Puerto Rico Oversight, Management, and Economic Stability Act (PROMESA)
in 2016. Further details on regulatory structure, including the role of the PREB can be found in
Chapter 4 – Legal and Regulatory Structure.
As required by Act-17-201914, PREPA has ceased operating as a vertically integrated monopoly
and has transferred operational responsibilities for T&D O&M Services to LUMA, as set forth in


12   Act 2-2017, as amended (3 L.P.R.A. § 9376).
13   Section 4 of the PREPA Enabling Act (22 L.P.R.A. § 194).
14   The Puerto Rico Energy Public Policy Act, Act No. 17 of April 11, 2019
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the Transmission & Distribution Operations and Maintenance Agreement (T&D OMA) with
LUMA. PREPA continues to retain ownership of the electric system assets.
The continuing focus and priority of the PREPA Governing Board is to support and implement
the various transformational measures outlined in PREPA’s and the Commonwealth’s 2022
Certified Fiscal Plans, including:
1. Complying with PREPA’s obligations under the T&D OMA;
2. Supporting P3A in the completion of the existing P3A competitive procurement process for
   the selection of one or more operator(s) for legacy PREPA generation and the eventual
   transfer of O&M responsibilities;
3. Supporting LUMA, as necessary, to efficiently deploy and manage the maximum amount of
   federal funding allocated by various federal agencies for the repair, reconstruction and
   strengthening of Puerto Rico’s energy infrastructure and related assets, in a manner
   consistent with the T&D OMA and, to the extent applicable, any agreement resulting from the
   legacy PREPA generation procurement process;
4. Continuing to implement short-term operational and managerial reforms that enhance
   financial stability, service quality (of power generation while in control of PREPA), improve
   operational efficiency and environmental compliance, enhance transparency and
   accountability, and reduce political intervention; and
5. Supporting efforts to restructure PREPA’s legacy debt and pension obligations.
Corporate Reorganization
PREPA has worked and coordinated with the P3A to refine and implement a reorganization of
PREPA that is consistent with the public policy set forth in Act 17-2019 and meets all additional
legal and regulatory requirements, including tax, FEMA, PREB, and relevant requirements under
the T&D OMA. Chapter 3 of this Certified Fiscal Plan outlines PREPA’s future organizational
structure, after completion of the relevant transformation initiatives.




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EXHIBIT 4: ILLUSTRATIVE REORGANIZED PREPA CORPORATE STRUCTURE




       Current State of T&D
Puerto Rico’s T&D System is comprised of three major transmission loops that move electric
generation from power plants concentrated along the southern coast to load centers concentrated
in the northeast. The system’s dependence on north-south transmission creates operational
inefficiencies and grid vulnerabilities. The impact of Hurricane Maria was particularly devastating
for these north-south lines, which cut through dense, forested terrain.
The system’s original transmission loop is the Central Loop, connecting Costa Sur, EcoEléctrica,
and Aguirre power plants in the south with the San Juan power plant in the north via transmission
centers at Aguas Buenas, Manatí, and Bayamón. The Western Loop, which entered service in
2002, connects Costa Sur and EcoEléctrica power plants in the south with PREPA’s Mayaguez
plant in the west and the Cambalache plant in the north. The Eastern Loop, which entered service
in 2006, connects Aguirre and AES power plants in the south through transmission centers at
Yabucoa in the east and Aguas Buenas and Sabana Llana in the north.




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EXHIBIT 5: PREPA TRANSMISSION LOOPS




Transmission System Overview
LUMA operates 178 transmission centers operating at 230 kV, 115 kV, and 38 kV. These centers
link over 1,100 miles of transmission lines (230/115 kV) and over 1,500 miles of sub-transmission
lines (38 kV). Of these lines, 96% are overhead and the remaining 4% are underground. LUMA
also operates approximately 44,000 transmission structures, divided across the three 230 kV
loops in the west, east, and central parts of the island. The 115 kV lines serve all the major load
centers, while the 38 kV sub-transmission system serves more remote interior regions, as well as
most industrial and commercial customers.
Distribution System Overview
Puerto Rico’s distribution system serves approximately 1.5 million customers utilizing roughly
1,200 circuits. There is just under 32,000 miles of distribution lines, including nearly 17,000
miles of primary voltage lines and approximately 15,000 miles of secondary lines and service
drops. The system connects approximately 60 115 kV substations, about 280 38 kV substations,
and nearly 825 privately owned substations. There are approximately 298,000 distribution poles
and approximately 213,000 service transformers. Most of the distribution system is comprised of
overhead lines, with approximately 20% of underground lines located primarily in urban centers.
Distribution poles are galvanized steel, concrete, and wood.
Challenges to the Transmission and Distribution System
The T&D system faces notable geographic challenges given that its primary load center is in the
north (San Juan Metro Area and Humacao Industrial District, approximately 70% of total load)
while most of the more economical and efficient generation resources are in the south
(approximately 70% of online generation capacity). The three 230 kV transmission loops that link
generation from the south to demand in the north traverse mountainous and densely forested
terrain, creating access limitations for repairs or reconstruction.
In the aftermath of hurricanes Irma and Maria in 2017, recovery efforts were delayed by limited
accessibility to these transmission lines. The extent of the hurricane damage was exacerbated by
a failure to manage vegetation and execute routine maintenance – a report by the Government
Accountability Office assessing the impact of the hurricanes on the electrical grid found that
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“[PREPA] canceled its vegetation management program” prior to the hurricanes, thus
“[contributing] to the destruction of the grid.”15 PREPA’s T&D maintenance and management
practices had fallen short of industry standards, leading to higher costs and lower reliability for
customers.
To address these challenges and improve operational performance and customer service, support
rigorous capital project execution, and ensure ongoing fiscal balance and control, the P3A, in
collaboration with PREPA and the Oversight Board, selected LUMA Energy (LUMA) to take on
the responsibilities to operate and maintain PREPA’s T&D System. In addition, the improvement
programs & portfolios for grid modernization outlined in the LUMA Initial Budgets and System
Remediation Plan (SRP), along with the initiatives that have already begun, will be instrumental
to strengthening Puerto Rico’s electrical grid. Further details are provided in Chapter 6 and
Chapter 7.
LUMA’s T&D Assessment Findings
As part of LUMA’s Front-End Transition work prior to June 1, 2021, and as required by the T&D
Operation and Maintenance Agreement (T&D OMA)16, LUMA performed an initial assessment of
PREPA, its organization, and assets. LUMA's preliminary assessment at the time indicated an
organizational systems and processes that required significant improvement, and physical assets
that were in poor condition from storm damage, age and deferred maintenance. Both categories
of deficiencies have corresponding negative effects on customer service, system performance,
resiliency, and reliability. Further information on the assessment methodology and results can be
found in Chapter 7 – LUMA Improvement Portfolios. LUMA, as the selected operator for the T&D
System, began operating and maintain the T&D System in earnest as of June 1, 2021.


          Current State of Generation
Electricity is supplied by PREPA-owned generation plants and procured from independent power
producers (IPPs) under power purchase and operating agreements (PPOAs). PREPA-owned
power plants have 4,961 MW of installed generation capacity. However, PREPA-owned
generation experiences above industry average forced outage rates, primarily due to the average
unit age of more than 40 years; between 30% and approximately 40% of this capacity is typically
out of service, including units that are indefinitely out of service and in need of significant
overhaul. As a result, on average, only around 60% to 70% (3,000 to 3,500 MW) of PREPA-owned
generation capacity is available for dispatch. In addition to PREPA-owned generation assets,
electricity supply from IPPs consists of 984 MW from two conventional power plants and 254 MW
from various renewable energy providers. Given PREPA’s frequent outages, it is often necessary
to dispatch generation units with higher cost fuel. For example, the April 2019 maintenance-
related transformer explosion and resulting loss of Aguirre Unit 2 for approximately 12 months




15“2017 Hurricane Season: Federal Support for Electricity Grid Restoration in the U.S. Virgin Islands and Puerto Rico,” U.S.
    Government Accountability Office. April 2019. https://www.gao.gov/assets/700/698626.pdf.
16 O&M references are to the Operation and Maintenance Agreement (T&D OMA) dated as of June 22, 2020 by and among
    PREPA, LUMA Energy, LLC, LUMA Energy Servco, LLC and the P3A. All language and statements under this chapter are
    meant to be illustrative only and shall be interpreted in accordance with, and subject to, the T&D OMA including the terms, as
    defined thereunder.
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(with average fuel cost of ~$130/MWh) was compensated by increasing generation from low
efficiency diesel peaking units (with average fuel cost of ~$200/MWh).17
Generation units in Puerto Rico are powered primarily by fossil fuels: In FY 2021, almost 40% of
the Puerto Rico’s electricity was generated by petroleum-fired power plants, and more than 97%
of total electricity was generated from non-renewable resources.
As part of the efforts to diversify and modernize the Island’s generation fleet and reduce reliance
on oil-fired generation resources, PREPA has renegotiated or completed the procurement of up
to 1000 MW of new renewable generation capacity. However, as of the close of the first quarter of
2022, none of these projects have commenced construction, resulting in significant delays
compared PREB-established procurement and development timelines (See Exhibit 21). Due to
initial delays in the procurement process for these resources, PREB has determined that the
procurement for the second tranche for renewable energy generation and storage resources RFP
will be managed by the PREB and a third-party procurement contractor, in order to advance the
integration of renewable energy into the grid in compliance with the PREB approved IRP and
Modified Action Plan.
Under the T&D OMA, PREPA’s generation resource planning is now performed by LUMA and
includes resource adequacy studies and integrated resource planning. Every three years, LUMA,
as agent of PREPA, is required to prepare and submit to PREB an Integrated Resource Plan (IRP)
for a 20-year planning period. Act 57-2014 defines the IRP as a resource plan that shall consider
all reasonable resources, including both energy supply (e.g. utility-scale generation) and energy
demand (e.g. energy efficiency, demand response, and distributed generation), to satisfy the
current and projected future needs of Puerto Rico’s energy system and of its customers at the
lowest reasonable cost.18 Furthermore, Act 57-2014 mandates that the IRP shall also include the
environmental impact of the energy system.19 On August 24, 2020, PREB approved in part and
rejected in part PREPA’s most recent proposed IRP and ordered the adoption and
implementation of a Modified Action Plan and Modified Preferred Resource Plan.
LUMA, PREPA and the future operator of PREPA’s generation assets will use the Modified Action
Plan and Modified Preferred Resource Plan as a roadmap for repairs, upgrades, and replacements
of existing generation resources as well as which new generation resources should be procured
and developed.20 The approved IRP and Modified Action Plan envision a transformation of the
energy sector of Puerto Rico by increasing the share of renewable generation and storage, retiring
all existing coal and heavy fuel oil generation, enhancing grid resilience through T&D System
hardening, and enabling customer choice by supporting the incorporation of distributed
generation (DG) and implementation of demand response (DR) and energy efficiency (EE)
programs. Further information on the IRP and the Modified Action Plan can be found in Chapter
5.
Resource Adequacy
As indicated in Section 2.2 of Chapter 2, energy consumption and peak system demand have been
in decline for 16 years. Despite increases in recent months, declines in energy consumption and

17   PREPA FY21 Q2 Budget to Actual Report submitted to the Oversight Board.
18   Act 17-2019, Puerto Rico Energy Public Policy Act, approved April 11, 2019, Section 5.2(ll).
19   Act 57-2014, Puerto Rico Energy Transformation and RELIEF Act, approved May 27, 2014, Section 6C(h)
20   PREB Docket NEPR-MI-2020-0012 on IRP compliance and Modified Action Plan -
     https://energia.pr.gov/expedientes/?docket=nepr-mi-2020-0012
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peak demand are expected to continue over the next years and decades, primarily due to (1)
declining population and weaker macroeconomic forecasts, (2) increased energy efficiency
measures, and (3) greater adoption of distributed generation where customers generate their own
power, use less power from the grid and inject power back into the grid.
However, the increasing age and condition of the PREPA generating units is expected to continue
to be susceptible to forced outage events that necessitate load shedding, further constraining
LUMA’s ability to service its customers. The challenges associated with an unreliable generation
fleet are expected to continue until an appropriate, proactive maintenance program is in place
and old, inefficient units are replaced in newer resources. LUMA is currently developing its
Resource Adequacy Study, which will provide a review of the resources in Puerto Rico, in
preparation for filing with PREB in June 2022.

EXHIBIT 6: PREPA GENERATION ASSETS




Challenges to the Generation System
As an island system, Puerto Rico’s power grid is geographically isolated, and thus unable to import
additional power to serve the customers of Puerto Rico. In addition, PREPA’s baseload generation
units are relatively large as a percentage of system peak load, such that a single unit outage can
cascade into an Island-wide outage, as experienced in 2016 2018 and 2022. To protect against
this, generating units are required to spend significant operating hours at partial load to maintain
reliability, reducing generation efficiency and increasing overall costs.

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Most of PREPA’s current generation fleet runs on old and outdated steam generation technology
with long ramp times. This means that older plants (such as steam turbines) take longer to reach
peak load and have limited operational flexibility to change load because they have less responsive
control systems and require more time to heat up. While these older steam plants are generally
more economic than other PREPA-owned units due to lower-cost fuel, they are operationally
limited by applicable federal mercury and air toxic standards (MATS) and the U.S. Environmental
Protection Agency (EPA) Consent Decree. Many of PREPA’s older steam plants that use lower
cost fuel have been designated “limited use” by EPA to have an annual heat input capacity factor
of less than 8 percent over a 24-month period. The MATS rule imposes stringent emission
limitations for both particulate matter and acid gasses, as well as requires work practice standards
applicable during start-up and shutdown of power plants and regular burner and combustion
control tune-ups.21 To-date, PREPA has paid relatively minor amounts in stipulated penalties for
528 opacity deviations under the air portion of the Consent Decree, which occur during start-up
and shutdown processes, but much more substantial penalties could be assessed under EPA’s
jurisdictional authority.
Puerto Rico’s few renewable energy facilities represent the system’s cleanest generation resources
and are designated “must run”.22 During FY 2021 PPOA’s for existing and operational renewable
energy projects were negotiated to reduce pricing by over 10%, to an average cost of 17 c/kWh.
Despite the recent fuel price volatility and sharp increases in fuel oil and LNG costs during FY
2022, these facilities are still some of the most expensive generation sources for Puerto Rico23,
since, at the time of procurement, renewable generation capacity was priced much higher than
the market price available today.
PREPA’s aged legacy generation assets began experiencing frequent forced outage events during
the months of July, August, and September of 2021. These outage events were due to various
factors, including a combination of high peak demand and energy use, with unanticipated
generator forced outages that resulted in very tight reserve margins, and at times, generation
shortfalls that resulted in brown-out conditions as well as long load shedding events.
The condition and performance of PREPA’s aging plants has continued to deteriorate availability
of the system’s generating units dropped by 17% from 2015 to 2020 and has consistently
performed below peers. Forced outages of generating units have also seen an increase of 15% over
the same period and underperformed peer units, exemplifying the unreliability of PREPA’s legacy
generating fleet. The net heat rate of generating units has also seen an increase of 377 Btu/kWh
from 2016 to 2020. These trends point to growing inefficiencies and unreliability as these units
continue to age. The underlying root cause for outages in PREPA’s legacy generation plants is
related to their age and the need for a well-developed and effectively executed (preventive and
pro-active) maintenance program.
PREPA’s aging, inefficient, and unreliable generation fleet must be replaced and modernized. The
roadmap for this modernization is defined in the IRP approved by PREB, which outlines the

21   “White Paper on Environmental Compliance Issues at Puerto Rico Electric Power Authority Generation Facilities,” Hogan Lovells
     US LLP, March 25, 2021.
22   “Must run” facilities require PREPA to pay for energy produced up to the contracted capacity even if not needed to meet system
     demand.
23   Average cost of generation for FY2022 through March was approximately $170 for renewable PPOAs compared with $110 for
     LNG, $160 for Residual, and $210 for Diesel. For FY 2020 and FY 2021, PREPA thermal generation costs were $100 to $130
     per MWh on average.
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actions and investment in new generation that must be taken to reduce generation costs and
achieve greater reliability and resiliency. Further detail is provided in Chapter 3.


          Customer Demographics and Affordability
PREPA currently serves approximately 1.5 million customers, of which 91% are residential, 8%
are commercial, and less than 1% are industrial. Almost half of PREPA’s load is driven by
commercial customers, which represented 44% of FY 2021’s total consumption of 16 TWh. This
is followed by residential customers, which account for 42% of electricity demand, and industrial
customers, at 12%.24 The majority of PREPA’s residential and commercial customers are located
in the San Juan metropolitan area (Exhibit 7A and Exhibit 7C). Industrial customers, on the other
hand, are spread across the island, located primarily within the San Juan metropolitan area, the
Humacao district (southeast of San Juan), the north-central coast (Arecibo, Manatí and Vega
Baja) and the municipality of Ponce (southern coast) (Exhibit 7E and Exhibit 7F).

EXHIBIT 7: FY 2021 PREPA CUSTOMER COUNT AND CONSUMPTION BY MUNICIPALITY




On average, Puerto Rico’s consumers pay more for electricity relative to their income than
consumers in any U.S. state. Based on the 2021 Certified Fiscal Plan rates of 21 c/kWh, for
households earning the median Puerto Rico income, the yearly electricity bill amounted to 5.6%



24   Additional load is attributed to public lighting and agriculture.
                                                                     32
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share of wallet25, subsidies notwithstanding. As rates increased since the 2021 Certified Fiscal
Plan, this burden has only gotten worse. Median share of wallet in Puerto Rico is significantly
higher compared to U.S. mainland states, where households with median income pay is 2.4% of
their yearly income for electricity (Exhibit 8). Low-income households are disproportionately
affected by the current rate structure.
EXHIBIT 8: PUERTO RICO ELECTRICAL SHARE OF WALLET COMPARED TO PEER REGIONS 26




Various ongoing policy goals and performance improvement initiatives will impact affordability
in Puerto Rico. Puerto Rico’s legislative mandate calling for drastically increased renewable
generation should improve rate stability, and customer rates if the combined costs of solar energy
plus necessary battery storage is less than PREPA’s current and long-term average cost of
generation. If appropriately administered, the competitive procurement of utility scale renewable
generation and storage resources provides a unique opportunity to address and mitigate rate
stability and affordability concerns.
The impact of programmatic energy efficiency will likely also have a positive impact on customer
affordability by reducing electricity consumption for the average customer, thus lowering their
electricity bill. From an overall system perspective, the impact on rates may vary. Aggregate
system costs—and therefore rates—may decrease due to lower customer consumption and peak


25 Share of wallet is defined as the percentage of per household electric utility service expenditures relative to median per household
   income.
26 Based on most recent data available, detailed below:
    SOURCES: Population: World Bank (CY20)
    Average rate for residential customers: LUMA report available at indicadores.pr (CY21) for Puerto Rico; EIA (CY19) for Hawaii,
    US Southeast states and US; Jamaica Public Service Company annual report (CY20) for Jamaica; NREL (CY20) for Dominican
    Republic
    Household consumption: Census (CY19) American Community Survey for number of households for Puerto Rico, Hawaii, US
    Southeast states and US; Statistic Institute of Jamaica (CY11) for household size for Jamaica; Encuesta Nacional de Gastos e
    Ingresos de los Hogares (CY18) for number of households for Dominican Republic; LUMA report available at indicadores.pr
    (CY21) for residential demand for Puerto Rico; EIA (CY19) for residential demand for Hawaii, US Southeast states and US; NREL
    report (CY20) for energy demand for Jamaica and Dominican Republic Median income: Census (CY19) American Community
    Survey for Puerto Rico, Hawaii, US Southeast median and US median; World Bank (CY18) GNI per capita as proxy for income
    for Jamaica; Encuesta Nacional de Gastos e Ingresos de los Hogares (CY18) for Dominican Republic.
                                                                 33
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demand reducing the amount of investment required in generation and peaking resources. At the
same time, rates may increase as system costs are spread over fewer kWh generated and sold per
year. The IRP Modified Action Plan recognizes the benefit of energy efficiency as a “least cost
resource” and contemplates further studies and implementation of programs to achieve greater
energy efficiency through programmatic initiatives. If, however, efficiency measures are delayed
or not achieved, there will be a more gradual decline in electricity demand that would also affect
rates and overall affordability.
Another policy that may impact customer affordability is the net metering framework currently
in place pursuant to Act 17-2019, which pursues a distributed generation system to provide for
resiliency and further reduction on reliance on imported fuels. Under Act 17-2019 customers that
use distributed generation (i.e. rooftop solar) under certain circumstances are entitled to offset
the energy they purchase from PREPA with the energy they export to the grid on a one-to-one
basis, at the prevailing retail rate. This policy will increase total residential renewable generation
in the Puerto Rico system, but as more net metering systems are installed under full retail rate
credit, net metering customers will be able to bypass charges that cover items like grid services.
This policy is set to remain in place for at least five (5) years from the enactment of Act 17-2019,
after which PREB is mandated to conduct a study to determine net metering policy on a go
forward basis.
Additionally, LUMA’s capital investments (federally funded) into the system (e.g., T&D line
hardening to reduce outages and associated cost) as well as the operational improvement
initiatives that LUMA has planned (e.g., mitigate vegetation risk immediately in the most critical
areas to reduce outages) should lead to improved resilience and services and increased
productivity which in turn will lower costs for PREPA’s customers. Similarly, transformation of
PREPA’s generation fleet with a diversified fuel mix and reduced fuel costs will have a positive
impact on costs, reduced volatility, and rates and in turn make electricity more affordable for
PREPA’s customers.


          Overview of Historical Financial Performance27
PREPA’s persistent financial deficits are a result of, among other things, decades-long fiscal and
operational mismanagement, and a historical inability to adjust energy rates to a level that would
ensure PREPA could cover its costs and the capital investments required to modernize its energy
system. PREPA has been operating under a structural financial deficit since 2004, which has
worsened over time. To cut costs, PREPA historically reduced or stopped investing in system
upgrades, leading to an energy system that is vulnerable and prone to frequent and extended
outages and voltage fluctuations. Additionally, PREPA has failed to fully fund its pension plan
and, since 2014, has not paid its debt service other than through the issuance of additional bonds.
Over the past decade, revenues have decreased due to out-migration and economic decline, as
well as increased adoption of distributed generation and energy efficiency measures. As the
revenue base contracted, higher rates and associated volatility led to an increase in outstanding
collections and bad debt, causing customers to further invest in energy efficiency and reduce their


27   All reference years are fiscal years (i.e., July 1 to June 30); Figures presented are unconsolidated, showing PREPA only and
     excluding the irrigation division; fuel, tourism (hotel), and public lighting subsidies are shown as revenue reductions rather than
     expenses.
                                                                  34
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reliance on the grid, all with an adverse impact on PREPA's revenues. In response to these
liquidity challenges, PREPA financed its fuel procurement through credit lines, which further
contributed to PREPA’s unsustainable debt.
PREPA’s rates have also been insufficient to cover operating costs, pension costs, and debt
obligations. PREPA’s operating cash flow fell from a deficit of $188 million in FY2000 to its worst
point, with a deficit in excess of $800 million during FY2008, leading PREPA to rely on financing
to make up for revenue shortfalls (Exhibit 9). By FY2014, PREPA’s financial condition had
deteriorated to the point where it had to enter into forbearance agreements with creditors, it
having become apparent that there were insufficient funds to pay debt service. On July 2, 2017,
the Oversight Board filed a petition on PREPA’s behalf for bankruptcy relief under Title III of
PROMESA before the U.S. District Court for the District of Puerto Rico.

EXHIBIT 9: PREPA OPERATIONAL DEFICITS FROM FY2000 TO FY2016




From FY2014 to FY 2017, PREPA’s annual operating results and one-time accounting
adjustments depict an increasingly distressed financial situation. Between FY2014 and FY2015,
the operating deficit increased from $58 million to $489 million, with the recognition of PREPA’s
substantial net pension liability due to changes in Governmental Accounting Standards Board
(GASB) accounting rules for pensions. Additionally, because of changes in pension accounting
assumptions and liability valuation, PREPA faced an additional $1.6 billion in unfunded pension
liability in FY2015. The ongoing recognition of net pension liability and accrued interest has
ballooned PREPA’s negative net position to over 70% of balance sheet assets. Although operating
expenses have declined in recent years, revenues have declined at a faster pace, resulting in a
growing deficit.




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TABLE 1: PREPA FY2014 TO FY 2021 STATEMENT OF NET POSITION

                                                                                                                                   Unaudited, subject to
                                                                                                                                     material change

   (USD million)                                         FY2014      FY2015      FY2016       FY2017       FY2018      FY2019      FY2020       FY2021

   Operating revenues                                       4,469       3,865       2,995        3,265        2,552       3,612        3,325       3,058
   Operating expenses:
     Fuel expense                                          (2,345)     (1,887)     (1,215)      (1,218)      (1,052)     (1,408)      (1,470)     (1,253)
     Purchased power                                        (808)       (790)       (687)        (729)        (586)       (682)         (734)       (778)
     O&M expense                                            (752)      (1,129)     (1,241)      (1,394)      (2,564)     (1,271)        (738)     (1,059)
     Depreciation                                           (342)       (382)       (517)        (519)        (343)       (367)         (381)       (374)
   Total operating expenses                                (4,246)     (4,189)     (3,661)      (3,860)      (4,544)     (3,728)      (3,323)     (3,463)
   Operating income / (loss)                                  223       (323)       (666)        (595)       (1,992)      (116)             2       (405)
     Interest expense, net                                  (410)       (424)       (425)        (447)        (484)       (463)         (438)       (414)
     Impairment loss on GDB deposits                                    (145)
   (Loss) / Gain before CILT and other                      (187)       (892)      (1,091)      (1,043)      (2,476)      (579)         (436)       (820)
     CILT and other subsidies                               (278)       (273)       (172)        (178)        (192)       (169)         (115)        (67)
     Contributed capital                                       45          21             8            7         35          73           (2)       (750)
   Change in net position                                   (420)      (1,144)     (1,255)      (1,213)      (2,633)      (676)         (552)     (1,637)
     Net position at beginning of year                      (847)      (1,267)     (3,578)      (4,838)      (6,174)     (8,008)      (8,609)     (9,161)
     Change in pension accounting cost and corrections                 (1,644)                   (124)          799          74
     Net Effect of the 2015 Restatement                                   477
   Net position at end of year                             (1,267)     (3,578)     (4,833)      (6,175)      (8,008)     (8,609)      (9,161)    (10,799)


Since filing for bankruptcy relief under Title III of PROMESA in July 2017, PREPA has improved
its cash flow and liquidity monitoring, reporting, controls, and communications. These
improvements have been instrumental in preserving PREPA’s financial stability through the
significant disruptions caused by hurricanes Irma and Maria, the earthquake in January 2020,
the COVID-19 pandemic and the current geopolitical situation impacting fuel supply and prices.
As of April 30, 2022, PREPA’s total operating cash position was approximately $1.1 billion. Of
the $1.1 billion, $760 million was in various operating accounts required by the T&D OMA and
$337 million was in other PREPA unrestricted cash accounts.28While the measures implemented
by PREPA have been effective in maintaining financial stability, there are several significant
factors that will impact PREPA’s future liquidity including among other things, the — funding for
the transformation of PREPA’s legacy generation assets, operational working capital
requirements, the restructuring of legacy debt obligations, underfunded pension obligations,
capital and maintenance requirements (including funding for federally-funded permanent work
projects), and the costs to exit Title III.
Collections and debt settlement between public corporations and government
agencies
Government accounts and public corporations are a key driver of overall electricity sales revenue
for PREPA. However, they are also a historically underperforming client base with regards to
collections and pending receipts. Issues with municipality receipts and CILT reform
notwithstanding (see CILT reform subsection in Chapter 10), Commonwealth agencies and public
corporations hold accounts payable to PREPA in excess of $200 million for past due energy
services. Following the Service Commencement Date on June 1, 2021, LUMA’s Customer
Experience Directorate took over the responsibility of collections, including with respect to

28 The $1.1 billion total operating cash position excludes approximately $134 million of cash in various other restricted cash accounts.
                                                                       36
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government and public corporation accounts. PREPA will be working with LUMA during the new
FY 2023 in a process of reconciling aged accounts with debtors in the upcoming years.
Overview of FY 2022 Revenue Budget to Actual29
During the first nine months of FY 2022, PREPA’s monthly gross revenues were approximately
20% above projections, driven primarily by an increase in the price for fuel, leading to higher
rates. The base rate revenues were approximately 2% below projections for the first nine months
of FY 2022, largely due to actual electricity demand being 3% lower than projected.

EXHIBIT 10: FY 2022 GROSS REVENUES PER MONTH (USD MILLION)




29   Gross revenues include revenues collected from customers for consumption, whereas consolidated revenues include revenues
     collected from customers for consumption, revenue for other income sources, and other adjustments (bad debt expense, CILT
     and subsidies, etc.)
                                                             37
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EXHIBIT 11: FY 2022 BASE RATE REVENUES PER MONTH (USD MILLION)




EXHIBIT 12: FY 2022 BILLED SALES PER MONTH (GWH)




Key variances in PREPA’s consolidated year-to-date budget to actual through Q3 FY 2022 (which
includes LUMA’s T&D/Customer Experience, Energy System Dispatch and Shared Services
budget to actual data) include: (1) higher than budgeted fuel costs due to higher-than-expected
generation, fuel prices, and diesel dispatch; and (2) higher than budgeted expenses by GridCo
(LUMA) which are to align with budgeted amounts by the end of FY 2022.
Fuel Costs
The most significant negative variance in PREPA’s year-to-date performance against budget
through Q3 is due to fuel costs. Compounding the higher than projected fuel prices, PREPA’s more
cost-efficient Costa Sur and San Juan units only had limited operational capacity for the first half
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of the fiscal year. Due to marked increases in global oil prices, Q4 fuel costs are expected to be
higher than in prior periods.
GenCo and HoldCo
PREPA observed minor positive variances in labor line items due to ongoing retirements and
limited replacement hiring. Underspending on generation related maintenance to date reflects a
combination of project execution delays that PREPA is addressing and plans on having resolved
by the final quarter of FY 2022. On the other side, as reflected in Exhibit 13, as of March 2022,
HoldCo has substantially overspent its budget by ~120%.




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EXHIBIT 13: FY 2022 BUDGETED AND ACTUAL INCOME AND EXPENDITURE, FORECAST OF
RECURRING OPERATIONS

                                                       Preliminary and subject to material change
                                               Q3-YTD            Q3-YTD
($ Millions)                                                                   Variance-$       Variance-%
                                               Budget             Actual
 Revenue
   Total Gross Revenue                     $         2,614 $         3,131 $             517          20%
       Bad Debt Expense                                (48)            (48)              -               `
       CILT & Subsidies                               (198)           (190)                8          -4%
 Total Consolidated Revenue                $         2,368 $         2,893 $             525          22%
 Expenses
  A. Fuel & Purchased Power                $         1,495   $       2,064     $         569          38%
  B. Genco:
   GenCo Labor Operating                   $           58    $          51    $           (7)        -12%
   GenCo Non-Labor/Other Operating                     39               40                 0           1%
   Shared Services Agreement Impact                    42               10               (32)        -76%
   Total GenCo Maintenance Projects                    80               59               (21)        -26%
  Total Genco Operating & Maintenance      $          219    $         159    $          (59)        -27%
  C. HoldCo:
   HoldCo Labor Operating                  $           13    $           10   $           (3)        -24%
   HoldCo Non-Labor / Other Operating                  65                85               20          31%
  Total HoldCo Operating                   $           78    $           95    $          17          22%
  D. GridCo:
   GridCo Labor Operating                  $          158 $            210 $              53          34%
   GridCo Non-Labor / Other Operating                 265              263                (2)         -1%
   Operator Service Fees                               86               88                 1           2%
   2% Reserve for Excess Expenditures                   8              -                  (8)       -100%
   Maintenance Projects                                69               65                (4)         -6%
   Shared Services Agreement Impact                   (41)             (44)               (3)          7%
  Total GridCo Operating & Maintenance     $          544 $            582 $              38           7%
 Total Expenses                            $         2,336   $       2,900     $         564          24%
 Surplus / (Deficit)                       $           33    $             (7) $         (39)       -120%


        Adverse Effects of FY 2020 Major Catastrophic Events
Aside from PREPA’s historic operational and financial challenges, the company’s operational and
fiscal condition was further affected by a series of catastrophic events. In September 2017,
hurricanes Irma and María caused substantial damages to the T&D System across the entire
island. Moreover, in January 2020, a magnitude 6.4 earthquake near Puerto Rico’s southwestern
coast caused significant damage to PREPA’s Costa Sur power plant and left most of Puerto Rico
without electric service for hours. The effects of the earthquake were quickly followed by the
onslaught of the historic global COVID-19 pandemic. The enforcement of strict health protection
and economic directives and measures in Puerto Rico had a negative effect on commercial activity
                                                40
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on the island and would have severely impacted PREPA’s liquidity position if residential
consumption had not registered a comparable and offsetting increase during the lockdown
periods.
The following sections summarize the effects of the earthquakes and COVID-19 on PREPA’s
financial and operational health.

        Impact of 2019-2020 Earthquakes
From December 28, 2019, to January 15, 2020, Puerto Rico experienced over 300 magnitude 3
or higher earthquakes, 10 of which reached or exceeded magnitude 5.30 The strongest earthquake
took place on January 7, 2020, reaching a peak magnitude of 6.4. This earthquake inflicted
significant damage on the Costa Sur power plant, an 820 MW natural gas-fired facility. At the
island-wide level, PREPA required several hours to reestablish service, underscoring the system’s
lack of quick restart capabilities and vulnerability to sudden loss of generation units.
Repairs of Costa Sur’s Units 5 and 6 were successfully completed by mid-August 2020 and
January 2021, respectively, with a total estimated repair cost of $39 million. As a result, however,
during the outage period PREPA had to rely on fuel oil and diesel generation capacity to
compensate for the lost natural gas-fired generation at Costa Sur. The costs associated with such
oil and diesel generation are expected to be reimbursed by FEMA and PREPA’s insurance.

        Impact of COVID-19
Starting March 16, 2020, Puerto Rico began enacting economic, health and social distancing
measures under Executive Order 2020-023 to cope with the spread of COVID-19. The public
health and economic impact of COVID-19 have had a ripple effect on the power sector. Social and
lockdown measures required PREPA to halt all non-essential work, including vegetation
management and maintenance projects, and led to a decline in generation levels and customer
sales. By late March 2020, average daily collections had dropped by 50%, forcing PREPA to
implement strict financial controls to preserve liquidity.31 By the end of June 2020, average daily
collections had returned to normal levels relative to forecast and expected collections.
The first quarter of FY 2022 shows higher than expected quarterly sales driven largely by an
increase in residential customer consumption. Both commercial and industrial customer class
sales in the second quarter were lower than expected, leading to an unfavorable variance. All three
customers classes exhibited unfavorable variances in the third quarter of FY 2022. (Exhibit 14 and
Exhibit 15).




30   “As Aftershocks Continue in Puerto Rico, USGS Supports Quake Recovery,” U.S. Geological Survey, January 17, 2020,
     https://www.usgs.gov/news/aftershocks-continue-puerto-rico-usgs-supports-quake-recovery.
31   Several factors influenced the decision by customers to not pay the utility bills, chief among them, the enactment of Act 39-2020,
     which, among others, prohibited the disconnection of electricity services due to non-payment.
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EXHIBIT 14: FY 2022 QUARTERLY SALES VARIANCE (GWH)




EXHIBIT 15: FY 2022 QUARTERLY SALES VARIANCE BY CUSTOMER CLASS32 (GWH)




As the COVID-19 pandemic evolves, ongoing evaluation will be critical to PREPA and LUMA
management’s ability to be prepared for unexpected changes in forecasts. An assessment of
PREPA’s and LUMA’s response to the COVID-19 pandemic will inform PREPA’s and LUMA’s



32 Excludes public lighting, agricultural, and other customer classes and as such will not add up to the totals seen in Exhibit 14.
                                                                  42
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emergency and contingency plans to respond to future unforeseen events better and more
effectively.




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Chapter 3. Transformation
The Government, together with PREPA and the P3A, in fulfilment of Commonwealth public policy
and as required in the Certified Fiscal Plan, is in the midst of completing the transformation of
Puerto Rico’s energy sector into a modern, efficient, reliable, and sustainable system. The
transformed energy sector will improve the everyday lives of Puerto Rico’s residents, allow
businesses to create jobs and thrive sustainably, and help attract and maintain investment in
Puerto Rico. This chapter provides an introduction and context to the transformation of the
energy sector (Section 3.1) followed by the vision, objectives, and framework for the
transformation (Section 3.2), including the appropriate regulatory reforms (Section 3.2.1) and the
ongoing transition to private operators (Section 3.3). Section 3.2.2.3 provides an overview of the
completed transition of operations and maintenance (O&M) of the Transmission and Distribution
(T&D) System to LUMA. This overview includes a discussion of LUMA’s obligations related to the
T&D System under the O&M Agreement (OMA) as well as LUMA’s compensation structure, which
is comprised of a fixed fee and a variable fee tied to performance improvements determined by
objective, transparent, and quantitative metrics being developed by the PREB. This chapter also
provides an update on the ongoing process to transition PREPA’s legacy generation assets to a
private operator (Section 3.2.2.4). The chapter concludes with the status of each milestone in the
implementation of Puerto Rico’s energy sector transformation (Section 3.4).

    Introduction and context of Puerto Rico’s Energy Sector
Transformation
On January 22, 2018, in the aftermath of Hurricane Maria, the Government of Puerto Rico, in
coordination with the Oversight Board, outlined a public policy vision for the transformation of
the energy sector. The vision states the need for a customer-centric, safe, reliable, resilient,
sustainable, and cost-efficient electric power service that meets environmental, regulatory, and
statutory requirements. This development will be enabled by competent and experienced third-
party operators for the generation and T&D System along with improved independent regulatory
oversight and insulation from political interference.
Previous PREPA and Commonwealth Certified Fiscal Plans have outlined a comprehensive
transformation of Puerto Rico’s energy sector to address PREPA’s financial and operational
challenges. Over the last three years, PREPA has taken numerous steps to address these
challenges, including supporting the selection of LUMA as T&D Operator and the transfer of T&D
System operations to LUMA on June 1, 2021. PREPA continues to support the ongoing
competitive procurement efforts of the P3A to select one or more operators to maintain and
operate PREPA’s existing legacy generation assets. Additionally, PREPA concluded and selected
18 renewable energy projects (equivalent to ~850MW of renewable energy) as part of the Tranche
1 RFP process.
Tranche 2 is pending PREB action through an appointed Independent Coordinator for
procurement, to add an additional 500MW of renewable generation and 250MW of battery
storage capacity.




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    Energy Sector Transformation: Vision, Objective, and
Framework
The Government of Puerto Rico’s vision to transform the energy sector has the following
objectives:

TABLE 2: TRANSFORMATION OBJECTIVES
                                              Transformation objectives33
Customer-                ▪     Focus on customer service and customer experience in planning and operations
centricity                     of the energy system
                         ▪     Increase customer engagement as stakeholders and options for customers to
                               meet individual needs
Affordability            ▪     Ensure the delivery of electricity service in a cost-effective manner consistent
                               with PREB oversight and orders
                         ▪     Improve operational efficiency
Reliability              ▪     Establish an adequate and reasonable level of service reliability and quality to
                               improve customer satisfaction and economic development
Resilience               ▪     Expand and develop structurally hardened infrastructure to allow for adequately
                               rapid overall system recovery after the impacts of catastrophic natural disasters
                               (hurricanes, earthquakes, etc.) and other adverse events
                         ▪     Continuous monitoring and testing of emergency preparedness capabilities
Sustainability           ▪     Diversify energy resources by prioritizing clean renewable energy deployment,
                               and reduce the carbon intensity of the power sector
                         ▪     Incentivize customers to use energy wisely and efficiently


To achieve the vision and objectives outlined above, the Government took the following steps to
establish a legal framework that mandates PREPA separate its T&D and generation functions and
transfer operation and maintenance responsibilities to third-party, professional operators,
leveraging private sector management, experience, and expertise to effectively deliver reliable
electricity to Puerto Rico’s residents:
▪    June 20, 2018 – Enactment of the Puerto Rico Electric System Transformation Act (Act
     120-2018) to provide the legal authority (under Puerto Rico law) and mechanisms for the sale,
     transfer or private operation and maintenance of PREPA’s T&D and generation assets,
     services, and functions through public-private partnerships.
▪    April 11, 2019 – Enactment of the Puerto Rico Energy Policy Act (Act 17-2019), which
     establishes a regulatory framework to attract private investment and ensure independent,
     professional oversight of energy market participants. Moreover, Act 17-2019 specifically
     prohibits PREPA from continuing to operate as a vertical monopoly, mandating the
     unbundling of the T&D System and generation operations into separate and distinct entities.




33   See, “2020 Certified Fiscal Plan for the Puerto Rico Electric Power Authority,” as certified by the Financial Oversight and
     Management Board of Puerto Rico on June 29, 2020.
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▪    June 22, 2020 – PREPA and P3A executed the T&D OMA with LUMA as the private
     operator for PREPA’s T&D System operations.34
▪    November 10, 2020 – The P3A launched the RFP to identify and select one or more private
     operators for PREPA’s existing generation assets.
▪    June 1, 2021 – LUMA began Interim Service Commencement under the Supplemental
     Agreement to the T&D OMA, providing for LUMA to assume T&D operations while PREPA
     remains in Title III.
▪    December 22, 2021 – P3A received proposals from various proponents to operate and
     maintain PREPA’s existing generation assets.
PREPA and/or the relevant Government entities will continue to promote and support the
transformation and modernization of the energy system, particularly regarding the
implementation of the following key elements:
     1. Reorganization of PREPA: One of the key tenets and requirements of previous
        Certified Fiscal Plans and Commonwealth energy policy for transformation is the
        unbundling of the electric system from a vertically integrated monopoly structure into one
        in which roles and responsibilities are reallocated across multiple entities and are operated
        by different parties. To that end, the T&D OMA among PREPA, P3A and LUMA was
        executed on June 22, 2020. On June 1, 2021, LUMA took over operations. In December
        2021, the PREPA Governing Board approved the legal creation of PREPA's planned
        subsidiaries. The focus in the coming months will be to; (i) create the approved
        subsidiaries (PREPA GenCo, PREPA GridCo, PREPA HydroCo, and PREPA PropertyCo);
        and (ii) assign separate PREPA's assets, roles, and responsibilities into each of the
        subsidiaries.

     2. Implementing regulatory reform: A strong and independent energy sector regulator
        is essential for injecting certainty and stability into the energy market, promoting much
        needed investment, and enforcing compliance with the energy sector’s transformation
        objectives. The framework of regulatory reform was approved by the government and Act
        57-2014 established an independent regulator, the Puerto Rico Energy Bureau (PREB).
        The focus in coming years will be continuing to support the independence of the regulator
        and enabling the regulator to execute its mandate. This process will be accomplished by
        supporting the development of a strengthened regulatory framework, including efficient,
        clear, transparent, fair, and accountable proceedings.

     3. Transitioning the operation and management of PREPA’s legacy generation
        and T&D assets to private operators, while supporting the responsible
        transition of the island’s energy generation to a reliable system based on
        100% renewables: Bringing on a private operator to manage and operate PREPA’s
        legacy generation assets will improve affordability, efficiency, operational resilience, and
        performance, while new modern generation capacity is developed. As to the T&D System,

34   O&M references are to that certain Operation and Maintenance Agreement (T&D OMA) dated as of June 22, 2020, by and among
     PREPA, LUMA Energy, LLC, LUMA Energy Servco, LLC and the P3A. All language and statements under this chapter are meant
     to be illustrative only and shall be interpreted in accordance with, and subject to, the T&D OMA including the terms, as defined
     thereunder.
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          PREPA has successfully transitioned operation and maintenance functions to LUMA on
          June 1, 2021, along with customer service and energy operation center responsibilities.
          This effort should yield improved customer experience, support rigorous capital project
          execution to modernize the T&D system, strengthen grid resilience, ensure political
          independence, enable the integration of renewable generation capacity, and ensure
          ongoing fiscal balance and control. PREPA, as owner of the assets, will continue to support
          LUMA as necessary, pursuant to the T&D OMA. The P3A serves as the sole administrator
          of the T&D OMA with respect to LUMA’s performance. Similarly, for the private
          operator(s) of its legacy generation assets, PREPA has been supporting the RFP process
          led by P3A, which will also be the sole administrator of the generation OMA and will work
          towards ensuring a timely and successful transition once the P3A completes the selection
          process.35

     4. Restructuring legacy debt obligations: One of the objectives of PREPA’s
        transformation and restructuring under PROMESA is ensuring that it regains access to
        capital markets at reasonable prices. Given PREPA’s significant legacy debt obligations, a
        sustainable restructuring plan is necessary for PREPA to exit Title III and regain access to
        traditional credit markets. Without restructuring, customers will ultimately experience
        higher rates, resulting from, among other things, repayment of a higher legacy obligation
        and risk premiums associated with the Title III case. Ultimately, successful restructuring
        of outstanding bonds and debt obligations will reduce PREPA’s legacy debt, helping to
        support more affordable rates than what would otherwise be required, and enabling access
        to capital markets for future capital needs, consistent with standard utility practices. This
        will enable PREPA, through the selected private operators for the T&D System and legacy
        generation assets, to achieve and sustain its transformation goals, to modernize Puerto
        Rico’s power grid and to pass on subsequent efficiencies to end users. Restructuring of
        legacy debt obligations are further discussed in this chapter in Section Error! Reference
        source not found. and in Chapter 14.
PREPA’s Certified Fiscal Plan and the energy public policy and legal framework established by the
Government36 provide the roadmap to complete the island’s energy system transformation. If
successfully implemented, a reformed energy system will lead to a modern and reliable energy
services across Puerto Rico: a diversified fuel mix and more stable fuel and purchased power costs,
anchored on low-cost renewable energy generation resources; increased operational efficiencies;
and a well-funded, financially sustainable utility. These outcomes will benefit the customers and
businesses of Puerto Rico through more reliable, clean, and safe electricity service.

        Energy Sector Regulatory Reform & Oversight
Completing Puerto Rico’s energy system transformation, advancing ongoing changes in PREPA’s
historical roles and responsibilities, and assigning such responsibilities to selected qualified
private operators is imperative. The first step in this restructuring process was taken with the
enactment of Act 57-2014, which established Puerto Rico’s energy regulator, PREB. Act 57-2014
eliminated PREPA’s prior authority to self-regulate and transferred such authorities and

35   The Department of Energy (DOE) and various national labs are working on initiatives included in the PR100 Study - The Puerto
     Rico Grid Resiliency and Transition to 100% Renewable Energy Study – which was coordinated with the Governor of Puerto
     Rico.
36   Puerto Rico Energy System Transformation, Act No. 120-2018; Puerto Rico Energy Policy Act, Act No. 17-2019
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responsibilities to PREB. In Puerto Rico’s transformed energy system, those regulatory roles and
responsibilities remain at PREB. PREB has the responsibility to “regulate, monitor, and enforce
the energy public policy of the Commonwealth of Puerto Rico.” As Puerto Rico’s energy sector
continues its transformation into a vibrant, modern system, PREB will continue to be responsible
for the development of, and adherence to, a robust regulatory framework that promotes prudent
investments by regulated utilities, increases quality of service to customers, and ensures that
industry trends and technological advancements are appropriately and sustainably incorporated
into Puerto Rico’s energy system. To that end, PREB’s regulatory oversight of all regulated energy
stakeholders will directly impact the transformed energy sector and have significant influence on
Puerto Rico’s energy services.
Chapter 10 (Power Sector Reform) of the Commonwealth Certified Fiscal Plan describes the
necessary steps to ensure that PREB becomes a best-in-class regulator, provides a description of
what PREB’s roles and responsibilities will be in the near-term and long term, and delineates
responsibilities between PREB and the Oversight Board.


          Transition to Private Operators
As required by Act 17-2019 and as outlined in PREPA’s 2020 and 2021 Certified Fiscal Plans,
PREPA is required to separate its vertically-integrated operations into Generation and T&D
System functions – GenCo and GridCo, respectively. GridCo comprises transmission and
distribution system and associated operations, customer experience, system operations and
planning and administrative functions, now operated by LUMA.37 GenCo comprises existing
PREPA-owned generation resources that are to be operated and maintained by one or more
private operators until their retirement, as laid out in the PREB-approved IRP.38 GenCo’s
responsibilities will also include environmental compliance, safety and plant retirement and
decommissioning. Additionally, GenCo and LUMA will be responsible for working closely to
ensure appropriate short-, mid- and long-term system planning and timely and efficient execution
of system-wide capital improvements.
In addition to GridCo and GenCo, PREPA will create two additional subsidiaries: (1) HydroCo,
which will own and operate PREPA’s hydroelectric generating and irrigation assets; (2) HoldCo,
which will be responsible for certain non-operational functions; and (3) PropertyCo, which will
own the remaining PREPA assets that are not directly related to generation, T&D, or irrigation
operations.39
Finally, PREPA’s existing day-to-day roles and responsibilities will be limited to those strictly
necessary to ensure compliance with federally funded capital investment requirements, short-
and long-term financing, financial disclosure and auditing requirements, recordkeeping and
other obligations established by federal and Commonwealth laws.

        Objectives of the Transition to Private Operators
Private operation of PREPA’s T&D and generation assets forms a critical part of the
transformation and the implementation of system modernization, generation upgrades,

37   T&D OMA at Sec. 5.
38   See Section 1.8 of the Puerto Rico Energy Public Policy Act; Act 17-2019.
39   Initiatives addressing restructuring needs in the near term are further described in Chapter 9: Operational Measures.
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reliability, efficiency, federal funding, and capital delivery initiatives. The overall objective of the
various private operators is to address and correct many of the operational and infrastructure
deficiencies that have plagued PREPA’s T&D and generation services over the last decades,
improve service quality, and deliver safe, reliable service at affordable rates, as determined by
PREB within its rate-setting authority. As such, the private operators must deliver financial and
operational performance improvements across the following six dimensions:40
▪    Improve operational performance through systematic improvements and
     introducing and leveraging experienced personnel. LUMA and the GenCo operator
     hereinafter selected by the P3A should focus on reducing PREPA’s historic dependency on
     outsourced contracts by insourcing activities, empowering, and training the local labor force,
     and achieving economies of scale. Specifically relating to T&D, through the T&D OMA, LUMA
     is incentivized to improve the performance of the T&D System over time based on
     Performance Metrics reviewed and approved by PREB.
▪    Upgrade technology to increase reliability and improve system resilience and
     efficiency. While PREPA had limited experience with industry-standard technology, LUMA
     and the GenCo operator(s) should be capable, qualified, and focused on implementing
     modern technologies, digital capabilities, and infrastructure to enhance operational
     efficiencies and reliability, contributing to system performance improvements.
▪    Improve processes and procedures. Drawing on their operational expertise, LUMA and
     the GenCo operator(s) will further focus on streamlining and standardizing management
     processes and improve operational efficiencies. These efficiencies will also translate into
     improved operations and customer experience.
▪    Make decisions with limited political interference. LUMA and any other private
     operators are subject to independent regulatory oversight by PREB, with contractual oversight
     from the P3A with respect to its performance under the T&D OMA, thus creating an
     environment that allows for decisions to be made free of the kind of political interference that
     has led to the myriad problems with the operation of the utility as described above. This leads
     to the adoption of standard industry practice where experienced utility operators make
     operational decisions with oversight from an independent regulator and free of substantive
     control by PREPA itself, whose governing board is politically appointed as described above.
     This will in turn depoliticize system management, improve operational performance,
     competitive procurement utilization, management and maintenance of the T&D System, and
     the generation facilities, leading to tangible improvements in overall quality of service and
     affordability. The operations of the T&D System by LUMA and, eventually, the generation
     assets by a generation operator, must remain free of control by PREPA, subject only to
     contractual oversight by the P3A and regulatory oversight by PREB.
▪    Implement effective and efficient capital project delivery. LUMA and the GenCo
     operator(s) are incentivized to establish the mechanisms and processes critical to effectively
     delivering capital infrastructure programs essential for the effective and timely
     transformation of the energy system and to ensuring federal funding required for grid
     modernization and generation asset improvements are well spent, which in turn will increase
     grid resilience, reliability, sustainability, and efficiency, and recover and mitigate high risk

40   Commonwealth Certified Fiscal Plan, Chapter 10 “Power Sector Reform”
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     gaps. For instance, the T&D grid mitigation and remediation activities41 included in the
     System Remediation Plan, as required under the T&D OMA, will improve service quality and
     bring the Puerto Rico energy system up to par with peer utilities on reliability and safety.42
▪    Enable renewable energy generation and transmission. LUMA, as the T&D System
     operator, is assisting with renewable grid and dispatch integration, enabling the transition to
     a clean, reliable, and sustainable energy sector. This includes renewable energy program
     management, T&D System modernization, and renewable generation scheduling and
     dispatch. These efforts are required to meet the goals set up by Act 17-2019, which mandates
     that Puerto Rico obtain 40% of its electricity from renewable resources by 2025, 60% by 2040,
     and 100% by 2050.

        Future Structure of the Energy System and PREPA, as well as roles and
           responsibilities
Act 17-2019 calls for “transitioning from the current, vertically integrated monopoly comprising
PREPA, to an energy system with multiple players as well as changes to the roles and
responsibilities that have historically been concentrated within PREPA, and their reallocation
across multiple entities.” Consistent with such energy key practices outlined in the T&D OMA,
PREPA has transferred day-to-day roles and responsibilities over the operation of the T&D system
and anticipates transferring the operation and maintenance of its generation systems, including:
deployment of federally and non-federally funded capital investments and short-, medium-, and
long-term system planning. Exhibit 16 provides an overview of the current and future state of the
Puerto Rico Energy Sector.

EXHIBIT 16: ENERGY SECTOR TRANSFORMATION CURRENT AND FUTURE STATE




41   PREPA grid infrastructure reconstruction will also be informed and guided by the 10-year Infrastructure Plan submitted by PREPA
     to FEMA in December of 2020 and subsequently updated as of March 2021, as part of the global settlement with FEMA for the
     reconstruction of the island’s energy infrastructure. Reconstruction will also be guided by the March 2022 Update to the PREPA-
     LUMA 90-Day Plan, Docket ID: NEPR-MI-2021-0002
42   SRP filing on Fri Apr 16, 2021, Docket ID: NEPR-MI-2020-0019, RFI-LUMA-MI-20-0019-210406-PREB-004
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PREPA has worked and coordinated with the P3A to develop a reorganization plan that is
compliant with the energy policies of the Government of Puerto Rico and to meet its obligations
under the T&D OMA. PREPA is currently developing the plan for its required reorganization and
will be submitting it to the PREB for approval.
The T&D OMA establishes or otherwise confirms certain rights and responsibilities of PREPA as
owner and the P3A as administrator, including requiring that PREPA or its successor: (1) comply
with applicable laws; (2) cooperate with LUMA in its efforts to obtain and effectuate approval of
any governmental body; (3) execute and file condemnation proceedings; (4) manage PREPA’s
legal matters; and (5) in coordination with the P3A, and when doing so does not result in
duplicative efforts, audit LUMA’s compliance with federal funding requirements.
Additionally, the T&D OMA requires that “[f]rom and after the Service Commencement Date, and
at all times during the Term [of the T&D OMA], [PREPA or its successor] and the [P3A], including
any of their Subcontracts, maintain staffing in connection with the [T&D] O&M Services only at
those levels strictly necessary for [PREPA] and [the P3A] to timely and efficiently perform their
obligations under [the] [T&D OMA]”.43 Based on the above, PREPA has developed and is
implementing a reorganization of PREPA’s organizational structure, consistent with the T&D
OMA and Act 17-2019.
Exhibit 17 and Exhibit 18 provide an overview PREPA’s structure before and after the
reorganization, respectively. Exhibit 18 reflects the interim structure before the creation of GridCo
and HoldCo as distinct separate entities, as well as the creation of HydroCo and PropertyCo.
Overtime, PREPA must establish a GridCo entity that encompasses only those T&D System
functions and responsibilities transferred to LUMA. Any other remaining PREPA operations are
to be encompassed within HoldCo, or within the other remaining subsidiaries.

EXHIBIT 17: CURRENT PREPA STRUCTURE




43 T&D OMA at Sec. 6.4.
                                                 51
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EXHIBIT 18: FUTURE PREPA STRUCTURE




        Transitioning T&D assets to a private operator
On June 22, 2020, LUMA executed the T&D OMA and began transition to become the private
operator for PREPA’s T&D System assets. This agreement was the result of a competitive process
run by the P3A. Following the selection, LUMA and PREPA embarked on the front-end transition
process required under the T&D OMA, to ensure the transition of responsibilities. The completion
of this process occurred on May 31, 2021, and LUMA’s initial service commencement began
providing services on June 1, 2021.
The following sections provide an overview of the T&D System transition to LUMA.

3.3.3.1. Transformation Process
The P3A conducted the T&D RFP process to select a qualified O&M service provider for the T&D
System. The process followed an objective and transparent set of bidding and evaluation
procedures. Evaluation of eligible bids was performed in accordance with legal requirements
under the P3 statute, Act 29-2009, as amended, by the P3A Partnership Committee, established
by the P3A pursuant to Section 5 of the Puerto Rico Electric System Transformation Act, Act No.
120-2018, as amended.
On May 15, 2020, the Partnership Committee recommended to the Board of Directors of the P3A
that the contract for the management, operation, maintenance, repair, restoration, and
replacement of the Puerto Rico electric T&D System be awarded to LUMA44.
LUMA was announced as the selected T&D O&M services provider on June 22, 2020, after
approval of the selection was issued by the P3A Board, the Oversight Board, PREPA’s Governing
Board, PREB, and the Governor. Thereafter, PREPA, the P3A and LUMA signed the T&D OMA

44 LUMA is an entity formed by ATCO Ltd. and Quanta Services Inc.
   https://www.atco.com/en-ca/about-us/news/2020/122897-atco-and-quanta-form-luma-to-transform-puerto-rico-s-electricity.html.
                                                              52
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which the Oversight Board approved, enabling the commencement of the front-end transition
period called for under the agreement (Exhibit 19).
EXHIBIT 19: KEY MILESTONES IN T&D OPERATOR TRANSITION PROCESS




Pursuant to the T&D OMA, contract oversight and compliance responsibilities are, and to
maintain ’UMA's independence must remail, the ongoing responsibility of PREB and the P3A,
each within their respective areas of authority and responsibility under applicable law and
contract provisions. The Oversight Board will continue its oversight role for PREPA as long as it
remains a covered territorial instrumentality under PROMESA. This role includes the
certification of PREPA’s Certified Fiscal Plans and Budgets, and the adjustment of PREPA’s debts
and liabilities in its Title III case. Further discussion of Puerto Rico’s energy system regulatory
landscape can be found in Chapter 10 (Legal and Regulatory Structure).

3.3.3.2. Overview of the LUMA T&D OMA
The T&D OMA was executed by and among LUMA, PREPA, and the P3A. Under the T&D OMA,
LUMA will provide O&M services pertaining to the T&D System for a minimum term of 15 years.
An O&M structure was preferred over a sale or concession of the T&D assets because such assets
remain property of PREPA and thus allows PREPA and the Government to maintain access to and
eligibility for federal funds for the reconstruction and modernization of the electric grid after
Hurricanes Irma and María – and any future natural disasters that may cause damage to such
infrastructure.
The T&D OMA outlines requirements, responsibilities, costs, and milestones for the transition of
operation of the T&D System by LUMA. These various items are established for purposes of the
front-end transition period, the Interim Period, the O&M Services and the back-end transition
period. The following section provides an overview of the key elements outlined in the T&D OMA:
   a. Front-End Transition
The purpose of the front-end transition plan was to ensure the orderly transition of the
responsibility for the management, operation, maintenance, repairs, restoration, and
replacement of the T&D System to LUMA in compliance with the target established for Service
Commencement Date. The front-end transition period began on June 22, 2020, and concluded
on May 31, 2021, at which time LUMA assumed responsibility over the operation and
maintenance of the T&D System under an “interim period” while PREPA contemplates its Title
III case, upon which the full 15-year term of the T&D OMA will commence.
During the front-end transition LUMA, PREPA and the P3A worked together on activities
designed to ensure an orderly transition to LUMA. Such activities included, among others:
                                                53
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    ▪   Development and implementation of operational takeover plans
    ▪   Development and approval of system remediation plans
    ▪   Evaluation of customer service facilities, assets, policies, and procedures
    ▪   Development of IT/OT communication plans, gap analysis, cyber security, and business
        continuity plans
    ▪   Formalizing changes to control processes, establishing financial accounting system, and
        account structure, preparing initial budgets and forecasts
    ▪   Setting up a governance framework, and policies and procedures related to federal
        funding, and
    ▪   Development of back-end transition plans
During the front-end transition period, and pursuant to the terms of the T&D OMA, PREPA paid
LUMA a front-end transition service fee and reimbursable expenses as shown in Exhibit 20.
    b. Supplemental Agreement and Interim Period
The T&D OMA established as a condition precedent to LUMA taking over operation and
maintenance responsibilities over the T&D System that PREPA complete its debt restructuring
process and exists Title III of PROMESA. Given the view that PREPA would not be able to exit
Title III by the expected the June 1, 2021, Service Commencement date proposed by LUMA, the
Oversight Board required LUMA, PREPA and the P3A engage in negotiations with the purpose of
enabling LUMA to begin providing O&M services prior to PREPA’s exit from Title III. As a result,
PREPA, LUMA and the P3A negotiated and executes a Supplemental Agreement to the T&D OMA,
which provided for an 18-month Interim Service Period under which LUMA would be able to
commence providing T&D services while PREPA’s Title III case remained pending. The Interim
Service Period is separate from the 15-year service term outlined in the T&D OMA, which would
begin on the date in which PREPA’s exit from Title III is achieved.
    c. T&D O&M Services
After having achieved contractual milestones for transition of T&D operations, the responsibilities
for aspects of the operation and maintenance of PREPA’s T&D System, including billing and other
customer service functions, was transferred to LUMA for the Interim Period set forth in the
Supplemental Agreement to the T&D OMA. These services and responsibilities include day to day
operations and maintenance of the T&D System, long-term systems and resource planning,
generation dispatch, asset management, operation and maintenance, community and media
relations, reporting and record keeping, finance and accounting, and oversight and
implementation of federally funded projects, among others specified in the OMA Scope of
Services. Emergency response and customer service responsibilities, including billing, outage
reporting, and connections, are also part of LUMA’s responsibilities as T&D System operator.
Therefore, under the T&D OMA, LUMA’s scope of services is the following45:
1. T&D System Operation Services: responsible for all electric transmission, distribution,
   load serving and related activities for the safe and reliable operation and maintenance of the
   T&D System. These include system operator activities, engineering activities, maintenance of
   technical documentation, energy efficiency activities, planning, environmental and


45 T&D OMA Annex I
                                                54
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    regulatory, legal services, insurance and claims, collection of bills from PREPA’s customers,
    and other activities.
2. Asset Management and Maintenance Services: responsible for managing and
    maintaining all assets of the T&D System including machinery, equipment, structures,
    improvements, and condition assessments of the electrical system components. These include
    inventory control, fleet management and refueling, necessary equipment and systems,
    information technology, public lighting, and generator interconnection.
3. Continuous Improvement Services: development and administration of research and
    development to increase operational efficiency and effectiveness, establishing and conducting
    a continuous improvement program designed to enhance LUMA’s performance, monitoring
    industry advancement and technological changes.
4. Government, Community and Media Relations: communications with customers and
    government officials, responsible for coordinating and conducting communications with
    local, state, and federal representatives and organizations, community and media relations,
    and customer contact.
5. Testing, Reports and Records: preparing monthly operations report, producing and
    delivering information to P3A as requested, and developing and maintaining comprehensive
    document management program.
6. Regulatory, Finance, and Accounting Services: responsible for regulatory proceedings,
    finance, accounting, budgeting, long-term financial forecasting, and treasury operations
    related to the T&D System.
7. Health, Safety, Environment, and Quality: responsible for ensuring system wide
    compliance with standardized safety programs to prevent and reduce risk of occupational
    injuries through hazard identification and reduction activities.
8. Emergency Response: curtailments and shutdowns, implementation of the emergency
    response plan that addresses disaster recovery and emergency response and restoration, and
    all necessary business continuity, reporting and communication functions relating to the T&D
    System.
9. Maintenance: performing all ordinary maintenance of all property constituting T&D
    System, including machinery, structures, improvements, and electrical system components,
    to keep the T&D System in operational condition.
10. Customer Service: maintaining staff dedicated to assisting customers, toll-free customer
    service hotlines, establish and maintain website for customer inquiries and complaints, public
    outreach and education campaign, customer satisfaction, and meter-related services
    including repair and replacement of meters.
11. Federal Funding: responsible for (together with PREPA and P3A) developing a federal
    funding procurement manual46 (subject to approval by COR3, FEMA, and DHS OIG)47,
    ensuring compliance with Federal Funding requirements for contracts that involve Federal
    Funding, and ensuring compliance with applicable law, regulation, and policy for any federally
    funded work48, acting as agent (after prior written consent by PREPA and P3A) of PREPA in
    connection with any federal funding requests related to the T&D System49.


46   Submitted on January 21, 2022. Motion in Compliance with Resolution and Order of January 21, 2022 and Submitting Responses
     to Requests on the LUMA Procurement Manual, Case No. NEPR-MI-2021-0004, February 25, 2022.
47 T&D OMA, Section 4.5 j
48 T&D OMA, Section 5.9 c
49 T&D OMA, Section 5.9 e
                                                              55
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     d. Service fees
Pursuant to the T&D OMA, PREPA paid compensation to LUMA during the front-end transition.
Furthermore, PREPA currently pays LUMA for the T&D O&M services based on the fee structure
shown in Exhibit 20 during the Interim Period. Aside from the fixed fee component, LUMA will
be eligible to receive the T&D O&M services Incentive Fee if LUMA is able to achieve or exceed
the performance metrics outlined in the T&D OMA50 , as approved by PREB once the regulator
emits a final order on metrics to judge performance. Certified Fiscal Plan

EXHIBIT 20: T&D OMA FEES BY CONTRACTUAL PERIODS 51




     e. Shared Services Agreement
The T&D OMA contemplated the likelihood that GenCo – before PREPA transfers GenCo and
associated operating, administrative, and/or maintenance functions to one or more private
operators – would need certain administrative and other services that historically were provided
by PREPA. As such, the T&D OMA provides that to ensure the continuity of GenCo operations
LUMA will – as agent of PREPA – provide certain services (the “Shared Services”) to PREPA. To
that end, PREPA and LUMA signed a Shared Services Agreement that sets forth the services that
LUMA shall provide during the time prior to a transfer of GenCo to one or more private operators,
and for a term not to exceed three years from its effective date unless otherwise mutually extended
by the parties. The negotiated Shared Services Agreement includes Finance & Accounting, IT, and
operational services. Per the T&D OMA, shared services provided by LUMA are to be provided at
cost. In other words, LUMA does not earn a mark-up or profit. The exact scope and amount of the




50 Official Performance Metrics are subject to approval by the PREB
51 All fees are based on 2020 dollars that will be adjusted by inflation for each year.
                                                                  56
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shared services provided, as well as the compensation for these services, are detailed in the Shared
Services Agreement that was executed by PREPA and LUMA on June 1, 2021.52
    f. Back-End Transition
To ensure an orderly and structured transition of the T&D services back to the Government or to
a successor operator in the future, the T&D OMA requires, and LUMA prepared and submitted to
the PREB and the P3A, a detailed back-end transition plan, to be updated on an annual basis. This
plan includes reasonable arrangements for the hiring of LUMA employees by the Government of
Puerto Rico or a successor operator, treatment of severance costs associated with LUMA
employees not hired by a successor operator, and the transition and handover of T&D O&M
Services back to the Government of Puerto Rico or to a successor operator.
    g. Transformation Impact on Current PREPA Employees
There are legal requirements governing the treatment of former PREPA employees to protect and
ensure job security during the transformation. These protections are included in Act 120-2018, as
amended by Act-17-2019, and provide safeguards for ongoing employment and certain applicable
retirement benefits and vested rights for PREPA employees. Act 120-2018 provides that regular
PREPA employees will have employment either by joining LUMA (or any other operator selected
through a P3A process), at PREPA, to the extent such positions exist and are necessary for PREPA
to meet its obligations, or within the Government of Puerto Rico, as determined by the Puerto
Rico Human Resource Administration and Transformation Office (OATRH).
Pursuant to Act 120-2018, OATRH and the Puerto Rico Office of Management and Budget (OMB)
identified open positions across Puerto Rico’s central government to ensure that jobs would be
available for every PREPA employee that wanted to stay employed with the Government. To that
end in April 2021, PREPA and OATRH sent more than 4,000 transfer notices to PREPA
employees. Through the transfer notices, PREPA employees were notified, in accordance with Act
8-2017 and Act 120-2018, the substitute employer agency or instrumentality of the Government
of Puerto Rico for employment by June 1, 2021 (unless they accept positions with LUMA).
Following the June 1, 2021, deadline, it is estimated that approximately 2,900 PREPA employees
took positions within the Government of Puerto Rico.
In addition to having the opportunity to continue working with the Government of Puerto Rico,
employees had the option to exit public service and participate in a voluntary transition program
(“VTP”). The Oversight Board approved the Government’s proposal to issue a VTP for non-
generation PREPA employees, amended PREPA’s FY 2021.
3.3.3.3. LUMA Objectives and Performance Management
As contemplated within the LUMA Initial Budgets, LUMA completed the transition for, and
implementation of, management and operation of the T&D System while maintaining maximum
business continuity. LUMA as T&D System operator will implement new policies, procedures, and
plans (including the Emergency Response Plan, Vegetation Management Plan, and Security Plan,
among others) which will improve the state and effective operation of the T&D System, its


52 Shared Service Agreement, dated as of June 1, 2021 by and among The Puerto Rico Power Authority as Owner, The Puerto Rico
    Public-Private Partnerships Authority as Administrator and LUMA Energy, LLC as ManagementCo and LUMA Energy SERVCO,
    LLC
                                                            57
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reliability and service to PREPA’s customers. Key activities in the next three years of LUMA
operations include the following:

       •   Operations
           o    Continue to develop and roll-out new work methods and communicate to crews
                on engineering standards, new methodologies and industry practices, provide
                required ongoing safe and reliable services to customers, and
           o    Further improve line and substations work and vegetation, fleet, and materials
                management.

       •   Customer Service
           o    Continue to provide professional, courteous, and responsive communication
                when addressing customer needs,
           o    Continue to unwind system customizations and improve customer care and
                billing system (including installation of effective meter systems that facilitate
                billing for actual vs estimated consumption), and
           o Develop robust real-time and historical reporting to inform data-driven decisions.

       •   Utility Transformation: Provide the technical and programmatic framework
           required to deliver safe and reliable service to customers, including:
           o    Finalize plans for PREB related to Energy Efficiency, Demand Response and
                Electric Vehicles,
           o    Collaborate with US DOE and national labs, together with PREPA and the
                government of Puerto Rico on the Puerto Rico Grid Resilience and Transitions to
                100% Renewable Energy Study (PR100),
           o    Continue to evaluate and implement key initiatives including establishing
                enhanced T&D standards, preparing planning studies, field and desktop
                assessments and deployment of distribution automation, and
           o    Continue to implement project management system for capital programs.

       •   Support Services: Improve functions that are required for the management and
           support of the T&D System assets, including continuing to build a safety-first culture,
           continuing to develop and implement an overall IT OT framework and improving
           systems procedures and processes for functions including Finance, Regulatory and
           Human Resources.
In accordance with its obligations under the T&D OMA and with PREB’s directives (specifically
those stated in the Resolution and Order dated November 20, 2020, in case by PREB NEPR-MI-
2020-0008), LUMA began execution of the FEMA-funded T&D work, including the planning and
critical engineering work on major initial projects.




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Through the activities and priorities outlined in this chapter as well as Chapter 7 and Chapter 8,
LUMA must pursue the following objectives, which are explained in more detail and linked to
specific performance metrics53 in Table 3 below:

     •    Prioritize safety

     •    Improve Customer Satisfaction

     •    Achieve System Rebuild and Resiliency

     •    Pursue Operational Excellence, and

     •    Prioritize Sustainable Energy Transformation

TABLE 3: DETAILED GOALS AND OBJECTIVES54
 Goal                  Objective                                            Performance Metric
                       ▪ Promote a safe workplace. Implement
                                                                            ▪ OSHA Recordable Incident Rate
                       procedures, controls, training programs,
 Prioritize                                                                 ▪ OSHA Fatalities
                       increase PPE, and awareness
 Safety                                                                     ▪ OSHA Severity Rate
                       ▪ Implement effective public safety practices.
                                                                            ▪ OSHA DART Rate
                       Reduce public exposure to safety risks
                                                                            ▪ J.D. Power Customer
                       ▪ Deliver a positive customer experience.
                                                                            Satisfaction Survey - Residential
                       Improve customer service quality, accessibility,
                                                                            Customers
                       and reliability.
                                                                            ▪ J.D. Power Customer
                       ▪ Increase Service Reliability. Reduce the
 Improve                                                                    Satisfaction Survey - Business
                       frequency and duration of interruptions to
 Customer                                                                   Customers
                       customers’ electricity service
 Satisfaction                                                               ▪ Average Speed of Answer
                       ▪ Deliver electricity at reasonable prices. Reduce
                                                                            ▪ Customer Complaint Rate
                       operating costs, technical and non-technical line
                                                                            ▪ Abandonment Rate
                       losses, and reduce days sales outstanding and
                                                                            ▪ SAIFI
                       write-offs
                                                                            ▪ SAIDI
                       ▪ Effectively deploy federal funding. Ensure
                       efficient management of funding, in compliance
                                                                            ▪ Capital Budget – Federally
                       with FEMA guidelines for reimbursement
                                                                            Funded
                       ▪ Restore / reconstruct damaged grid
                                                                            ▪ Distribution Line Inspections &
 System                infrastructure. Focus first on critical loads,
                                                                            Targeted Corrections
 Rebuild and           severely damaged infrastructure, and vulnerable
                                                                            ▪ Transmission Line Inspections &
 Resiliency            community lifelines
                                                                            Targeted Corrections
                       ▪ Improve resiliency of vulnerable infrastructure.
                                                                            ▪ T&D Substation Inspections &
                       Identify and assess infrastructure and systems
                                                                            Targeted Corrections
                       for vulnerability and health, to focus near-term
                       investment
                                                                            ▪ Operating Budget
 Operational           ▪ Enable systematic management of the business.
                                                                            ▪ Capital Budget – Non-Federally
 Excellence            Improve information systems and processes to
                                                                            Funded

53   Performance Metrics are subject to approval by PREB.
54   LUMA Initial Budget, February 2021 Update, p.510 Appendix E
                                                             59
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                       enable systematic, data-driven, and efficient         ▪ Overtime
                       management                                            ▪ Days Sales Outstanding -
                       ▪ Pursue project delivery excellence. Improve         General Customers
                       execution of capital projects (on time, budget,       ▪ Days Sales Outstanding -
                       scope), carefully manage risk                         Government Customers
                       ▪ Enable employees to execute business
                       operations systematically. Increase employee
                       effectiveness (engagement, productivity) and
                       learning (quickness to adjust, performance
                       improvement)
                       ▪ Modernize the grid. Incorporate smart grid
                       technologies into rebuilding efforts, increase
                       hosting capacity, reduce load-shedding events,
                       increase deployment of AMI and new DER
                       (Distributed Energy Resource) interconnections
                       ▪ Enable the digital transformation Upgrade IT
                       OT      capabilities,   enhance     cybersecurity
 Sustainable           capabilities, replace all end of use devices,
 Energy                upgrade software to manage the T&D System as
 Transformation        well as economic dispatch
                       ▪ Enable the sustainable energy transformation.
                       Ensure system infrastructure is rebuilt to
                       accommodate higher penetration of intermittent
                       distributed resources, increase penetration of
                       renewable resources and battery storage, reduce
                       consumption through energy efficiency and DR
                       programs

LUMA translated its priorities and activities into a set of tangible improvement portfolios, which
are outlined in more detail in Chapter 7 (LUMA Improvement Portfolios). As a result of its
improvement programs, LUMA must work to achieve the projected improvements in
Performance Metrics55 shown in Table 4.

TABLE 4: CUMULATIVE IMPROVEMENTS56 IN PERFORMANCE METRICS PROJECTED BY LUMA
 Performance Metric57                                 Fiscal Year 2022   Fiscal Year 2023     Fiscal Year 2024
 Customer Service                                            11%               26%                   31%
 Safety                                                     22%                36%                   48%
 System Average interruption                                 7%                20%                   30%
 Frequency Index (SAIFI)
 System Average interruption                                10%                25%                   40%
 Duration Index (SAIDI)




55 System Remediation Plan, Docket ID: NERPPREB NEPR-MI-2020-0019; RFI-LUMA-MI-20-0019-210406-PREB-006, filed April
    16, 2021
56 Cumulative improvements shown
57 Subject to PREB regulatory process and approval.
                                                             60
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Based on the historical state and efficiency of PREPA’s grid operations, LUMA is aware of the
challenges ahead, and is focusing efforts on key success factors to mitigate them, including
   1.    Safety first;
   2.    Data driven decision making;
   3.    Leading with solutions; and
   4.    Implement a transparent and collaborative approach to decision making.
The risks to the T&D transformation are discussed in detail in LUMA regulatory filings with
PREB. Specifically, the Program Briefs filed by LUMA regarding the Initial Budgets and the SRP
outline risks of not proceeding within SRP Section 2.6 Program Risks.

        Transitioning Legacy Generation Assets to a Private Operator
Like the T&D System, the electricity supply system of Puerto Rico is in the midst of a transition
from being publicly operated and maintained entity to a multi-party, privately owned and
operated generation system. This transition will play an integral role in boosting generation
efficiency and productivity, and environmental compliance, which is projected to have the
following impacts:
   1. Improved reliability of services
   2. Improved quality of the supply of electricity
   3. Adherence to environmental and sustainability standards
To that end, the operation and maintenance of PREPA’s existing legacy generation assets will be
transferred to one or more qualified private third parties, while those generation assets are duly
decommissioned and retired, in accordance with the IRP and Act 17-2019. To improve the
flexibility, reliability, resiliency, efficiency, and sustainability of Puerto Rico’s energy supply, the
generation fleet transformation will include:
   1. Transition of the operation and maintenance of PREPA’s legacy generation
      assets to one or more private operators: Private operator(s) will be responsible for
      the optimal operation and maintenance of PREPA’s assets through a GenCo Operation
      and Maintenance Agreement contract structure, similar to the T&D OMA transaction,
      until the legacy generation units are retired and replaced by new, more efficient and
      compliant, generation. PREPA-owned generation assets are expected to deliver enhanced
      reliability and efficiency for the remainder of their operating period under the stewardship
      of private operators, which is currently being procured by the P3A through a competitive
      process.
   2. Replacement and modernization of the legacy generation fleet: Puerto Rico’s
      aging, inefficient, and unreliable generation fleet must be urgently replaced and
      modernized to reduce outages and generation costs as well as comply with environmental
      regulations. The roadmap for this modernization is the PREB-approved IRP, which
      outlines the actions and investment in new generation that must be procured to reduce
      generation costs and achieve greater reliability and resiliency. These investments include
      increasing the share of renewable generation through a competitive procurement process
      for new compliant generation capacity to be obtained via power purchase agreements. This
      process will reduce reliance on fossil fuels along with their associated price volatility and
      set Puerto Rico on a path to compliance with the RPS target outlined in Act 17-2019. In
                                                  61
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          addition, increased flexibility and reliability will result from GridCo’s deployment and
          integration of energy storage, distributed generation, and the use of minigrid/microgrid
          technologies.

3.2.2.4.1. Process for Transitioning Legacy Generation Assets to a Private Operator
To transform the PREPA-owned legacy thermal generation operations, the P3A , in fulfilment of
public policy and as required in the Certified Fiscal Plan, is leading a competitive process to
identify, qualify, and select one or more private operators to operate PREPA’s legacy thermal
generation assets and eventually decommission such assets, pursuant to an OMA similar in
structure to the LUMA T&D OMA that will provide for independent oversight of the private
operator by PREBA and P3A. The competitive process follows a similar phased approach as the
T&D transaction, including but not limited to the following:

     •    Phase I: Transaction preparation (COMPLETED)
     •    Phase II: Request for quote (RFQ) (COMPLETED)
     •    Phase III: Request for proposal (RFP) (COMPLETED)
             o Preparation and release of RFP documentation to shortlisted participants
             o Detailed due diligence by participants
             o Release and negotiation of transaction documents
             o RFP proposal submissions by participants
     •    Phase IV: Selection of selected proponent by P3A Partnership Committee (IN PROGRESS)
     •    Phase V: Closing

3.2.2.4.2. Modernizing the Legacy Generation Fleet – New Generation Capacity
Future new generation capacity will have to meet modern operational, efficiency, environmental,
and renewable public policy requirements. To this end, PREB issued a Final Resolution and Order
on PREPA’s IRP in August 2020. This Final Resolution and Order led to PREPA’s development
of a detailed Procurement Plan (with PREB’s guidance and approval) for renewable resources and
battery energy storage to achieve compliance with the renewable portfolio standard (RPS) as
articulated in Act 82-2010, the Puerto Rico Energy Diversification Policy through Sustainable and
Alternative Renewable Energy Act. In addition to the Procurement Plan, all agreements to supply
new generation capacity must be transparently negotiated with an eye towards maximum
flexibility and efficiency to improve the Island’s generation capacity, in a process that is free of
political interference and focus on particular constituencies, but rather focused on what is
necessary to improve the Island’s generation capacity.
Additionally, after months of delays, in February 2021, PREPA issued the first tranche (Tranche
1) of a series of RFPs for provision of renewable energy in support of Act 17’s RPS goals, and for
battery energy storage in support of capacity requirements needed to meet PREPA’s peak load
requirements and in support of integration requirements for renewable energy generation. The
guidance for renewable energy and energy storage RFP tranches, as well as the projected
installation timeline, is contained in Error! Reference source not found.58 and Exhibit 21.




58 The quantities outlined in the RFP tranches may be adjusted to accommodate for installations of distributed generation (DG) that
    contribute to meeting overall quantities and for other resources that PREPA may identify.
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On February 2, 2022, PREB approved 18 of the solar PPOAs recommended by the Evaluation
Committee for Tranche 1.
As it relates to additional tranches of renewable energy RFP’s, PREB, not PREPA, sets the timeline
for issuance of these tranches and will hold the primary responsibility of executing on the
procurement process for the new renewable generation capacity. PREPA submitted a complete
set of Tranche 2 RFP documents to PREB on October 29, 2021, per PREB order. PREB issued a
resolution and order on January 27, 2022, establishing an independent coordinator to manage all
future renewable energy procurements and described the coordinator’s corresponding role and
responsibilities. As of May 6 ,2022, PREB had not issued any resolution and order establishing
PREPA and LUMA’s respective roles in any future tranche.

EXHIBIT 21: PROJECTED INSTALLATION TIMELINE OF THE RENEWABLE GENERATION
CAPACITY ORDERED BY PREB




In all, with the addition of the remaining five (5) RFP tranches,59 Puerto Rico can anticipate the
procurement of 3.75 GW of renewable energy and 1.5 GW of battery storage. This procurement is
intended to set Puerto Rico on a path to reach its target of 100% renewable energy by 2050.
However, Puerto Rico’s actual ability to reach Act 17’s RPS targets will depend on the pace at
which renewable resources are procured, the timeline for permitting and building those resources,
the availability of reasonable financing alternatives, the reasonability of proposed pricing terms,
and the progress made in upgrading the T&D system in order to enable to safe and reliable
integration of renewable resources. The future generation mix forecasted by PREPA is expected
to reach the RPS goal of 100% renewable generation (i.e., total renewable generation as a
proportion of total sales) by FY2050 (Exhibit 23). However, as previously mentioned, the system
is currently not on pace to achieve the renewable energy additions necessary to support RPS-
compliance and, consequently, is behind schedule in the expected retirement date of existing
generation resources. LUMA and PREB must, as soon as practicable, initiative a new IRP process
with the aim of developing an up-to-date Action Plan that considers current macroeconomic and



59 The RFPs are open to all forms of renewable energy, including solar photovoltaic, wind, energy storage, hydro, virtual power plants
    (VPPs), or any combination of those technologies
                                                                 63
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industry trends as well as conditions that may constraint compliance with the current Modified
Action Plan and provides an updated outlook into the evolution of the Island’s energy sector.


EXHIBIT 22: IRP PREB MODIFIED ACTION PLAN




EXHIBIT 23: PROJECTED GENERATION MIX

  (Generation TWh)         Coal (AES)                       Heavy Fuel Oil
   20                      Diesel                           Natural Gas                 100%
                           Utility Scale Renewables         Renewable DG
   18                      Natural Gas (CHP)                RPS Compliance              90%

   16                                                                                   80%

   14                                                                                   70%

   12                                                                                   60%

   10                                                                                   50%

    8                                                                                   40%

    6                                                                                   30%

    4                                                                                   20%

    2                                                                                   10%

    -                                                                                   0%




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    Implementation of Puerto Rico’s Energy Sector
Transformation
To achieve this Certified Fiscal Plan’s savings projections, several reforms to the energy sector
must be implemented immediately or otherwise continued. Several of the measures
recommended in earlier Certified Fiscal Plans have been completed and are listed in Exhibit 24.
Exhibit 25, in turn, describes additional mandatory reforms necessary to ensure the
transformation of the electricity sector and compliance with PREPA’s and the Commonwealth’s
Certified Fiscal Plans, and to meet this Certified Fiscal Plan’s growth and revenue targets.

EXHIBIT 24: COMPLETED MILESTONES FOR POWER SECTOR REFORM




EXHIBIT 25: PENDING MILESTONES FOR POWER SECTOR REFORM




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Chapter 4. Risks and System Resilience
The electric power system in Puerto Rico has endured significant infrastructure damage in recent
years due to severe hurricanes and earthquakes. In the future, the frequency and intensity of
atmospheric events is anticipated to increase further as climate change accelerates.60 These
natural risks for Puerto Rico’s energy infrastructure have been exacerbated by historic
underspending on CapEx, maintenance and vegetation management which compounds the
damage and impact from natural disasters while simultaneously making the system vulnerable to
commonplace disturbances. To mitigate such risks and to achieve a safe, modern, sustainable,
and reliable energy system, resilience measures for both the Transmission and Distribution (T&D)
System and generation assets must be prioritized.
To this end, PREPA and LUMA, have developed capital plans to repair, remediate, and modernize
the existing system and improve its resiliency against extreme events. Among other funding
sources, the capital plans rely on the $9.6 billion, net of cost share, in funds allocated by FEMA to
PREPA to modernize and harden the power system against natural disasters.61 For the T&D
System, LUMA has proposed a budget of nearly $2.6 billion from FY2023 through FY2025 for
infrastructure repair, modernization, and hardening projects. Further information on capital
plans can be found in Chapter 6 (Capital Plans and Federal Funding) and Chapter 7 (LUMA
Improvement Portfolios) for PREPA and LUMA, respectively. Further information on Federal
Funding sources and uses also can be found in Chapter 6.
The following sections address in summary the risks posed to Puerto Rico’s electricity system
resulting from: (1) climate risk; (2) earthquakes; and (3) economic shocks (e.g., COVID-19).
Historical responses and preparedness are also discussed and potential actions to mitigate these
risks are considered as well.

          Climate Risk
Puerto Rico is at high risk for the wide-ranging effects of climate change. Hurricanes, wildfires,
heat stress, and coastal flooding are all risks to Puerto Rico and its electricity system. Climate
projections show that Puerto Rico could experience significant climate events in the next 30 years,
including: (1) decrease in frequency, but greater intensity, of extreme precipitation events; and
(2) a potential rise in sea level of one to two feet, which could lead to risks from coastal flooding
and inundation, particularly in the populated areas on the northeastern part of the island (i.e.,
San Juan).62,63 Historically, mean wind speeds have remained relatively stable when comparing
observational data from 1979-1999 to 2000-2019 while maximum wind speeds have increased in
both intensity and frequency over the past several decades.64 If these trends continue, Puerto Rico
could see additional extreme wind events in the future.


60   U.S. National Oceanic & Atmospheric Administration National Centers for Environmental Information & Cooperative Institute for
     Climate & Satellites-North Carolina. Intermediate sea-level rise scenario.
61   $10.7 billion figure includes cost-share and insurance payouts.
62   U.S. National Aeronautics and Space Administration Earth Exchange (NEX) down-scaled climate model data, historical for
     1976-2005 and future Representative Concentration Pathways (RCP) 4.5 scenario for 2021-2050.
63   U.S. National Oceanic & Atmospheric Administration National Centers for Environmental Information & Cooperative Institute for
     Climate & Satellites-North Carolina. Intermediate sea-level rise scenario.
64   European Centre for Medium-Range Weather Forecasts, ERA5 Historical Reanalysis Data (1979-2019).
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In September 2017, Hurricanes Irma and Maria affected PREPA’s already vulnerable grid, causing
an island-wide blackout. The transmission and distribution network suffered the most damage.
In the future, devastating severe weather events like hurricane Maria are likely to occur more
frequently, with similar scale events of precipitation now nearly five times more likely to form
than during the 1950s; this increase is due largely to the long-term effects of climate change.65
The operational impact of climate-related events is sizable. In the wake of hurricanes Irma and
Maria, over 2,700 transmission poles were damaged, and 92% of inspected substations were
affected, with 41% of substations suffering major damage.66 The distribution system was not
adequately maintained and upgraded to be able to withstand hurricanes rated Category 4 or
higher and, as a result, 75% of circuits were damaged while certain generating units also suffered
significant damage.67 The cost of responding to climate-related events is substantial. In the
aftermath of the 2017 hurricanes, Puerto Rico received $3.2 billion in emergency federal funding
for assistance with electrical restoration on the island.68
Although it is difficult to estimate and quantify the size of climate change’s risk on Puerto Rico’s
electricity system infrastructure and operations, the increased intensity of individual wind and
rain events are projected to result in higher costs of repair and reduced demand due to outages
on a per-event basis (Exhibit 26). Additional work remains to improve operational practices—
including routine preventative maintenance (T&D and generation)—and strengthen the
infrastructure to prevent future adverse weather events from causing a similar or even greater
scale of damage.

EXHIBIT 26: IMPACT OF CLIMATE EFFECTS ON PREPA




65   Keellings, D., & Hernández Ayala, J. J. (2019). Extreme rainfall associated with Hurricane Maria over Puerto Rico and its
     connections to climate variability and change. Geophysical Research Letters.
66   PREPA Central Office for Recovery, Reconstruction and Resiliency, Energy System Modernization Plan, 3, 6.
67   Puerto Rico Energy Resiliency Working Group, Build Back Better, A-3, A-6, A-7, 21.
68   “2017 Hurricane Season: Federal Support for Electricity Grid Restoration in the U.S. Virgin Islands and Puerto Rico.” United
     States Governmental Accountability Office. April 2019.
                                                                 67
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LUMA and the GenCo operator(s), are key to properly and sustainably addressing the challenges
posed by climate change and accelerate access to and deployment of federal funds.69 PREPA’s
capital plan for generation assets as well as LUMA’s set of improvement programs for the T&D
System outline the portfolio of projects that will most efficiently and effectively improve system
resilience and strengthen the energy system against future extreme weather events, which are
expected to increase in frequency and magnitude. LUMA has already identified and proposed
numerous initiatives that will bolster the electric power system to withstand extreme weather
events, including flood mitigation measures for critical grid assets such as control buildings and
substations as well as transmission and distribution support structure replacement and
hardening. For example, LUMA’s Transmission Line Rebuild program will ensure all
transmission towers meet the 150-mph wind resistance standard as required in Act 17-2019. As
currently envisioned, federally funded capital will be utilized to fund much of this work. LUMA
has also proposed the establishment of an integrated and proactive vegetation management
program for long-term, sustainable vegetation control and restoration of T&D System right of
ways.70
LUMA’s ongoing vegetation management activities, in accordance with LUMA’s Vegetation
Management Plan (VMP) include work to abate or mitigate immediate vegetation risk in the most
critical locations, along with an ongoing program to clear and re-establish Rights-of-Way (ROWs)
to standard widths. This includes immediate response for the highest risk sites, those that pose
hazards to public safety or routinely experience tree-caused service interruptions and reclaiming
ROW corridors (especially those impacting the T&D System). In addition, LUMA has completed
an initial vegetation clearing, first herbicide treatment, and second herbicide treatment at all
substation sites.

          Earthquakes
The U.S. Geological Survey forecasts the yearly chance of a magnitude 5+ earthquake in Puerto
Rico is currently at over 99%, and it will remain at above 50% for the next three to ten years. 71
Earthquakes have caused serious damage to utility infrastructure, as well as damage to
transmission lines because of falling trees. This risk must be properly managed and considered in
future improvement plans.
On January 7, 2020, a 6.4 magnitude earthquake struck the southwestern coast of the Island,
causing significant damage to the Costa Sur Power Plant and less severe, but notable, damage to
EcoEléctrica. In the immediate aftermath of the earthquakes, about two-thirds of the island’s
population was left without power for several days. The loss of these two natural gas power plants
increased the system’s reliance on more costly oil-fired power plants. In the near term, PREPA’s
diesel peaking plants were dispatched to balance the load. As a result of the January 7 earthquake,
the share of total monthly generation from natural gas declined by about 70%, from December
2019 to January 2020, while the share of generation from diesel fuel oil increased by almost




69   See additional detail on the transformation of Puerto Rico’s power sector in Chapter 3.
70    Further information on capital plans can be found in Chapter 6 (Capital Plans and Federal Funding) and Chapter 7 (LUMA
     Improvement Portfolios) for PREPA and LUMA, respectively.
71   van der Elst, N.J., Hardebeck, J.L., and Michael, A.J. “Potential duration of aftershocks of the 2020 southwestern Puerto Rico
     earthquake”. U.S. Geological Survey Open-File Report 2020–1009. https://doi. org/10.3133/ofr20201009.
                                                                 68
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twofold (Exhibit 27). PREPA was able to return Costa Sur Unit 5 to service by August 2020 and
Unit 6 by January 2021, respectively, with a total estimated repair cost of $39 million.

EXHIBIT 27: FUEL MIX DURING FISCAL AND CALENDAR YEAR 2021




The geography of Puerto Rico is susceptible to ongoing and future seismic events, and therefore
earthquake resilience measures to strengthen system infrastructure are essential in protecting
against service disruptions. For future mitigation, critical generation resources must be
diversified and distributed to ensure damage to a few power generation facilities does not cause
long-term power shortages as well as hardening and reinforcing of existing facilities. For the T&D
System, investments in critical infrastructure modernization must include hardening projects that
strengthen the system against future earthquakes, specifically system control centers and other
critical support buildings, transmission towers, distribution facilities, and substations. For
generation assets, diversifying the available capacity through the development and integration of
renewable energy and storage facilities will mitigate the risk associated with losing specific
generation sites. Any new facilities must be designed and built to strict, earthquake-compliant
codes to mitigate risk from future earthquakes.72 PREPA and LUMA will continue assessing
infrastructure risks and targeting structural enhancements to limit damage from earthquakes as
part of future capital planning and project execution.73


          Economic Shocks (e.g., COVID-19)
The economic impact of COVID-19 response measures has had a ripple effect on the power sector.
On March 15, 2020, Puerto Rico enacted social distancing measures under Executive Order 2020-
023 to manage the spread of the COVID-19 virus. After the curfew was implemented, generation


72   Preston, Benjamin L., et al. “Resilience of the U.S. Electricity System: A Multi-Hazard Perspective.” Prepared for the U.S.
     Department of Energy’s Office of Energy Policy and Systems Analysis. August 18, 2016.
73    Further information on capital plans can be found in Chapter 6 (Capital Plans and Federal Funding) and Chapter 7 (LUMA
     Improvement Portfolios) for PREPA and LUMA, respectively.
                                                              69
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levels declined, alongside customer sales. In the four weeks immediately following the
announcement of the curfew, total daily generation declined between 8 to 12% compared to the
prior year’s figures.74 After the initial four weeks, generation levels showed a gradual return to
levels consistent with FY 2019 averages.75 Exhibit 28 shows how daily load for March through
June varied from FY 2020 and FY 2021 due to the COVID-19 measures.

EXHIBIT 28: MARCH THROUGH JUNE DAILY LOAD COMPARISON FROM FY 2019 TO FY 2020
(WH)




Following the curfew announcement, PREPA initially experienced a steep drop in collections. At
its worst point, average daily rate collections fell to less than half of forecasted planned collections
and threatened PREPA’s cash position. However, by June 2020, PREPA’s monthly cash balance
had returned to pre-COVID levels. PREPA’s successful weathering of this potential liquidity crisis
was a result of liquidity and cash flow management processes implemented since 2017, as well a
strategic collection effort. On March 16, 2020, as the initial curfew was announced PREPA held
$416 million in its operating account – from March 2019 through February 2020, PREPA
maintained an average operating cash balance of $350 million despite the disruption and
damages caused by the January 2020 earthquakes.
After two years of experience since the government enacted curtailment restrictions addressing
COVID-19, PREPA continues to closely monitor cash balances, collections, customer
consumption, and accounts payable to maintain a sustainable level of liquidity for ongoing
operations. Since June 1, 2021, LUMA has been in charge of Customer Experience (including
collections) and must ensure adequate collection effort and results in close coordination with
PREPA to hold sufficient liquidity. Management and advisors continue to analyze potential
forecast scenarios to understand the various impacts of changes in collections, fuel costs, and
other major expenses. LUMA must also continue to work with other government agencies and

74   Starting with Sunday March 15, 2020, ending with Saturday April 11, 2020. This figure compares net generation for the same
     day and week with the prior year, starting with the first full week in January. For example, Sunday, January 5, 2020, was
     compared with Sunday, January 6, 2019, and Monday, March 16, 2020, compared with Monday, March 18, 2020.
75   Average system load was within 1% of FY 2019 for the same four-week period, and slightly more than 1% higher than peak for
     the same period.
                                                               70
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large customers to accelerate receivables, engaging PREPA’s support as necessary to collaborate
in this important effort.
The Commonwealth of Puerto Rico has progressed significantly since the World Health
Organization first declared COVID-19 a global pandemic on March 11, 2020, driven in large part
by the administration of 6.9 million cumulative vaccine doses (~80% of population fully
vaccinated). While the commonwealth was at higher risk of COVID-19 due to factors such as an
older population and higher levels of poverty, COVID-19 deaths suffered in the territory of 1,291
per million inhabitants were less severe as compared to the 2,897 per million inhabitants in the
United States, overall.76 On March 2, 2020, 186 new COVID-19 cases were recorded, down from
a peak of 6,617 new cases on January 8, 2022.77

EXHIBIT 29: COVID-19 CASES FROM MARCH 2020 TO MARCH 2022




The Puerto Rico power grid and its operators must be prepared for additional future economic
shocks and recessions that may be triggered by causes other than a global pandemic, such as
banking crises, trade and fuel disruptions, and political crises, among others. To mitigate future
disruptions under curfew or adverse economic conditions on the utility sector, operational
measures to increase remote control of the grid (e.g., distribution automation technologies, smart
meter installation) must be considered in addition to pursuing measures to enhance system
reliability and resilience. During an economic shock, declining collections would lead to a lower
cash balance, elevating the need for effective liquidity management in the short term. In the longer
term, fiscal measures, such as restructuring legacy debt obligations, will help insulate, or
minimize the risk to, the Puerto Rico utility sector from future economic shocks.




76 Johns Hopkins Coronavirus Resource Center. https://coronavirus.jhu.edu/region/us/puerto-rico
77 The New York Times Daily Coronavirus Dashboard. https://www.nytimes.com/interactive/2021/us/puerto-rico-covid-cases.html
                                                            71
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Chapter 5. Resource Planning and Resiliency
Act 57-2014 and Act 17-2019 require LUMA, on behalf of PREPA, prepare and submit to PREB an
IRP for a 20-year planning period, which shall be revised every three years. Act 17-2019 defines
the IRP as a resource plan that shall consider all reasonable resources, including both energy
supply (e.g. utility-scale generation) and energy demand (e.g. energy efficiency, demand response,
and distributed generation), to reliably satisfy the current and projected future needs of Puerto
Rico’s energy system and its customers at the lowest reasonable cost.78 Act 57-2014 also mandates
that the IRP include evaluations of the Transmission and Distribution System (e.g. capacity and
reliability) and the environmental impact of the energy system.79
PREB approved the current IRP on August 2020, requiring PREPA, LUMA and any future
generation operator to follow a Modified Action Plan and Modified Preferred Resource Plan until
an updated IRP is approved, with the following grid and generation modifications to form the
three core elements of the Approved IRP:
1. Increasing share of renewable generation and storage – including the additions of
   new renewable energy generation, energy storage, retiring or converting all existing coal and
   heavy fuel oil generation, and system modifications (e.g., synchronous condensers) to enable
   integration of inverter-based generation;
2. Enhancing grid resilience – including capital investment in the Transmission and
   Distribution System to support greater resilience and reliability and further optimization
   proceedings to determine optimal T&D System investments to improve resiliency; and
3. Enabling customer choice – including changes to the system to support the incorporation
   of DG (e.g., rooftop solar photovoltaic) and recommended EE and DR programs, allowing the
   customer to play a meaningful role in Puerto Rico’s electricity grid.
As of June 1, 2021, LUMA is responsible for the T&D System’s operations and is responsible for
implementing several aspects of the approved IRP. PREB has issued an order taking over direct
responsibility for managing the procurement of new renewable energy resources, commencing
with the Tranche 2 RFP process through an independent coordinator, Acción Group, LLC (Acción
Group).80
LUMA also acts as PREPA’s representative before PREB and any other local, state, or federal
government agencies, and therefore is responsible for preparing and proposing a new IRP for
review and approval by PREB. Given the current state of geopolitics, the supply chain shocks from
the Covid-19 pandemic, the Russian invasion of Ukraine, the energy markets and the increased
demand for renewable energy sources, LUMA and PREB must consider reviewing and updating
the existing IRP as soon as possible, ahead of the currently established schedule.




78   Act 17-2019, Puerto Rico Energy Public Policy Act, approved April 11, 2019, Section 5.2(ll).
79   Act 57-2014, Puerto Rico Energy Transformation and RELIEF Act, approved May 27, 2014, Section 6C(h).
80   See PREB October 29, 2021 Resolution and Order (Case No. NEPR-MI-2020-0012).
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          Overview of the Approved IRP
       History of PREB Review and Approval of the IRP
PREPA filed its first IRP in 2015, which was approved by PREB in September 2016. 81 As a result
of Hurricanes Irma and Maria in 2017, Puerto Rico not only faced the unprecedented challenge
of rebuilding the electric power system, but also had to rethink how to harden and modernize the
grid to better equip Puerto Rico against future natural catastrophes, while diversifying fuel
sources and increasing the grid’s reliance on renewable energy resources.
On February 13, 2019, PREPA filed its initial proposed IRP for PREB’s approval (Initial IRP).
After reviewing the Initial IRP, PREB issued a motion with findings and requested PREPA to refile
the Initial IRP after addressing certain items.82 On June 7, 2019, PREPA refiled its proposed IRP
after making revisions required by PREB (Proposed IRP). PREB issued its Final Resolution and
Order on PREPA’s Proposed IRP on August 24, 2020.

        PREB Modified Action Plan and Modified Preferred Resource Plan
PREB’s Final Resolution and Order (Final Order) approved in part and rejected in part the
Proposed IRP and ordered the adoption and implementation of a Modified Action Plan and
Modified Preferred Resource Plan in lieu of PREPA’s proposed Action Plan and Preferred
Resource Plan (Approved IRP).83 The following three notable modifications to the grid were
approved by PREB, which form the core elements of the Modified Action Plan and Modified
Preferred Resource Plan for PREPA:
1. Increasing share of renewable generation and storage while retiring or converting existing coal
   and heavy fuel oil generation;
2. Enhancing grid resilience through hardening capital projects, including potential minigrids
   and microgrids; and
3. Enabling customer choice through DG, EE, and DR programs.
Act 17-2019 outlines Puerto Rico’s aspiration to generate 100% of its electricity from renewable
sources by FY2050. Unfortunately, the timelines for the procurement and deployment of
renewable resources originally established in the IRP are unlikely to be achieved given the
procurement processes mandated by PREB have fallen significantly behind schedule (three out of
six tranches, covering at least 2,000MW of renewable capacity and 1,000 MW of storage capacity,
are already delayed by up to 18 months) and the projects selected as a result of Tranche 1 have yet
to be finalized and executed. Additionally, cost for the deployment of renewables have increased
significantly, and current market-based renewable energy prices are already higher than those
projected in the IRP. As a result, the base case projections in this Certified Fiscal Plan for the




81   Final Resolution and Order, In Re: Integrated Resource Plan for the Puerto Rico Electric Power Authority, Case No. CEPR-AP-
     2015-0002, September 23, 2016.
82   Resolution and Order, In Re: Completeness of Puerto Rico Electric Power Authority Integrated Resource Plan Filing, Confidential
     Treatment of Portions of the Integrated Resource Plan and Requested Waivers, Case No. CEPR-AP-2018-0001, March 14, 2019.
83   Final Resolution and Order, In Re: Review of the Puerto Rico Electric Power Authority Integrated Resource Plan, Case No.
     CEPR-AP-2018-0001, August 24, 2020.
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share of renewables in FY2025, FY2040, and FY2050 only reach 13%, 53%, and 70%, respectively,
compared to targets of 40%, 60%, and 100%.
Act 17-2019 also requires the phase-out of coal-fired power plants by December 31, 2027. As a
result, the current coal-burning units at Guayama are scheduled to retire in FY2028, which will
significantly reduce base-load generation capacity in Puerto Rico. While the existing coal-fired
generation capacity is expected to be replaced with an equivalent proportion of renewable
resources, given the delays outlined before, it is unclear if such renewable resources will be
available when needed. Should there be no available new renewable resources, and absent a
thorough plan to identify the necessary, environmentally compliant and cost-effective resources
to ensure a continued provision of reliable generation, there is a significant risk that older, less
efficient, more expensive and more polluting, oil-fired generation units would need to be
deployed.
Uncertainties over the ability to achieve certain targets and the projections for key load drivers
create significant risks that Puerto Rico’s energy system may find itself without the necessary
generation resources to meet a potentially higher and more variable demand than projected, e.g.,
because of load increases that require outdated units to run longer, adding to failure and outage
risks. Some of uncertainties that, unless appropriately addressed, represent risks to the medium-
and long-term reliability of the system include:

    •   Energy Efficiency: Act 17-2019 outlines the target to reach a 30% reduction of net load
        below the 2019 baseline by 2040 through energy efficiency measures. To date, there is
        however no implementation or financing plan in place that would be typical for energy
        efficiency programs with targets of this scale, and it is unclear how energy efficiency
        measure will be implemented or how much impact on load such measures will have.

    •   Distributed Generation: The current Certified Fiscal Plan has a general growth factor
        projection for customer adoption of distributed generation solutions but lacks a bottom-
        up, granular modeling that incorporates assumptions on the future costs and benefits to
        ratepayers that incentivize adoption. As such, the actual pace at which DG technologies
        are adopted in Puerto Rico may vary from those currently assumed by PREB and LUMA.

    •   Electric Vehicles: The EV uptake projections included in the current Certified Fiscal
        Plan are based on historical averages and make broad, top-down assumptions about the
        adoption of electric vehicles resulting in very high EV penetration as compared to
        projections in other locations. A overestimated long-term EV growth rate may cause
        LUMA and PREB to overestimate generation needs beyond those actually necessary,
        potentially incurring in costs in excess of those needed to serve Puerto Rico’s energy
        needs.
To mitigate the risk of pursuing an energy policy that is not backed by actionable implementation
plans and creates uncertainty for critical infrastructure planning, PREB and LUMA must
accelerate the review and update of the IRP. Developed during 2019, and finally approved in
August 2020, the process for the ordinary 3-year review and update should be already ongoing.
More importantly, regardless of the 3-year update cycle, macroeconomic events since then, as well
as the actual implementation progress, require an urgent, thorough and near-term review of the
IRP. As such, PREPA and LUMA should aim to commence a new IRP review process during the
first quarter of FY2023.
                                                74
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Increasing Share of Renewable Generation and Storage
In the Final Order, PREB ordered PREPA to develop a plan to procure 3,750 MW of renewable
energy and 1,500 MW of battery storage by 2025. In addition, PREB approved the installation of
up to 81 MW of local peaking capacity procured through a technology-agnostic, competitive bid
RFP process that is open to all single or aggregate sources of demand and supply-side options.
PREB also approved the conversion of eight (8) retired steam plants to synchronous condensers
to enable voltage stability following the installation of inverter-based renewable generation and
battery storage. The Final Order clarified that the conversion plan will be subject to additional
studies and coordinated with retirement schedules, with funding for said works yet to be
determined.
PREB rejected the development and construction of most proposed new fossil fuel generation
resources, including the retirement and wholesale replacement of all eighteen (18) existing gas
turbine peaking units, any new liquified natural gas infrastructure, and large-scale development
efforts on a new combined cycle gas turbine unit at Palo Seco. PREB did authorize up to $5 million
for preliminary economic, siting, permitting, and feasibility analysis at the Palo Seco site for a new
fossil fuel-powered unit and fuel infrastructure, so long as it does not interfere with or delay the
procurement of renewable energy or battery storage. Regarding fossil fuel-powered power PPOAs
PREB approved both the extension of the EcoEléctrica contract through 2032 and the cessation
of the agreement for coal-fired AES units by the end of 2027, pursuant to Act 17-2019.
Finally, PREB approved the retirement of approximately 2.4 GW of existing fossil fuel units 84
subject to the EPA’s MATS rule.
Enhancing Grid Resilience
The Final Order found that the Proposed IRP adequately established the need for (1) transmission
system upgrades; (2) the expenditure of up to $2 billion for hardening of transmission
infrastructure; and (3) the investment of $911 million in distribution system upgrades to enhance
resiliency and support distributed generation. However, PREB ordered PREPA to seek PREB
approval for specific T&D expenditures prior to making any final planning or investments. PREB
also announced the opening of an optimization proceeding that will determine the optimal
transmission investments for ensuring a more resilient electric power system, including assessing
the ability for small-scale distributed resources—such as minigrids—to contribute to resiliency.
Enabling Customer Choice
The approved IRP’s Modified Action Plan enables further customer choice through various
programs, including DG, EE, and DR. PREB ordered PREPA to further enable DG by ensuring all
distribution system planning and expenditures support DG. Regarding DR, the Modified Action
Plan requires PREPA to develop internal systems and external programs and offerings available
to all customer classes to engage aggregators of DR resources to offer, dispatch, and be
compensated for cost-effective DR resources. For EE, PREB ordered PREPA to take all necessary
steps to support PREB’s forthcoming EE Regulation and underlying objective of 30% EE savings




84   Units to be retired are Aguirre 1 & 2, Costa Sur 3, 4, 5, & 6, Palo Seco 1, 2, 3, & 4, San Juan 7, 8, 9, & 10, and AES’s coal
     generation facility.
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by 2040 (compared to FY 2019 net utility sales) as mandated in Act 17-2019, including providing
support for program implementation, analysis, funding, and financing.


          IRP Modified Action Plan Implementation
PREPA and LUMA are required to comply with and implement the IRP Modified Action Plan.
LUMA is now responsible for developing subsequent IRPs and amendments to it.

        Renewable Generation and Storage
Under the Modified Action Plan, PREPA was required to develop a detailed procurement plan for
the acquisition of renewable resources and battery energy storage to achieve compliance with the
RPS subject to the Energy Bureau’s guidance and approval. Then, consistent with the PREB-
approved procurement plan, PREPA was required to issue a series of RFPs for the provision of (a)
renewable energy in support of Act 82’s RPS mandate, and (b) battery energy storage in support
of (1) capacity needed to meet PREPA’s peak load requirements and (2) requirements for
integration of renewable energy generation. These competitive procurements must be open to all
forms of renewable energy including, but not limited to, wind, hydro, solar photovoltaic, Virtual
Power Plants (VPPs), and storage. Successful proponents of renewable generation and energy
storage projects will enter long-term PPOAs, energy storage services agreements, or grid services
agreements (in the case of VPPs) with PREPA.
On February 22, 2021, as part of its efforts to implement the Modified Action Plan, PREPA issued
an RFP85 for 1,000 megawatts of renewable power production and 500 MWs of battery storage,
incorporating recommendations from PREB and the Oversight Board. The RFP solicited
proposals for the design, construction, installation, ownership, operation, and maintenance of
renewable energy resources, energy storage resources, and VPPs for sites across Puerto Rico and
for a service period of up to 25 years. The RFP is the first of six (6) planned RFP tranches to be
released over the next three (3) years seeking a cumulative 3,750 MWs of renewable energy
resources and 1,500 MWs of energy storage resources.86 The cadence of each tranche RFP and
the respective minimum required renewable energy and battery storage capacity to be procured
per tranche, as ordered by PREB in the Modified Action Plan, is included in Exhibit 30. PREB is
responsible for reviewing and approving any recommended projects and associated PPOA’s
resulting from the RFP process if deemed to be consistent with the IRP and Puerto Rico energy
public policy.
Given the delays that occurred during the Tranche 1 RFP process, PREB determined it would
appoint an independent coordinator, Acción Group to conduct the Tranche 2 and 3 RFPs. Acción
Group’s roles will include, without limitations: (a) prepare RFP documents; (b) manage all
communications; (c) manage communications protocols; (d) manage code of conduct; (e) make
recommendations regarding the RFP process; (f) develop evaluation methodology, models,
criteria, and assumptions; (g) conduct evaluations of proposals; (h) lead contract negotiations; (i)
report to PREB during process; and (j) assure that the goals of Tranches 2 and 3 RFPs and related
Updated Procurement Plan provisions are achieved.



85   PREPA RFP No. 112648, February 22, 2021.
86   More information on the status of the RFP process can be found in Chapter 3.
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EXHIBIT 30: PREB GUIDANCE FOR PROCUREMENT OF RENEWABLE ENERGY GENERATION AND
BATTERY STORAGE CAPACITY
 PREB guidance for procurement of renewable generation and battery storage capacity
                                           Solar PV or equivalent          4-hr battery storage
                                              other energy, MW               equivalent, MW
            RFP target Actual or new
 Tranche                                   Minimum      Cumulative       Minimum       Cumulative
           release date release date
    1       Dec 2020       Feb 2021         1,000         1,000             500            500
    2        Jun 2021        TBD             500          1,500             250            750
    3       Dec 2021         TBD             500          2,000             250           1,000
    4        Jun 2022        TBD             500          2,500             250           1,250
    5       Dec 2022         TBD             500          3,000             125           1,375
    6        Jun 2023        TBD             750          3,750             125           1,500


        Grid Resiliency Measures
As the T&D System operator, LUMA is responsible for planning and implementing grid resiliency
measures. As part of the Front-End Transition, LUMA developed capital plans, to be funded with
federal- and non-federal capital, to repair, reconstruct, and modernize the existing T&D system
and improve resiliency against extreme events. In its proposed Annual Budgets, filed on April 1,
2022, LUMA budgeted approximately $2.6 billion from FY2023 through FY2025 for T&D
infrastructure repair, modernization, and hardening projects. Further information on capital
plans can be found in Chapter 6 (Capital Plans and Federal Funding) and Chapter 7 (LUMA
Improvement Portfolios) for PREPA and LUMA, respectively. Further information on sources and
uses of federal funding can be found in Chapter 6 (Capital Plans and Federal Funding).

        Enabling Customer Choice
PREB’s Modified Action Plan calls for further customer choice through various programs,
including DG, EE, and DR. Since Commencement on June 1, 2021, LUMA has made significant
advancements with respect to DG, EE, and DR. Further, LUMA has supported PREB’s new
initiative on Electric Vehicles which was launched in October 2021.
LUMA is responsible for the integration of DG and the activation of net energy metering on
customers’ bills. When a customer installs behind the meter generation, they can apply for a net
energy metering credit on their bill. This allows customers to give electricity back to the grid in
exchange for a credit on their bill. Pursuant to Act 17-2019 the credit is equal to the full retail rate
of electricity. At Commencement, there was a backlog of over 8,000 net energy metering
applications. Since June 1, 2021, LUMA has activated net energy metering service for over 21,000
solar customers representing ~100 MW of renewable energy.
Act 57-2014 requires PREB to establish regulations governing EE and DR programs. PREB
adopted a regulation for DR87 on December 10, 2020, and EE88 on January 21, 2022. The adopted
DR and EE regulations utilize similar program approaches for development, administration,


87   Adoption of Regulation for Demand Response, In Re: Regulation for Energy Efficiency and Demand Response, Case No.
     NEPR-MI-2019-0015, December 10, 2020.
88   Adoption of Regulation for Energy Efficiency, In Re: Regulation for Energy Efficiency, Case No. NEP-MI-2021-0005, January
     21, 2022.
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implementation, and funding. Both documents require LUMA, or a program administrator (to be
selected by LUMA following a competitive bid process) to develop and implement DR and EE
programs. Implementation of the adopted and proposed regulations is centered on three-year
periods driven by three-year plans which will be developed by LUMA, on behalf of PREPA, and
approved by PREB. Each three-year plan will identify the proposed DR or EE programs, budgets,
and goals for a three-year period. LUMA is required to prepare and submit separate three-year
plans for DR and EE. Following the first and second years of implementation of each three-year
plan, LUMA will be required to submit an annual update to PREB for approval that describes in
detail any proposed changes to the program offerings, performance metrics, targets, and/or
budget.
All DR and EE programs must be assessed for cost-effectiveness through a custom cost-benefit
test called the “Puerto Rico Test” which will be developed by PREB. Until the Puerto Rico Test is
defined, a standard interim cost/benefit test—currently the standard Utility Cost Test—will be
used to determine cost-effectiveness of proposed programs. For both EE and DR, Evaluation,
Measurement, & Verification (EM&V) activities are required to be performed. Per the DR
regulation, PREB will be responsible for evaluating DR programs while LUMA will be responsible
for measuring and verifying the DR resources provided by all DR program providers through a
set of formal procedures approved by PREB. In the proposed EE regulation, PREB will be
responsible for EM&V activities.
The adopted DR and EE regulations permit the PREB-approved program budgets to be recovered
in customer rates. In addition, the DR regulation permits LUMA to develop and implement (with
PREB’s approval) time-varying rates and/or demand charges informed by the costs of distribution
or transmission infrastructure and energy supply and capacity, so long as the rate structure does
not discourage beneficial electrification.
A Resolution and Order89 filed by PREB on February 1, 2022 detailed the actions that follow from
the EE Regulation which are 1) to establish a schedule for the filing of the first Three-Year DR
Plan to coincide with the Transition Period Plan and the start of the energy efficiency programs;
2) to invite stakeholders to a workshop on February 28, 2022 regarding the process for developing
and implementing the Three-Year DR plan and its association with the Transition Period Plan;
and 3) to provide a template for the Transition Period Plan under section 2.02(C)(4) of the EE
Regulation. According to the EE Regulation, LUMA can combine the planning processes and
documents for EE and DR, and LUMA has stated a desire for such coordination. After amending
the deadline for the Transition Period Plan, PREB ordered LUMA to submit a proposed Transition
Period Plan on or before June 6, 2022. The deadline for the first Three-Year EE Plan is still March
1, 2024.

         Role of the IRP in Capital Plans
The Modified Action Plan and Modified Preferred Resource Plan within the IRP are key plans that
in turn inform strategic capital plans, operational initiatives, and supply- and demand-side
programs for the generation fleet and the T&D Systems. The generation portfolio’s 10-year



89   Notice of Revised Transition Period Plan Schedule, Workshop, and Plan Template, In Re: Demand Response Plan Review,
     Implementation, and Monitoring, Case No. NEPR-MI-2021-0006, February 1, 2022.
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Infrastructure Plan and the T&D System’s improvement programs & portfolios, including the
LUMA SRP90, are all required to comply with the Approved IRP.
PREPA’s 10-Year Infrastructure Plan is a work plan that was developed at the request of FEMA
and COR3, following FEMA’s obligation of $9.6 billion earmarked for PREPA to repair and/or
replace electrical systems, power generation systems, and to make other grid improvements. The
development of this 10-Year Infrastructure Plan by PREPA preceded the Interim Service
Commencement Date (June 1, 2021) when LUMA assumed the operation and maintenance
responsibilities of the T&D System. The 10-Year Infrastructure Plan outlined PREPA’s proposed
investments in Puerto Rico’s electric systems over the next decade. On December 30, 2020, PREB
required PREPA to submit the 10-Year Infrastructure Plan to PREB for its review to confirm the
alignment of the 10-Year Infrastructure Plan with the Approved IRP. By resolution and order91
dated January 25, 2021, PREB found that certain elements of the 10-Year Infrastructure Plan were
inconsistent with the Approved IRP and the Modified Action Plan. PREPA filed a revised plan
addressing PREB’s comments and requested PREB approval on February 16, 2021. On March 26,
2021, PREB issued a resolution and order92 accepting those elements of PREPA’s revised 10-Year
Infrastructure Plan that were consistent with the Approved IRP and Modified Action Plan. For
those elements that it found not aligned with the Approved IRP and Modified Action Plan, PREB
ordered PREPA to further modify the revised 10-Year Infrastructure Plan. PREB also ordered
PREPA to submit to the Bureau for evaluation and approval all capital investment projects PREPA
had submitted to FEMA or any other federal or local agency. Associated with the 10-Year
Infrastructure Plan, PREPA had submitted 88 Statements of Work for approval, all of which were
conditionally approved or classified as a deferred project, and 7 of which were provided final
approval by PREB.93
LUMA developed a comprehensive strategic planning framework, the Recovery and
Transformation Framework, which is based on the Government of Puerto Rico’s public policy and
Applicable Law for the electric system in Puerto Rico. The Recovery and Transformation
Framework used public policy and previously produced plans to set overarching guiding
principles to prioritize and sequence all LUMA’s improvement programs. The Recovery and
Transformation Framework was used to ensure:

     •    That LUMA’s priorities align with Puerto Rico’s broader public policy objectives and
          customer needs,
     •    That the programs included in the SRP were developed and prioritized consistently
          alongside non-SRP programs,
     •    A balance of investment in programs that directly contribute to Performance Metrics
          improvements and those that do not, and


90 The System Remediation Plan is a plan to remediate, repair, replace and stabilize such equipment, systems practices, and
   services, as may be needed to enable LUMA to perform its O&M Services in compliance with Contract Standards.
91 Resolution and Order, Determination on alignment with the Approved Integrated Resources Plan and Modified Action Plan, In
     Re: Review of the Puerto Rico Electric Power Authority’s 10-Year Infrastructure Plan – December 2020, Case No. NEPR-MI-
     2021-0002, January 25, 2021.
92   Resolution and Order, PREPA’s Revised 10-Year Plan Evaluation, In Re: Review of the Puerto Rico Electric Power Authority’s
     10-Year Infrastructure Plan – December 2020, Case No. NEPR-MI-2021-0002, March 26, 2021.
93   Resolution and Order, PREPA’s Revised 10-Year Plan Evaluation, In Re: Review of the Puerto Rico Electric Power Authority’s
     10-Year Infrastructure Plan – December 2020, Case No. NEPR-MI-2021-0002, February 28, 2022.

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     •    That LUMA’s Initial Budgets include all federally funded, non-federally funded capital and
          O&M expenditures across all programs and deliverables and remained within current
          2017 Rate Order limits to avoid increasing customer base rates.
Since the Service Commencement Date in June of 2021, LUMA has developed a set of
improvement portfolios for the T&D System to align with the Recovery and Transformation
Framework. These improvement programs are presented within LUMA’s Annual Budget and SRP
filings. In developing the goals and mission of the framework guiding these Portfolios, LUMA
referenced public policy, and various plans including the Approved IRP and Modified Action Plan
to ensure the improvement portfolios are aligned with some aspect of the Approved IRP and
Modified Action Plan.94 In addition, LUMA states that compliance with the Approved IRP was an
objective in designing individual improvement initiatives.95 LUMA’s Initial Budgets and SRP were
approved by PREB on May 31, 2021.96
Further information on the content of the improvement portfolios can be found in Chapter 7
(LUMA Improvement Portfolios). With LUMA’s onboarding, PREPA is now responsible only for
capital projects related to operations under its control (i.e. legacy generation, hydro and
irrigation).




94   See Section VI.A in Petition, Filing of System Remediation Plan under Section 4.1(d) of the Operation and Maintenance
     Agreement for Energy Bureau’s Evaluation and Approval, In Re: Review of the Puerto Rico Electric Power Authority’s System
     Remediation Plan, Case No. NEPR-MI-2020-0019, February 24, 2021.
95   See SRP, Section 1.4.2 as attached to Petition, Filing of System Remediation Plan under Section 4.1(d) of the Operation and
     Maintenance Agreement for Energy Bureau’s Evaluation and Approval, In Re: Review of the Puerto Rico Electric Power
     Authority’s System Remediation Plan, Case No. NEPR-MI-2020-0019, February 24, 2021.
96   Resolution and Order, In Re: Determination of LUMA’s Initial Budgets, Case No. NEPR-MI-2021-0004, May 31, 2021.
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Chapter 6. Capital Plans and Federal Funding
Over the coming years, significant federal funding resources are available for the rebuilding and
transformation of Puerto Rico’s energy generation and T&D Systems. Approximately $14 billion
of federal and state funds has been obligated to this effort. The inflow of obligated federal capital—
as well as the state funding commitment for cost-share amounts—is a significant opportunity to
modernize Puerto Rico’s energy infrastructure and position it as a crucial enabler of general
economic recovery.
LUMA, as T&D operator is now responsible for the deployment of funds to improve and
reconstruct the island’s T&D System. Capital projects for the generation facilities will remain
PREPA’s responsibility until transition to the new private operator(s) is complete. PREPA and
LUMA have developed capital plans and roadmaps that reflect their perspectives on critical needs
to recover and reconstruct the energy system.
LUMA’s improvement portfolios as outlined in LUMA’s Budgets define the capital plan for T&D
assets, facilities, and IT OT, telecommunications, and grid management systems, among others.
PREPA near-term generation projects include repair of damages incurred during the 2017
hurricanes, emission control improvements, spare parts replenishments, equipment
modernization, and system continuity investments.97 Near-term dams and hydro projects focus
on improving dam safety as well as repairing damage from sediment, storm debris, and erosion.
Finally, PREB must approve all federally funded projects and associated funding before
significant planning and execution can begin, irrespective of PREPA or LUMA responsibility.

          Capital Plans
         Overview of the PREPA 10-Year Infrastructure Plan, as amended
As part of its federal funding related work with FEMA and COR3, PREPA initially developed a 10-
year Infrastructure Plan. This plan, which was finalized in December 2020 and is updated every
90 days per FEMA guidelines, provides an overview of:
     ▪    PREPA’s infrastructure investment strategy,
     ▪    The context for the selection of projects included in the plan,
     ▪    A prioritized list of the proposed infrastructure projects,
     ▪    The expected benefits and projected costs associated with the prioritized projects,
     ▪    Key milestones, and the estimated time horizon for each project, and
          A brief overview of PREPA’s approach to manage execution of the program and the
          proposed portfolio of projects.
LUMA’s capital plans and programs are based on the Recovery and Transformation Framework
– which used public policy to set overarching guiding principles to prioritize and sequence
improvement programs together. Described further in Chapter 7 (LUMA Improvement
Portfolios), the Recovery and Transformation Framework, as approved by PREB as part of its


97   See Chapter 5 for further information on the ongoing regulatory process to ensure the Revised 10-Year Infrastructure Plan aligns
     with the IRP and Modified Action Plan.
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Initial Budget proceedings, is based on LUMA’s broad review of key reports, plans, laws, and
regulations to form a comprehensive picture of the policy and stakeholder landscape.
COR3 and FEMA have identified the 10-year Infrastructure Plan, as amended, as a “living
document” that requires update and resubmission every 90-days. Updates are expected as PREPA
and LUMA advance their preparatory plans and filings before the PREB. LUMA referenced the
initial T&D System priorities and projects in PREPA’s December 2020, 10-Year Infrastructure
Plan, to develop its improvement portfolios presented in the LUMA Initial Budgets and SRP,
which are currently under review by the Puerto Rico Energy Bureau (PREB).98
Like previous Certified Fiscal Plans and the 10-Year Infrastructure Plan, as amended, this
Certified Fiscal Plan references capital projects irrespective of funding source. This approach
provides a holistic view of the work to be performed on Puerto Rico’s energy system, work that
will be enabled by a variety of funding sources as discussed further in this chapter. It includes
federally- and non-federally funded capital, as well as funding allocated through the budgetary
and rate-making process to PREPA’s Necessary Maintenance Expense (NME) program.
6.1.1.1 PROJECT PRIORITIZATION CRITERIA
The prioritization of capital projects is based on energy public policy, specifically the IRP, and
inclusion of PREB’s guidance in response to the IRP approval process. Other overarching
prioritization criteria included safety, impact to the community, relative complexity of the work,
and regulatory requirements.
Given certain financial and other limitations, not all capital projects can be pursued at once.
Therefore, initial development and prioritization methodology was based on the considerations
most relevant to each investment focus area, with some common criteria for all capital projects,
that include:
    ▪    Current status of asset (i.e., out of service, damaged)
    ▪    Safety, environmental, and regulatory compliance needs
    ▪    System operations needs and grid constraints
    ▪    Impacts of reliability performance and/or critical load infrastructure, and
    ▪    Severe storm hazard mitigation
The capital projects identified in the 10-year Infrastructure Plan span three time-horizons: near-
term (i.e., 2021-2023), mid-term (i.e., 2024-2027), and long-term (i.e., 2028 and beyond). A
proportion of projects are expected to be initiated in the near-term in that they have either already
begun architectural and engineering (“A&E”) design or are expected to do so during the years
2022 or 2023. There are several policy and operational reasons for this sequencing, which include
the following:
    ▪    To deliver operational results to customers as quickly as possible
    ▪    To support execution of the approved IRP and Modified Action Plan
    ▪    Some reconstruction projects already have completed preliminary engineering and are
         ready to proceed into the 30% A&E design phase



98 Chapter 7 (LUMA Improvement Portfolios) provides a detailed overview of LUMA’s improvement portfolios and prioritized capital
    projects.
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    ▪    Some infrastructure projects are very large in scope and must be initiated in the near-term
         to be completed within the later years of the plan, and
    ▪    In many cases, demolition work, environmental remediation, rights-of-way, permits, and
         approvals must be carried out before the actual reconstruction project begins.
6.1.1.2 OVERVIEW OF PRIORITIZED PROJECTS
The 10-year Infrastructure Plan included eight (8) asset categories within its needs assessment
framework: (1) generation; (2) dams and hydro; (3) transmission; (4) distribution; (5)
substations; (6) IT / Telecom; (7) buildings, and (8) environmental. As otherwise mentioned, and
including transmission, distribution, substations, IT/Telecom, and buildings, are projects
associated with the T&D System as well as the grid management and communication systems that
will be planned and executed by LUMA.99 The total funding obligated by program and asset
category is included below in Exhibit 31.
EXHIBIT 31: TOTAL FUNDING FOR GRID AND GENERATION REBUILD AND TRANSFORMATION100

                                              $125

                                       $781

                              $686
                                                               $2,642
                                                                                              Transmission
                       $962
                                                                                              Distribution
                                                                                              Hydro, Dams & Irrigation
                                                                                              Generation
                   $1,519                                                                     IT & Telecommunications
                                                                                              Substations
                                                                                              Buildings


                                                          $5,500




All cost estimates provided in the 10-year Infrastructure Plan as amended were “class 5”
estimates, meaning they were estimated in an early phase of the project development process.
These cost estimates are expected to vary, based on industry standards, from 50% below to 100%
above the actual final project costs. There are several factors—including the refinement of specific
project costs, inflation trends, changes in the demands and needs of specific assets and the system
over time, and requirements and suitability of identified program funds—that are expected to lead
to changes in the projects that are ultimately implemented and their respective costs.



99 The LUMA improvement portfolios are discussed further in Chapter 7 (LUMA Improvement Portfolios).
100 Includes federal funds, cost-share, insurance payouts, and state matched amounts. PREPA 10-Year Infrastructure Plan, March
    2021 Update, p. 13. Note: All costs, funding sources, and subtotals are estimates subject to change.
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        FY 2022Capital Plan Collaboration and Coordination
The significant near-term planning and analyses that was completed by PREPA, its investment in
comprehensive plans for the 10-year and 20-year time horizons, and the ongoing analysis and
work of LUMA (including the proposed Recovery and Transformation Framework and activities
included in LUMA’s Initial Budgets and SRP), will help ensure that each completed capital project
will contribute to the identified strategic and performance goals for the system. Furthermore, over
the mid-term and long-term, completion of additional capital projects should substantially
improve and accelerate the transformation of the island’s electric infrastructure into a modern,
customer-centric, affordable, reliable, resilient, and sustainable system (transformational
change).101
Going forward, LUMA and PREPA must ensure that their capital project prioritization allows for
navigating potential trade-offs that may arise from the labor and capital needs required to
complete selected milestones. Both PREPA and LUMA must continue collaborating to ensure that
these capital planning efforts advance with the pace and scale that are required for the recovery
and transformation effort to meet stated public policy goals.

        Best Practices for Capital Project Delivery
PREPA and LUMA must follow industry best practices for the implementation of their portfolio
of capital projects to avoid costly schedule and budget overruns. To this end, PREPA has
implemented an Enterprise Project Management (EPM) program which will support PREPA
responsible capital works. During the front-end transition period throughout FY 2022, LUMA has
largely completed development of its new Capital Programs team, specifically designed to handle
large capital projects.
As PREPA and LUMA begin their deployment of projects, they must ensure that operations are
based on industry best practices regarding:
    ▪    Permitting
    ▪    Contractor oversight
    ▪    Planning
    ▪    Workflow management
    ▪    Safety
    ▪    Training & qualifications
    ▪    Performance management; and
    ▪    Reporting requirements.
Additionally, each must develop an approach to address and mitigate potential supply chain
constraints, created by the inflow of federal funds across instrumentalities and by overall
macroeconomic conditions.


6.1.3.1 RISKS AND MITIGATION MEASURES



101 See, 10-Year Infrastructure Plan, March 2021 Update, p. 26-28, and LUMA Draft System Remediation Plan, February 23, 2021,
    p. 27-29, 50.
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Energy infrastructure improvements of the magnitude described in current planning stages have
never been undertaken in Puerto Rico. A successful execution that addresses the challenges
described above, and that ultimately meets desired policy goals, will require the collaboration and
attention of all stakeholders in the energy supply system, regulators, government officials and
policy makers. Given PREPA’s history of underperformance in capital execution, the successful
transition of the Legacy Generation operations and maintenance to new private operator(s)
selected by the P3 Partnership Committee will be perhaps the most important step in meeting
these challenges. Ultimately, the real time collaboration and alignment between PREPA, LUMA,
P3A, COR3, PREB, the Oversight Board, and other governmental entities and federal stakeholders
will be pivotal to ensure the successful and timely implementation and completion of capital
project plans principally funded with FEMA and CDBG program funds. Failures in addressing
process needs and in achieving collaboration between stakeholders will have dire repercussions
in the restructuring of the electric system, with delays impacting the integration of renewable
resources, the strengthening of the grid, electricity costs to residents and businesses and more.

      Reporting Cadence
PREPA’s project management process outlined above includes project reporting requirements
that are purposefully inclusive of, and transparent with, all key stakeholders (local, federal, the
Oversight Board, etc.) and decision-makers. The magnitude of capital improvements that are to
be undertaken (whether by PREPA and/or private operators), and the historic juncture of the
Island’s energy sector transformation, and the new role of LUMA as operator of the T&D System
and the forthcoming legacy generation operator(s) in the future, require that all stakeholders be
fully and timely informed of changes and developments at all times, and that all stakeholders work
together above and beyond leading utility practices. Transparency and collaboration are key to
attaining the public policy and Certified Fiscal Plan objectives.
As part of such sweeping transparency, PREPA (for Generation) and LUMA (for the T&D System)
intend to develop and publish specific project dashboards and routine reports to allow
stakeholders to have access to real-time data and to participate and seek information at any
interval as needed on both specific projects and the system. Reporting requirements as set by the
Oversight Board are available in Chapter 16, Post-Certification Reporting.

       Federal Funding
      Overview
As a result of the severe damage inflicted by several natural disasters that struck Puerto Rico
between 2017 and 2020, PREPA has qualified for federal support through multiple programs that
fund eligible emergency work and permanent projects. The natural disasters included Hurricanes
Irma and Maria in 2017 and a major earthquake that struck Puerto Rico in early January 2020
(the “2020 Earthquake”). As previously stated, this damage was exacerbated by years of
underinvestment, and substandard operation and maintenance practices that resulted in a
vulnerable energy infrastructure.
The amount of federal funds projected to flow into Puerto Rico, and specifically the share
obligated for its energy infrastructure, provides Puerto Rico with the unique opportunity to
modernize and rebuild its currently vulnerable system. It will be crucial to use these funds
efficiently; federal funds can only be used for their approved purpose.
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Funds from several distinct federal programs are available to PREPA and LUMA, each with its
own funding guidelines and reimbursement processes:
    1. FEMA’s Public Assistance (“PA”) Program: This program provides funds for
       communities to recover from federally declared disasters or emergencies through Sections
       428 (“FEMA PA 428”) and 406 (“FEMA PA 406”). Funding is provided for both
       emergency assistance and for permanently restoring infrastructure.102 Under certain
       circumstances, funding can be extended beyond restoring infrastructure and cover future
       hazard mitigation. For example, measures that directly reduce the potential of future,
       similar disaster damages.103 PREPA must meet a 10-25% cost-share requirement
       (depending on the type of projects) for all funding under the PA program.104
    2. FEMA’s Hazard Mitigation Grant Program (“FEMA 404 HMGP”): This program
       funds protection to undamaged parts of a facility or may be used to prevent or reduce
       damages caused by future disasters. Under Section 404 PREPA must meet a 25% cost-
       share requirement for this source of funding, which has to date been met by funding from
       CDBG, however, there is no guarantee that future share cost funding will be financed by
       the CDBG monies.105.
    3. Federal Housing and Urban Development (HUD) Community Development
       Block Grant (CDBG) – Disaster Recovery (DR) and Mitigation (MIT)
       Programs: Funds from the CDBG programs must address a disaster-related impact in a
       Presidentially-declared disaster area and meet several additional criteria. PREPA intends
       to use the funds from this program to cover the cost-share requirements of the PA and 404
       HMGP programs
As Table 5 below shows, an excess of $14 billion dollars—including cost-share and state matched
funds—has been obligated to rebuild energy infrastructure over the next decade. It should be
noted that FEMA funding comes with a 10-25% cost-share requirement that PREPA, as sub-
grantee, must cover for both generation and T&D System projects. For most projects, PREPA
expects to use HUD CDBG funds to cover the cost-share. For this reason, HUD CDBG funds are
not shown separately in Table 5.




102 FEMA Public Assistance Alternative Procedures (Section 428) - Guide for Permanent Work from February 10, 2020. Document
    #: FEMA-4339-DR-PR
103 FEMA press release, last updated March 18, 2021, retrieved from: https://www.fema.gov/press-release/20210318/fema-hazard-
    mitigation-grants-404-and-406
104 FEMA Public Assistance Alternative Procedures (Section 428) - Guide for Permanent Work from February 10, 2020. Document
    #: FEMA-4339-DR-PR
105 HMGP 404 for DR-4339 was fully matched by CDBG.
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TABLE 5: TOTAL FUNDING BY PROGRAM OBLIGATED TO GRID AND GENERATION REBUILD AND
TRANSFORMATION106
                                                                                                           Estimated Total
      Asset Category                      FEMA 428 ($M)         FEMA 404 ($M)         FEMA 406 ($M)        Cost ($M)

      Distribution                                   $5,500                     $0                    $0            $5,500

      Transmission                                   $2,642                     $0                    $0            $2,642

      Generation                                        $109                 $853                     $0              $962

      Substations                                       $782                    $0                    $0              $781

      Hydro, Dams, and Irrigation                       $861                 $659                     $0             $1,519

      IT and Telecommunications                        $686                     $0                    $0              $686

      Buildings                                         $125                    $0                    $0              $125

      Total                                        $10,705                 $1,512                     $0           $12,216



To date, PREPA has received approximately $1.8 billion in funds through the FEMA Public
Assistance Program, mainly related to damages caused by Hurricanes Irma and Maria. The funds
have been used to cover contractor expenses related to reconstruction work, as well as increased
cost from peaking units (typically low-utilization, highly flexible, and more expensive generation
facilities designed to provide power during times of peak demand), among others. Section 0
provides an overview of the FEMA Public Assistance funding received to date. PREPA has so far
received new obligations on FEMA 404 amounting to $1.5 billion and $4.7 million on HUD CDBG
funds.
6.2.1.1 OVERVIEW ACROSS PROGRAMS AND SOURCES
FUNDING RECEIVED TO DATE: FEMA’S 428 AND 406 PUBLIC ASSISTANCE PROGRAM
The cash funding PREPA has received to-date that has been provided through FEMA PA is related
to eligible emergency costs associated with the 2017 hurricanes and the 2020 Earthquake, as
shown in detail in Exhibit 32.
Through February 2022, PREPA has received $1.6 billion in FEMA PA funds related to
Hurricanes Irma and Maria. The funds received relate to contractor expenses, mutual aid
assistance, incremental costs incurred by PREPA related to increased peaking unit usage, and
other eligible costs incurred by PREPA. PREPA expects to receive additional reimbursements
once various PWs are obligated and/or modified by FEMA, and PREPA can submit RFRs.
PREPA has received $238 million out of the total $317 million appropriated by FEMA PA as of
February 2022 for incremental costs related to increased peaking unit usage associated with the
damages caused by the 2020 Earthquake from January through June 2020. On December 2020,
PREPA submitted a cost revision to increase obligated funds for the period of July 2020 up to




106 Includes federal funds, cost-share, insurance payouts, and state matched amounts. PREPA 10-Year Infrastructure Plan, March
    2021 Update, p. 13. Note: All costs, funding sources, and subtotals are estimates subject to change.
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January 2021 totaling $515 million. Nevertheless, amount expected to be funded by FEMA will be
reduced by insurance proceeds and local cost-share requirements.
On February 27, 2022, the president of the United Stated filed a notice amending the notice dated
January 16, 2020, increasing the federal share from 75% up to 90%. FEMA is currently
performing amendments to previously obligated projects for all sub-recipients to claim additional
funding.

EXHIBIT 32: SUMMARY OF FEMA REIMBURSEMENT RECEIVED THROUGH FEBRUARY 25, 2022
                                                                          FEMA PA Reimbursements
         Category                                                                     (USD Million)
         Cobra                                                                              $944.4
         Mutual Aid                                                                          304.5
         Hurricane Peaking Units Fuel & O&M                                                   149.1
         Force Account Labor                                                                   52.2
         Management Cost                                                                       15.5
         Other                                                                                20.0
         XGL                                                                                    6.4
         Local Contractors                                                                     13.6
         Whitefish                                                                             76.3
         Subtotal for Hurricanes                                                         $1,582.0
         Earthquake Peaking Units Fuel & O&M                                                $238.0
         Total Emergency Reimbursement                                                   $1,820.0


FUNDING RECEIVED TO DATE: FEMA’S 404 HAZARD MITIGATION GRANT PROGRAM
(“FEMA 404 HMGP”)107


To date, PREPA has not received any funds under FEMA 404 HGMP projects. Currently, COR3
and the Governor are discussing eligible permanent work FEMA 404 HMGP projects, and PREPA
has been approved a total of $953 million108 related to improvements for generation and water
facilities. These projects are outside of, and in addition to, the Global Settlement. A total of $1.4
million have been submitted to COR3 for reimbursement, outstanding as of March 2022. Several
requests for information have been received and PREPA is working alongside COR3 to close
outstanding matters.




107 Source: https://www.epa.gov/sites/production/files/2015-10/documents/hmgp.pdf
108 Source: FEMA approval letters dated September 29, 2020, October 15, 2020, and October 16, 2020.
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FUNDING RECEIVED TO DATE: HUD CDBG–DISASTER RECOVERY AND MITIGATION
PROGRAMS109


To-date PREPA has received $1.8 million in CDBG funds related to hurricane Irma peaking units.
The CDBG-DR program is intended to cover the 25% local cost-share associated with emergency
work repairs for Hurricane Irma and the 10% local cost-share related to permanent work repairs
from damages caused by Hurricane Maria. The CDBG-DR program is not intended to cover the
25% local cost-share related to damages caused by the 2020 Earthquake, which have been funded
by PREPA.
On July 28 of 2021, PREPA executed a sub-award agreement with the Puerto Rico Department of
Housing to utilize CDBG-DR funds to provide the non-federal cost share match for eligible project
amounting to $4,687,041.54. More recently, on March 25, 2022, HUD issued a partial approval
of the Commonwealth’s Action Plan for its electrical power system enhancements and
improvements program. On March 31, 2022, the partially approved CDBG-DR Energy Action
Plan was published on the PRDOH CDBG-DR webpage.110 This plan confirms the initial
availability of $500,000,000 for 10% cost share requirement for permanent work for damages
from hurricane Maria for FEMA PA funds.111
For permanent work outside of the Global Settlement PREPA must seek federal funding
assistance from FEMA 404 HMGP for the federal cost-share and CDBG-MIT for the local cost-
share.
6.2.1.2 EMERGENCY WORK REIMBURSEMENT PROCEDURE
All cash funding for emergency work received by PREPA to-date related to the 2017 hurricanes
and the 2020 Earthquake has been provided through FEMA PA.
The general procedure for PREPA as the subrecipient to obtain FEMA PA funds related to
emergency work includes PREPA incurring and tracking eligible costs, the development of Project
Worksheet (PWs) through the FEMA obligation process, the obligation of funds to the recipient,
and the Request for Reimbursement (RFR) and subsequent cash funding to the subrecipient. The
detailed steps are as follows:
    ▪    PREPA incurs costs due to damages caused by the disaster(s)
    ▪    PREPA tracks these costs and works with FEMA and COR3 to determine eligibility
    ▪    FEMA creates a PW which then goes through various levels of review until the PW is
         obligated
    ▪    Once the PW is obligated, the funds are appropriated for the recipient (i.e., COR3)
    ▪    PREPA can then submit a RFR to COR3


109 Source: https://www.hud.gov/hudprograms/disaster-recovery
110 See, https://cdbg-dr.pr.gov/en/download/cdbg-dr-action-plan-for-the-electrical-systems-enhancements-effective-on-march-25-
     2022/?ind=1648758532100&filename=2022%2003%2025_ADM_POLI_Action%20Plan_Energy%20Action%20Plan%20Draft.p
     df&wpdmdl=25442&refresh=627c0f6e213681652297582
111 Ibid, Energy Grid Rehabilitation and Reconstruction (ER1) Cost Share Program, Table 20, page 116.
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    ▪    COR3 reviews the RFR and draws down funds from FEMA related to the obligated PW,
         which will be subsequently sent to PREPA as the subrecipient; and
    ▪    Funds are then transferred from COR3 to PREPA.
As previously stated, the federal share of assistance under FEMA PA is not less than 75% of the
eligible cost. For Hurricane Irma the FEMA PA federal share covers 75% of eligible costs and for
the 2020 Earthquake a 90% cost-share was recently amended. For Hurricane Maria FEMA PA
federal share covers 100% of costs incurred by PREPA through August 16, 2018, and 90%
thereafter. For PREPA to receive funds to cover the local cost-share associated with the 2017
hurricanes, PREPA and PRDOH must execute the related grant agreement which is pending final
approval.
PREPA has submitted projects to PRDOH to obtain CDBG-DR funds to cover the local cost-share
related to emergency projects for Hurricane Irma and Maria. On July 28, 2021, PREPA executed
a sub-award agreement with the Puerto Rico Department of Housing to utilize CDBG-DR funds
to provide the non-federal cost share match for eligible project amounting to $4.7 million. PREPA
expects to pay the local cost-share related to the 2020 Earthquake.
6.2.1.3 PERMANENT WORK REIMBURSEMENT PROCEDURE
6.2.1.3.1         FEMA PA 428
PREPA must receive reimbursement for the federal share of permanent work through FEMA PA
428. Funding for permanent work is applicable to projects related to restoring facilities through
repair or restoration to pre-disaster design, function, and capacity in accordance with codes or
standards.112 Through FEMA PA 428, FEMA will fund the federal share of 90% of the eligible
costs related to the Global Settlement. The procedures for drawing down the funds obligated as
part of the agreed upon settlement as set forth in the FEMA Advanced Award Strategy Initiative
(“FAASt”).
Specifically related to damages caused by Hurricanes Irma and Maria, the Bipartisan Budget Act
(“BBA”) allows FEMA to provide assistance to restore disaster-damaged facilities or systems that
provide critical services to an industry standard without regard to pre-disaster condition. FEMA
may approve standards that are widely accepted and used, or best practices that are generally
accepted by experts in the industry if standards are reasonable. BBA allows for the repair or
replacement of components not damaged by the disaster if the work is required to restore the
critical service function of the facility or system to approved industry standard(s). The pre-
disaster condition of components, regardless of damage, is not a factor in determining the eligible
scope of work.
The federal share of the Global Settlement under FEMA PA 428 is $9.5 billion (or 90% of the
$10.7 billion after deducting expected insurance proceeds of $193 million). While PREPA has
assumed that the 10% local cost-share of the Global Settlement (which is approximately $1.05
billion) is expected to be funded by CDBG-DR, only $500 million for local cost-share has been
submitted by PRDOH to HUD for approval. PREPA must work diligently to identify the source of
funds needed to cover the remaining ~50% cost-share requirement, including requiring the


112 Source: FEMA Public Assistance Applicant Handbook as of March 2010.
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necessary rate adjustments. Failure to identify an adequate source of funding may jeopardize the
ability to access and deploy a significant portion of FEMA funds.
The Global Settlement may be structured as a reimbursement program, but PREPA management
is currently working with COR3 to request advances to assist with PREPA’s liquidity position.
PREPA may request an advance from COR3 if the following criteria are met:113
    ▪    PW is obligated by FEMA
    ▪    Procurement for the advance is complete and the subrecipient has awarded the contract
         to the vendor
    ▪    Subrecipient provides a complete set of procurement and award documents for the
         contract which advance funds are requested
    ▪    Subrecipient provides a timeline of when costs are expected to be incurred and paid
    ▪    Subrecipient has no outstanding/unsubstantiated advance payments for the contract
         which advance funds are requested; and
    ▪    COR3 determines the subrecipient has immediate cash needs.
If PREPA, or its authorized agent, must request reimbursements instead of receiving advances,
the process is expected to be like the process for emergency work (see Section Error! Reference
source not found.). However, for permanent work, the following additional actions must occur
prior to RFR submission:
    ▪    PREPA, or its agent, submits the proposed project Scopes of Work (SOW)
    ▪    The SOWs are reviewed by COR3 and FEMA to determine eligibility; and
    ▪    PREPA/agent may not commence work prior to receiving approval from FEMA PA and
         FEMA Environmental and Historical Preservation (EHP). Initiation of construction prior
         to FEMA PA and FEMA EHP completion of reviews may jeopardize part of or all the
         federal funding for the project.
6.2.1.3.2         FEMA 404 HMGP
PREPA expects to obtain FEMA 404 HMGP funds for various permanent work mitigation projects
outside of the Global Settlement. FEMA 404 HMGP projects are typically funded at a 75% federal
cost-share. However, on October 22, 2018, FEMA approved the Governor’s request, dated
February 26, 2018, to use the Global Match approach to meet the HMGP 25% non-federal cost-
share requirement. Therefore, the Government of Puerto Rico dedicated approximately $1 billion
in CDBG-DR funding to provide the required cost-share for HMGP projects.
This means that all HMGP projects are expected to be fully funded, with no additional local cost-
share required from PREPA. The CDBG-DR funding is expected to provide eligible matching
projects that will count as the HMGP cost-share.
The expected process to ultimately obtain these funds is as follows:


113 Refer to Ch. 7 – Payment and Cash Management section of the COR3 Disaster Recovery Federal Funds Management Guide.
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     ▪    COR3 will notify PREPA as subrecipient of available FEMA 404 HMGP funding
     ▪    After notification of available funds, PREPA will submit a Letter of Intent (LOI) describing
          overall scope of any hazard mitigation projects to COR3
     ▪    COR3 will review the LOI and determine which projects are aligned with the Governor’s
          strategy and notify PREPA of which projects are approved
     ▪    PREPA can then prepare a comprehensive package including additional details related to
          scope, any necessary clearances and anticipated costs/budget related to the project to be
          submitted to COR3 and FEMA for review and approval
     ▪    Upon FEMA review, FEMA may include conditions for approval for the subrecipient
     ▪    PREPA can begin incurring costs only for projects which have been approved by COR3
          and FEMA
     ▪    Once costs are incurred, PREPA can submit RFRs
     ▪    COR3 will review RFRs for consistency with the project and eligibility prior to funds being
          disbursed to PREPA; and
     ▪    Funds will then be transferred from COR3 to PREPA.
6.2.1.4 FUNDING SOURCES FOR 10% COST-SHARE REQUIREMENT
Under the Global Settlement, PREPA, or its agent, is required to meet a 10% local cost-share
requirement for its FEMA-funded permanent work projects. PREPA plans to meet its local cost-
share portion through the CDBG-DR program, as it becomes available. If these funds are not
available, PREPA must find funding elsewhere and/or adjust rates to cover the local cost-share
obligation.114 Failure to identify the funds necessary for cost-share may prevent PREPA from
having access to the portion of the Global Settlement contributed by FEMA.
Access to CDBG-DR and CDBG-MIT funds are subject to various US HUD actions. The
Appropriations Act requires HUD to allocate almost $2 billion of CDBG-DR funds to provide
enhanced or improved electrical power systems in response to Hurricane Maria. HUD announced
the allocation of these funds to the Commonwealth and provided that the electrical power system
allocation shall be governed by a subsequent notice. Therefore, the grantee is prohibited from
using CDBG-MIT funds for mitigation activities to reduce the risk of disaster related damage to
electric power systems until after HUD publishes the Federal Register notice governing the use of
the almost $2 billion for enhanced or improved electrical power systems.115
To receive CDBG-DR and CDBG-MIT funds for the local cost-share associated with permanent
work projects, HUD must file a Federal Register notice governing the use of the almost $2 billion
CDBG-DR funds for enhanced or improved electrical power systems. The CDBG-DR and CDBG-
MIT reimbursement process will follow the “Implementation Guidance for Use of Community
Development Block Grant Disaster Recovery Funds as Non-Federal Cost Share” issuance dated
October 13, 2020. On June 22, 2021, HUD published Federal Register Vol. 86, No. 117 (June 22,

114 The financial projections included in this Certified Fiscal Plan assume CDBG funds cover the local cost-share required for
    federal funding.
115 See Docket No. FR-6109-N-04.
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2021), 86 FR 32681, which governs the use of the $2 billion CDBG–DR allocation for enhanced
or improved electrical power systems in Puerto Rico and the U.S. Virgin Islands. Of those $2
billion, $1.9 billion was allocated to Puerto Rico to enhance the Puerto Rico electrical power
system, with only $500 million available for PREPA use as cost-share matching, as the remainder
is assigned to facilitate community projects and private and non-profit sector developments.
PREPA will need to identify the source of funding for the remainder of their matching
responsibilities, with the risk of not delivering on available FEMA funds for the recovery and
reconstruction of the energy system.

       Federal Funding Impact
The successful transformation of Puerto Rico’s energy system will require significant capital
investment at least over the next ten (10) years. Federal funding plays a critical role in mitigating
the burden of these costs on ratepayers. With adequate federal funding, the overall impact on
energy rates would not be too burdensome in the next ten (10) years.
The appropriated federal funds are necessary for the full deployment of Puerto Rico’s grid
modernization plans. If federal funding fails to materialize, or costs turn out to be more expensive,
Puerto Rico would have to make a difficult choice between increasing energy rates to meet
unfunded capital investment needs, or remain unable to implement the necessary repairs and grid
system modernization called for in Puerto Rico Public Policy and captured in the IRP approved
by the Puerto Rico Electric Bureau (PREB), 10 year-Infrastructure Plan, PREPA and
Commonwealth Certified Fiscal Plans, and LUMA’s Recovery and Transformation Framework as
detailed within the Initial Budgets and SRP.
Beyond the dollar impact on customers, a lack of federal funding would have serious
consequences on the resiliency of the system and the achievement of PREPA’s long-term energy
vision and LUMA’s Recovery and Transformation Framework. Lack of federal funding availability
for the rebuild of the T&D System and generation facilities represents a significant risk for overall
service delivery and affordability. Federal funding is also critical for delivering system
improvements necessary for resiliency and environmental compliance, including deployment of
microgrids, distributed energy resources, and renewable resources.

       Distribution of Federal Funding Responsibilities for the T&D System116
Puerto Rico’s energy sector continues advancing its transformation pursuant to Puerto Rico’s
energy public policy. During FY 2022, LUMA will continue to have full control over the operation
and maintenance functions of the T&D System and will provide the O&M Services that are
detailed and defined under the T&D OMA, which includes performing and supervising Capital
Improvements of the T&D System.
The T&D OMA provides specific roles and responsibilities for LUMA, PREPA, and the P3A related
to the use, management, recordkeeping, and oversight of federal funds used for T&D System
capital improvements (which include grid reconstruction). The parties to the T&D OMA will
cooperate, and work as described in the T&D OMA to ensure legal compliance, effective and



116 This section references that certain Operation and Maintenance Agreement (T&D OMA) dated as of June 22, 2020, by and
    among PREPA, LUMA Energy, LLC, LUMA Energy Servco, LLC and the P3A. All language and statements under this section
    are meant to be illustrative only and shall be interpreted in accordance with, and subject to, the T&D OMA.
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efficient use of federal funding, maximized eligibility of projects for federal funding, and secure
adequate recordkeeping and access for compliance audit purposes.

        Challenges and Mitigation Measures117
PREPA and LUMA are coordinating to assess risks and mitigation measures as part of the broader
capital planning process for federally funded capital expenditures under the T&D OMA. The key
areas of risk include (local and federal) permitting, federal funding compliance, and eligibility of
T&D-related projects for federal funding (maximizing eligibility of new or additional projects
beyond those eligible under FEMA 428).
LUMA’s has established a Risk Management office to be responsible for identifying project risks,
analyzing risk probability, impact and ranking, planning risk mitigation and calculating required
contingency levels for mitigating unavoidable risks. Further LUMA continues to prepare a risk
assessment and analyses in support of prioritization and planning for T&D System capital projects
taking into account the IRP, load and energy forecasts, fuel price and quantity forecasting, long
and short-range system plans and proposed annual operating and maintenance plans.
As established under the T&D OMA, PREPA and LUMA must cooperate also with the P3A in
obtaining and maintaining all government approvals as defined under the agreement. Regarding
federal funding, as well as project eligibility matters, LUMA is responsible for procurement and
administration of federal funding, with PREPA and P3A support as relevant, as well as compliance
with applicable law, regulation, and policy, as prescribed by the T&D OMA.118

        Overview of Reporting Cadence and Level of Detail
PREPA’s reporting related to restoration progress, reconstruction progress, spending, and
reimbursements for emergency work has been provided on a weekly basis and will continue until
project completion and settlement of outstanding amounts. The restoration and reconstruction
flash report includes key information by major category of spending, including but not limited to:
amounts submitted to FEMA, obligated amounts by PW, federal funding received, cash paid to
suppliers, invoice amounts, payables outstanding, and status of RFR, etc. While substantially all
activity to date has been related to emergency work, future permanent work will be reported as
agreed to in the T&D OMA. LUMA must develop its own T&D System reporting cadence and
structure for relevant stakeholders, including PREPA as T&D System owner and subrecipient of
federal funds under FEMA regulations.




117 Ibid.
118 See, e.g., T&D OMA, Sect. 5.9 (a), (b) and (c).
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Chapter 7. LUMA Improvement Portfolios
LUMA is responsible for overseeing T&D System improvements, including planning and
execution of capital projects. Funds of $10.7 billion were obligated for use in the rebuilding and
transforming of Puerto Rico’s energy generation and T&D System.
As a required part of the Front-End Transition, LUMA developed a set of improvement programs
to restore and modernize Puerto Rico’s T&D System, including the management system and
processes. Programs were subsequently organized into seven interdependent portfolios of similar
topics that together cover all functional areas of the utility. These improvement portfolios are
described in the LUMA Initial Budgets and the SRP. LUMA’s Initial Budget was reviewed by P3A
and approved by the PREB on May 31, 2021, prior to service commencement and program
implementation.119 Additionally, LUMA’s SRP was reviewed by P3A and approved by PREB on
June 23, 2021, prior to service commencement and program implementation.120 Subsequently
LUMA filed Annual Budgets for Fiscal Year 2023 with PREB on April 1, 2022, and an update to
the SRP on April 14, 2022. The relationship between LUMA’s Budgets and SRP is as follows:
      ▪   LUMA Budgets: The LUMA budgets contain operating and capital expenditures for the
          T&D System for the next fiscal year and projected budgets of the same for the subsequent
          two fiscal years, together the next three years of LUMA’s operation of the T&D System. All
          improvement portfolios and associated expenditures for FY2023-FY2025 are included in
          the most recent LUMA budget application.
      ▪   System Remediation Plan: The SRP is a plan to “remediate, repair, replace, and
          stabilize equipment, systems, practices, and services” in the T&D System such that the
          legacy assets and processes that may not comply with the standards of performance
          required under the T&D OMA can be brought up to compliance. Only initiatives to
          remediate high-probability, high-impact asset or process failures are included in the SRP.
          As such, the SRP forecasts a subset of T&D program-related improvement programs and
          related operating and capital expenditures through FY2029.
In developing the improvement programs for both physical system assets and the management
system and processes, LUMA utilized a three-stage approach of: (a) assessing the current state of
the system; (b) analyzing and comparing the current state to industry standards and the T&D
OMA contract standards and developing initiatives to address any identified gaps; and (c)
prioritizing and sequencing the initiatives based on criticality and guiding documents. Similar
programs were compiled into seven (7) portfolios: (1) customer service; (2) distribution; (3)
transmission; (4) substations; (5) control center & building; (6) enabling; and (7) support
services.
The improvement portfolios use a range of funds depending on the scope of each program and
funding usage limitations (e.g. limitations on the use of certain types of federal funds). Program-
related operating expenditures, federally funded capital, and non-federally funded capital are
allocated to improvement programs. LUMA has projected spending an estimated $3.5 billion on
improvement portfolios from FY2023 through FY2025.


119     Determination on LUMA’s Initial Budgets filing on May 31, 2021 Docket ID: NERP-MI-2021-0004,
120     Resolution and Order Approving the Proposed System Remediation Plan filing on June 23, 2021 Docket ID: NERP-MI-2020-
      0019
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Through the implementation of its improvement portfolios, LUMA has already achieved
significant operational improvements within the first nine months of Fiscal Year 2022 including
improving safety metrics by an average of 82%, activating over 17,000 net energy metering
customers representing 95 MW of distributed solar energy, enabling over 1 million electronic
registration or app downloads to allow customers to connect with LUMA online. In addition,
LUMA has fielded over 2.7 million calls, all while reducing customer call wait times to less than 1
minute from over 26 minutes and demonstrating an 80-point improvement in the J.D. Power
Customer Satisfaction score. LUMA has also developed 190 initial scopes of work representing
$7.8 billion of federal funding and have advanced 79 projects, representing $1.2 billion into
preliminary engineering. Section 7.4 gives an overview of expected continual improvements.

     Background              on     LUMA’s           improvement           programs          and
Portfolios
     Development of the improvement programs and Portfolios
To develop the improvement programs and Portfolios outlined below, LUMA utilized a three-
stage approach of: (1) assessing; (2) analyzing; and (3) planning.
Assessment
In the assessment stage, LUMA conducted a gap assessment and determined the condition of
PREPA’s existing T&D System assets and management systems and processes. In evaluating the
physical assets, LUMA assigned each asset a health condition score from 0 to 4 as defined in
Exhibit 33. For the existing management system and processes,
Exhibit 34 includes the organizational maturity scoring criteria LUMA used to score different
portions of the existing organization.
In assessing the assets, LUMA identified that a lack of accurate data to inform business and asset
management decisions was particularly prevalent. Based on the sample of asset inspections, asset
health was consistently poor from storm damage and deferred maintenance. In assessing the
organization, low maturity scores were noted with most organizational areas rated as “Unfocused”
or “Aware.” LUMA noted in the SRP that most North American electric utilities have a maturity
rating between “Developing” and “Competent.” Based on the results of its assessment, LUMA
indicated that physical assets and the organizational systems and processes required significant
improvement resources and capital.




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EXHIBIT 33: PHYSICAL ASSET HEALTH CONDITION SCORE VALUE DEFINITIONS




EXHIBIT 34: ORGANIZATIONAL HEALTH ASSESSMENT MATURITY SCORING CRITERIA




Analysis
In the analysis stage, LUMA compared the conditions found in the assessment stage to industry
standards and developed over 600 initiatives to remediate identified concerns, enact
infrastructure recovery, achieve operational and customer satisfaction improvements, and meet
regulatory imperatives (e.g. Renewable Portfolio Standards). All initiatives were screened for
inclusion in the SRP and initiatives to remediate high-probability, high-impact asset or process
failures were included as SRP initiatives.
Planning
In the planning stage, LUMA utilized a framework to prioritize and sequence the programs,
further discussed in Section 7.2. LUMA’s planning process referenced several guiding documents,
including the approved Integrated Resources Plan (IRP) and Modified Action Plan, previous
Certified Fiscal Plans, COR3’s Grid Modernization Plan, Act 17-2019, numerous independent
engineering reports and FEMA damage assessment reports. Improvement programs were
developed with Puerto Rico’s public policy in mind.

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     Summary of Improvement Portfolios
Initiatives were grouped into programs and programs were subsequently organized into seven (7)
interdependent portfolios of similar size that together cover all functional areas of the utility:
   1. The customer service portfolio includes programs to improve customer service
      through modernized customer service technology, improve billing systems, implement
      advanced metering infrastructure, establish a “Voice of the Customer” program, and
      upgrade and replace distribution streetlights.
   2. The distribution portfolio includes improvements to the distribution system, including
      overhead and underground distribution line rebuilds, pole and conductor repairs, system
      inspections, spot repairs and replacements as needed, and implementation of technology
      that enables planning.
   3. The transmission portfolio includes improvements to the transmission system,
      including line rebuilds and hardening, priority pole replacements, system inspections,
      spot repairs and replacements as needed, and improved transmission monitoring systems,
      as well as telecommunications investments to improve first responder and emergency
      response communication and centralized monitoring and control.
   4. The substations portfolio includes investments to rebuild, harden, and modernize
      transmission and distribution substations, including physical security upgrades, and
      studies to eliminate major cascading outages and ensure system compliance with
      applicable laws, codes, and regulations.
   5. The control center & buildings portfolio includes investments in rebuilding
      damaged facilities, upgrading security systems, and implementing energy and advanced
      distribution management systems that enable renewable energy, demand response, and
      battery storage integration and dispatch.
   6. The enabling portfolio includes a number of safety and operational excellence
      programs such as: provision of new tools and Personal Protective Equipment (PPE); skills
      and safety training for all employees; a new program management office to plan and
      execute large capital projects; a new data system to manage T&D asset data; and
      vegetation and fleet management.
   7. The support service portfolio includes cross-functional programs that service all
      departments, such as Human Resources, IT / OT, and finance. This portfolio also includes
      studies on renewables integration and minigrids.

     Overview of Expected Spend per Improvement Portfolio through FY2025
LUMA included the proposed annual spending estimates for each portfolio from FY2023 through
FY2025 in the Initial Budgets. The estimates for FY2025 include federally funded programs, non-
federally funded capital expenditures, and program-related operational expenditures. The
proposed annual estimated expenditures for each portfolio as filed to PREB on April 2, 2022, are
included in Exhibit 35.



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EXHIBIT 35: LUMA’S PROPOSED ANNUAL IMPROVEMENT PORTFOLIO SPENDING ESTIMATES
FOR FY2023 THROUGH FY2025 (USD MILLION, NOMINAL)
          Portfolio                            FY2023                         FY2024           FY2025

                                      Non-
                           Federal
                                     Federal              Total Spending   Total Spending   Total Spending
                           Funded                  OpEx
                                     Funded                  Estimate         Estimate         Estimate
                           Capital
                                     Capital

 Customer Experience         107        7           21         135              119              139

 Distribution                151       15           13         179              306              577

 Transmission                126       0            0          127              279              374

 Substations                 111       22           2          135              173               71

 Control Center and
                             45        4            3           51               91              89
 Buildings

 Enabling                    20        22           71         113              124              122

 Support Services            9         10           84         102              92                91

 Grand Total                569        78          195         842             1,185            1,463




            Goals and Roadmap of improvement programs
In order to prioritize and sequence the improvement work, LUMA developed a Recovery and
Transformation framework and roadmap to guide planning and decision making across all Front-
End Transition deliverables, including the SRP and improvement portfolios. LUMA states that
the framework references public policy objectives, stakeholder needs, and regulatory and
contractual requirements. The framework has five (5) key goals in delivering LUMA’s stated
mission of customer-centric, reliable, resilient, safe, sustainable electricity at reasonable prices:
     1.         Prioritize Safety – Reform utility activities to support a strong safety culture
                focused on employee safety and the safety of the people of Puerto Rico;
     2.         Improve Customer Satisfaction – Transform operations to deliver a positive
                customer experience and deliver reliable electricity at reasonable prices;
     3.         System Rebuild and Resiliency – Effectively deploy federal funding to restore the
                grid and improve the resilience of vulnerable infrastructure;
     4.         Operational Excellence – Enable employees to pursue operational excellence
                through new systems, processes, and training; and
     5.         Sustainable Energy Transformation – Modernize the grid and utility to enable
                sustainable energy transformation.
The recovery phase of the roadmap begins with the restoration of the high-risk infrastructure and
processes to a safe and functioning state. During this phase, LUMA will complete remedial
investments to systems and processes, in addition to the grid. After stabilizing infrastructure and
processes, LUMA will implement the transformation phase, with the goal of redesigning the utility
to meet Puerto Rico’s energy policies and needs for the coming decades. Recovery and
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transformation are not distinct, sequential phases as many transformation programs will begin
alongside and in coordination with recovery programs. The recovery and transformation roadmap
is included in Exhibit 36.

EXHIBIT 36: LUMA’S PROPOSED RECOVERY AND TRANSFORMATION ROADMAP 121




         Improvement Portfolios
After developing its improvement programs as outlined above, LUMA subsequently organized
them into seven (7) interdependent portfolios of similar size that together cover all functional
areas of the utility: (1) customer service; (2) distribution; (3) transmission; (4) substations; (5)
control center & buildings portfolio; (6) enabling; and (7) support services. For each of the
programs contained in the portfolios, LUMA developed a program summary, benefits, costs, and
key milestones. The programs within each portfolio are summarized below with estimated annual
funding and sources for that funding. For one or two key programs within each portfolio,
additional detail and benefits are included.
Further detail on all improvement programs can be found in Appendix C of LUMA’s Annual
Budgets’ submission to PREB.122 A summary of major improvement programs is summarized
below by portfolio.


121 Filing of System Remediation Plan under Section 4.1(d) of the Operation and Maintenance Agreement for Energy Bureau’s
    Evaluation and Approval. In Re: Review of the Puerto Rico Electric Power Authority’s System Remediation Plan. Case No.
    NEPR-MI-2020-0019. February 24, 2021.
122 Annual Budgets filing in Case No. NEPR-MI-2021-0004. April 1, 2022.
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      Customer Service Portfolio
Customer service will be enhanced in multiple ways. LUMA’s Voice of the Customer program and
the deployment of enhanced customer service technology will improve interactions with
customers. In addition, streetlighting will be repaired and billing systems improved. Advanced
Metering Infrastructure (AMI) will expand remote meter reading, along with a host of reporting,
control, and customer engagement capabilities. The exhibit below presents a summary of the
spending of each of the largest programs in the Customer Service Portfolio.

EXHIBIT 37: CUSTOMER SERVICE PORTFOLIO SPENDING ESTIMATES BY PROGRAM (USD
MILLION, REAL)
                                                     FY2023                   FY2024     FY2025

                                               Non-                 Total
                                    Federal                                     Total      Total
 Customer Experience                          Federal               Spend
                                    Funded                 OpEx               Spending   Spending
 Programs                                     Funded               Estimate
                                    Capital                                   Estimate   Estimate
                                              Capital

 Distribution Streetlighting          105        -            -      105         70         80

 Billing Accuracy and Back Office      -         1            12      13         12         11

 Loss Recovery Program                 -         -            5       5          8          16

 Distribution Meter Replacement
                                       2         1            1       4          22         22
 & Maintenance

 Standardized Metering and
                                       -         4            1       4          4          7
 Meter Shop Setup

 Modernize Customer Service
                                       -         2            1       3          2          3
 Technology

 Streetlight Billing                   -         -            1       1          1          -

 Voice of the Customer                 -        0             1       1          1          1

 AMI Implementation Program            -         -            -       -          0          -

 Grand Total                         107         7            21     135        119        139



A key Improvement Program in the Customer Service Portfolio is the billing accuracy and back-
office program.
Billing Accuracy and Back-Office
Program Summary:
The billing accuracy and back-office program includes updates to bill print and delivery (BP&D)
and other back-office systems to ensure LUMA can continue to produce customer invoices.
Current technology, machines and systems are outdated, creating a financial liability in delayed
revenue of ~$12.5 million for each day invoices are not produced. This upgrade includes
acquisition of new hardware and software to support billing and customer contracts, along with

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removing redundant bill printing and enveloping equipment. Additionally, the program supports
back-office processing of service order paperwork and mobilizes resources to address backlogs of
estimated and unbilled accounts. The program also implements a customer experience metrics
dashboard and agent routing technology for Billing Services to reduce resolution time and
increase customer satisfaction.
Program Benefits:
The benefits of this program include:
   ▪    Providing more reasonable prices for customers by improving efficiencies and removing
        billing backlogs;
   ▪    Delivering a more positive customer experience by refining efficiency in handling billing
        and associated back-office functions, along with increasing use of digital platforms to
        engage with customers;
   ▪    Improving the systematic management of the business by ultimately eliminating the
        significant backlog of estimated, unbilled and other exception related accounts, which will
        enhance back-office efficiency, improve collections metrics, and reduce accounts
        receivable;
   ▪    Improving employee productivity and work quality by improving automated distribution
        and management of back-office work to back-office agents;
   ▪    Improving the resilience of the billing system by outsourcing the BP&D function to a third-
        party vendor with a reliable emergency response plan and business continuity plan; and
   ▪    Enable the digital transformation by actively reducing manual processes currently in place
        and help support the implementation of a workforce management system.

       Distribution Portfolio
The distribution system received temporary emergency repairs after hurricanes Irma and Maria
to quickly restore service and has required further permanent recovery work. The majority of
distribution portfolio spending over the next three years will therefore be focused on improving
system recovery and resilience. Investments in reliability improvements will also aid in providing
a better customer experience and distribution automation investments will contribute to enabling
the sustainable energy transformation. The exhibit below presents a summary of the spending for
the largest programs in the Distribution Portfolio.




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EXHIBIT 38: DISTRIBUTION PORTFOLIO SPENDING ESTIMATES BY PROGRAM (USD MILLION,
Nominal)
                                                    FY2023                     FY2024      FY2025
                                 Federal   Non-Federal               Total       Total      Total
 Distribution Programs           Funded      Funded          OpEx    Spend     Spending   Spending
                                 Capital     Capital                Estimate   Estimate   Estimate

 Distribution Pole & Conductor
                                   54           1             11       66         71         81
 Repair

 Distribution Line Rebuild         51           5             0        56        161        422

 Distribution Automation           26          8              1        36         53         53

 Distribution Lines Assessment     20          0              1        21         20         20

 Grand Total                       151         15             13      179        306        577


A key improvement program in the Distribution Portfolio is distribution line rebuild.
Distribution Line Rebuild
Program Summary:
This program replaces damaged or ineffective overhead and underground distribution lines. This
program includes the following initiatives, a mix of SRP and non-SRP work:
       ▪ Perform distribution line upgrades to improve reliability and resiliency;
       ▪ Restore out of service circuits as deemed necessary;
       ▪ Complete unfinished circuit construction presently abandoned as deemed necessary;
       ▪ Perform circuit voltage conversions to improve distribution capacity (non-SRP);
       ▪ Build new distribution line extensions to connect new customers (non-SRP); and
       ▪ Install underground cable and/or tree wiring to improve service reliability and resiliency
         to critical customers (non-SRP).
Program Benefits:
The benefits of this program include:
   ▪     Providing a safe workplace and improving public safety by repairing and/or replacing
         assets that are in poor or damaged condition and present potential safety risks;
   ▪     Increasing service continuity and reliability to customers by replacing and upgrading
         facilities that have poor reliability performance and by adding and completing facilities
         that allow for alternate feeds; and
   ▪     Enabling grid modernization where practical, as replaced assets such as switches may be
         incorporated into future distribution automation schemes.



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        Transmission Portfolio
Transmission assets damaged by Hurricanes Irma and Maria received temporary emergency
repairs to quickly restore service. FEMA has allocated nearly $2 billion for further permanent
repairs and/or replacement of these assets, to upgrade them to current codes and standards.
LUMA’s Transmission Portfolio is comprised of a set of “Recovery” programs to complete these
system hardening upgrades including rebuilding towers, reinforcing anchors, and replacing poles
and associated hardware and conductors. The Transmission Portfolio also includes significant
investments in telecom backbone modernization which will help enable transformation. The
exhibit below presents a summary of the spending for each of the largest programs in the
Transmission Portfolio.

EXHIBIT 39: TRANSMISSION PORTFOLIO SPENDING ESTIMATES BY PROGRAM (USD MILLION,
NOMINAL)
                                                            FY2023                  FY2024     FY2025

                                                      Non-                Total
                                           Federal                                    Total      Total
                                                     Federal              Spend
 Transmission Programs                     Funded                OpEx               Spending   Spending
                                                     Funded              Estimate
                                           Capital                                  Estimate   Estimate
                                                     Capital

 Transmission Line Rebuild                   85         -            -      85        232        314

 IT OT Telecom Systems & Network             32         -            0      32         39         51

 Transmission Priority Pole Replacements      6         -            -      6          6          6

 Assessment of Transmission Lines             3        0             -      3          3          3

 Grand Total                                126        0             0     127        279        374



A key improvement program in the Transmission Portfolio is the IT OT Telecom Systems &
Network program.
IT OT Telecom Systems & Network
Program Summary:
This program includes IT and OT telecom investments to improve and revamp PREPA’s mobile
radio system, phone exchange and telephone systems and fiber optic and microwave data radio
systems. These systems are used to carry all PREPA IT and OT data. Capability enhancements will
include improved first responder and emergency response communication, greater resilience of
the internal telecommunications network, an enhanced microfiber network and network control
center to improve centralized monitoring and control over facilities and IT traffic.
Program Benefits:
The benefits of this program include:
    ▪    Improving communications between employees and contact call centers, control centers,
         colleagues or customers, including during emergency conditions like traffic accidents,
         equipment failures and severe weather conditions;



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    ▪    Enabling the implementation of Advanced Metering Infrastructure in the distribution
         network and its associated benefits (see Section 7.3.1);
    ▪    Improving control of protection circuits—which protect both people and equipment from
         accidental harm when coming in contact with a high voltage line—by repairing the
         microwave radio and fiber backbone;
    ▪    Improving reliability as the data networks and telecom systems are repaired and provide
         more accurate outage prediction, detection, and remediation as more smart meters are
         connected;
    ▪    Informing operational decision-making with better-quality operational data from
         upgraded data networks and improved data integration between systems;
    ▪    Enabling the transition to a modern, sustainable grid by upgrading the system to be
         compatible with modern sustainable energy systems (e.g. internet, IoT protocols, etc.);
         and
    ▪    Improving system resiliency by reducing the cyber risk to the networks by creating
         separate systems configured on different networks.

        Substation Portfolio
LUMA plans to rebuild, harden, and modernize substations over the next three years. Substations
will be repaired, rebuilt, and made safer, while increasing mitigation against future disasters.
These programs will result in significant improvements to system resilience and safety. The
exhibit below presents a summary of the spending for each of the largest programs in the
Substation Portfolio.

EXHIBIT 40: SUBSTATION PORTFOLIO SPENDING ESTIMATES BY PROGRAM (USD MILLION,
REAL)
                                                             FY2023                  FY2024     FY2025

                                                       Non-                Total
                                            Federal                                    Total      Total
                                                      Federal              Spend
 Substation Programs                        Funded                OpEx               Spending   Spending
                                                      Funded              Estimate
                                            Capital                                  Estimate   Estimate
                                                      Capital

 Substation Rebuilds                          95         7            -     102        139         49

 Substation Security                          15         1            1      18         15         4

 Substation Reliability                        -        14            -      14         19         18

 Regional & Technical Facilities Security      -        0             1      1          1          1

 Grand Total                                  111       22            2     135        173         71



A key improvement program in the Substation Portfolio is Substation Rebuilds.
Substation Rebuilds
Program Summary:


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This program focuses on improvements to transmission and distribution (T&D) substations to
strengthen the electric grid. This includes (1) hardening and modernizing T&D substations, (2)
making upgrades to the latest codes, industry standards and practices and (3) replacing
electromechanical and electronic relays. To accomplish this, LUMA will conduct required
assessment, repair, and rebuilding of damaged substations per the latest codes, industry
standards and practices to improve long term reliability, install Gas Insulated Switchgear (GIS),
replace electromechanical and electronic relays, and repair and / or rebuild substations impacted
by flooding.
This program will also focus on the demarcation requirements for Transmission and Generation
(T&G) assets, required under the T&D OMA, specifically the Scope of Services as set forth in
Annex I. The program must also include high accuracy metering to accurately measure power
generation into the network and facilitate communication with the system operator. This
measurement will provide transparency of total net power generation and energy losses to the
network. This demarcation will also be defined in a non-complicated manner to provide LUMA
and GenCo operators sufficient clarity regarding the separation of assets to prevent mis-
operation, and subsequent damage to equipment and / or system outages. This initiative is subject
to change based on the recommendations from the Sargent and Lundy Demarcation Study and
the plant retirement projections called for in the IRP.
Program Benefits:
The benefits of these programs include:
   ▪    Improving workplace and public safety by addressing critical substation issues (e.g.
        missing grounding components, bent structures, etc.) and bringing most substations up
        to optimum safety levels;
   ▪    Increasing service reliability by replacing damaged equipment and bringing most
        substations to optimum reliability levels;
   ▪    Improving resiliency and system restoration times by rebuilding and upgrading assets,
        deploying Gas Insulated Switchgear, and reducing the susceptibility of high voltage
        equipment to flooding; and
   ▪    Improving employee productivity and efficiency by collating data to support system
        operations, grid modelling, and asset conditions.

       Control Center and Buildings Portfolio
Control centers are critical facilities that play a vital role in the safe, reliable, and economic
performance of the entire electric grid. It is imperative that control center operators have access
to tools that provide situational awareness and a comprehensive and integrated visibility of the
all the systems—generation, transmission, and distribution. This visibility allows the operators,
using real time data, to minimize the impact to customers and the electrical system from outages
and system instability that could cause a complete collapse of the system resulting in a black-out
scenario.
LUMA’s near-term spending in the Control Center & Buildings Portfolio involves a number of
improvements in policies, procedures, and technologies that will enable LUMA to better operate
the system more reliably and efficiently. LUMA will also invest in rebuilding damaged facilities,
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upgrading security systems, and Advanced Distribution Management Systems that enable
renewable energy, demand response, and battery storage integration and dispatch. The exhibit
below presents a summary of the spending for each of the largest programs in the Control Center
& Buildings Portfolio.

EXHIBIT 41: CONTROL CENTER AND BUILDINGS PORTFOLIO SPENDING ESTIMATES BY
PROGRAM (USD MILLION, REAL)

                                                                FY2023                  FY2024     FY2025

                                                          Non-                Total
                                               Federal                        Spend       Total      Total
                                                         Federal
 Control Center and Buildings Programs         Funded                OpEx    Estimate   Spending   Spending
                                                         Funded
                                               Capital                                  Estimate   Estimate
                                                         Capital

 Critical Energy Management System
                                                 25        0             -      26         20         6
 Upgrades


 Facilities Development & Implementation         10         2            2      15         25         44


 Control Center Construction & Refurbishment      9        0             -      9          39         26


 Warehouse Security                              0          1            -      1          1          -


 Critical Energy Management & Load
                                                  -        0             0      0          7          13
 Generation Balancing

 Critical System Operation Strategy &
                                                  -         -            0      0          -          -
 Processes

 Grand Total                                     45        4             3      51         91        89



Critical upgrades to the Energy Management System (EMS) is one of the key improvement
programs in the Control Center & Buildings Portfolio.
Critical Energy Management System Upgrades
Program Summary:
This program will replace an obsolete and unsupported EMS and add relevant technology to
operate the electric system safely and reliably. This program will also implement an Advanced
Distribution Management System (ADMS). The EMS is a computer-based system that is used by
operators to monitor, control and optimize the performance on the generation, Transmission and
Distribution System.
Program Benefits:
The benefits of this program include:
    ▪    Improving reliability by providing modern tools for better visibility of equipment
         operations; and
    ▪    Enabling the integration of new energy sources (e.g. renewables, DG, etc.) and energy
         storage systems through the implementation of new digital technologies.
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       Enabling Portfolio
The Enabling Portfolio is composed of safety and operational excellence programs that provide a
safe workplace through new procedures, tools, and training. Investment programs include
providing new tools and PPE (including their inventory and management), training in skills and
safety for all employees, creating a new program management office specifically designed to
handle large capital projects, and implementing new data systems to accurately store and manage
data on T&D assets gathered through inspections. LUMA will implement new project and
business management procedures and controls to ensure transparent, systematic management of
the business and to effectively administer federal grant funding. The exhibit below presents a
summary of the spending for each of the largest programs in the Enabling Portfolio.

EXHIBIT 42: ENABLING PORTFOLIO SPENDING ESTIMATES BY PROGRAM (USD MILLION, REAL)
                                                             Non-             Total
                                                  Federal                                 Total      Total
                                                            Federal           Spend
 Enabling Programs                                Funded              OpEx              Spending   Spending
                                                            Funded           Estimate
                                                  Capital                               Estimate   Estimate
                                                            Capital
 Vegetation Management                               -         -       50      50          60         60
 Compliance, Studies, Technology & Performance      16         2       -        18         9          8
 HSEQ and Technical Training                         -         -       15       15         8          5
 T&D Fleet                                           2        8        2        12         29         25
 Tools Repair & Management                           -         6       -        6          7          5
 Asset Data Integrity                                -         5       0        5          3          3
 Permits Processes & Management                      -         -       2        2          2          -
 Workflow Processes & Tracking                       -         -       1        1          1          10
 Materials Management                               0         0        0        1          5          5
 Project Management Software & Tools                 1         -       -        1          -          -
 Construction & Commissioning Management
                                                     1         -       -        1          -          -
 Office
 Operator Training                                   -         -       0        0          -          -
 Emergency Response Preparedness                     -        0        -        0          2          0
 Project Controls, Risk Management & Estimating
                                                    0          -       -        0          -          -
 Offices
 Capital Programs, PMO & Funding Management
                                                    0          -       -        0          -          -
 Office Setup
 Grand Total                                        20        22       71      113        124        122




A key improvement program in the Enabling Portfolio is vegetation management.
Vegetation Management
Program Summary:
This program includes work to abate or mitigate immediate vegetation risk in the most critical
locations, along with an ongoing program to clear and re-establish rights of way to standard
widths. This includes an immediate response for the highest risk sites—those that pose hazards
to public safety or routinely experience tree-caused service interruptions—and reclaiming rights
of way corridors, specifically those impacting the T&D Systems. The program will also use a field-
enabled IT tool to manage the vegetation management program; vegetation management
training; and along with ongoing line clearance, pruning, tree removal, herbicides, etc. In
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addition, the program will evaluate and pilot an advanced AI remote sensing project to improve
vegetation management.
Program Benefits:
The benefits of this program include:
     ▪    Mitigating public safety risks by correcting the backlog of untrimmed trees;
     ▪    Improving system reliability by reducing outages from vegetation-caused line faults (a
          substantial contributor to the poor reliability of the system);
     ▪    Increasing the efficiency of the workforce and the reliability of the system by proactively
          trimming and managing vegetation in order to reduce the time and challenge of assessing
          storm damage and improving site access for preventative maintenance; and
     ▪    Improving reliability of the system following future hurricanes or other weather events by
          clearing existing debris and vegetation encroaching on rights of way.

         Support Services Portfolio
The Support Services Portfolio includes key cross-functional programs that affect/serve all LUMA
teams and departments. They include HR programs for attracting and retaining a high performing
employee base through standardized processes for performance management, talent
management, succession planning, recruitment and onboarding management, learning
management, and compensation management. Other programs include implementation of
processes and tools to secure information resources while permitting appropriate access to
authorized stakeholders at any time and at any location through information systems that are
prudently maintained. The portfolio also includes regulatory studies and plans to inform the
development of a more detailed roadmap for meeting IRP milestones. The exhibit below presents
a summary of the spending for each of the largest programs in the Support Services Portfolio.

EXHIBIT 43: SUPPORT SERVICES PORTFOLIO SPENDING ESTIMATES BY PROGRAM (USD
MILLION, NOMINAL)
                                                                             FY2023                   FY2024     FY2025
                                                                       Non-                  Total     Total
                                                         Federal                                                   Total
                                                                      Federal     OpE      Spending   Spendin
Support Services Programs                                Funded                                                  Spending
                                                                      Funded       x       Estimate       g
                                                         Capital                                                 Estimate
                                                                      Capital                         Estimate

HR Programs                                                 -           0             62      63        64          65

Renewables Integration, Minigrids & Generation
                                                            -            3            5       8          4          2
Studies

IT OT Asset Management                                      6           0             1       7          3          6

Update to Third Party Use, Audit, Contract and Billing
                                                            3            -            3       6          4          4
Procedures

IT OT Cybersecurity Program                                 -            2            2       4          5          6

IT OT Enablement Program                                    -            1            2       3          3          4

Critical Financial Systems                                  -            3            0       3          3          1

Critical Financial Controls                                 -            -            2       2          1          -


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                                                                          FY2023                   FY2024     FY2025
                                                                    Non-                  Total     Total
                                                      Federal                                                   Total
                                                                   Federal     OpE      Spending   Spendin
Support Services Programs                             Funded                                                  Spending
                                                                   Funded       x       Estimate       g
                                                      Capital                                                 Estimate
                                                                   Capital                         Estimate

Land Record Management                                   -            1            2       2          2          2

Resource Planning and Processes to Improve Resource
                                                         -            -            1       1          -          -
Adequacy and Cost Tracking

Improvements to Systems Dispatch for Increased
                                                         -            -            1       1          -          -
Reliability and Resiliency

Land Acquisition & Dispute Management                    -            -            1       1          1          -

Financial Management Functions                           -            -            1       1          1          1

Waste Management                                         -            -            0       0          0          0

IT OT Collaboration & Analytics                          -           0             -       0          0          2

Integrated Safety & Operational Management System        -           0             0       0          0          0

Safety Equipment                                         -           0             0       0          0          0

Public Safety                                            -            -            0       0          0          0

Grand Total                                             9            10            84     102        92          91



The Renewables Integration, Minigrids, and Generation Studies is a key program within the
Support Services Portfolio.
Renewables Integration, Minigrids & Generation Studies
Program Summary:
This program involves completing planning, technical studies, program development, and pilot
implementation related to support compliance with the IRP and regulatory requirements linked
to renewable integration, distributed energy resources and generation. The activities conducted
in this program will lead to a coordinated, data-driven approach to the energy transition.
Program Benefits:
The benefits of this program include:
     ▪    Enabling renewable energy integration by guiding customers and developers to areas,
          regions, and nodes where renewable resources will add more value to the grid with
          contained overall cost;
     ▪    Improving understanding and planning for the impacts of the integration of renewable
          energy sources and new technologies and potential mitigation options; and
     ▪    Enable the implementation of renewables, distributed energy resources, and potential
          minigrids by ensuring existing system infrastructure is rebuilt to accommodate these new
          sources.




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         Projected impact of LUMA’s improvement portfolios
Through its various improvement portfolios, LUMA expects significant improvements in key
performance metrics, as shown below.

EXHIBIT 44: CUMULATIVE IMPROVEMENTS IN PERFORMANCE METRICS PROJECTED BY LUMA 123




123 The performance metrics are subject to the PREB regulatory process and final PREB approval.
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Chapter 8. LUMA Performance Metrics
Electric utilities operate critical infrastructure and are held to high standards of transparency and
reporting. This enables effective regulatory oversight, ensures performance is achieved, and
builds trust between service providers, regulators, customers, and key stakeholders. A set of
performance metrics is a crucial prerequisite to meet these requirements. LUMA, who has
assumed the full role of O&M service provider for PREPA’s T&D System as of June 1, 2021, will
be held to these performance standards.
LUMA will be evaluated against a set of metrics in three categories: 1) customer service metrics;
2) technical, safety, and regulatory metrics; and 3) financial performance metrics. These metrics
enable transparency and help assess whether the negative performance trends observed under
PREPA (see Chapter 2 for details) have reversed. The metrics LUMA will be reporting on and
which it will be measured against are outlined in detail in its T&D OMA.124 As part of its work
during the Front-End Transition period, LUMA has proposed to the Puerto Rico Electric Bureau
(PREB) any desired revisions to these performance metrics as well as developing baselines and
performance targets for each. Any modifications proposed by LUMA, including the proposed
baselines and targets, are subject to final approval by PREB.
To ensure incentives are aligned, LUMA’s compensation is tied to achieving certain target
thresholds for each of the performance metrics. In other words, LUMA’s performance metrics are
standards by which LUMA’s performance may be measured and incentives are granted if targets
are achieved. Incentives will be paid in the form of a variable and capped incentive fee (see Section
8.2).
The following overview summarizes LUMA’s performance metrics as presented to PREB in the
revised Annex IX of the T&D OMA. On September 24, 2021, LUMA submitted to PREB a Revised
T&D OMA Annex IX with a proposed set of performance metrics, baselines, and performance
targets for PREB to review, modify if appropriate, and approve.125 As of the certification of this
Certified Fiscal Plan, the proposed Revised Annex IX to the T&D OMA has not been approved by
PREB and therefore may change in whole or in part. The proceeding is currently ongoing with
written testimonies submitted and discovery performed. PREB’s procedural calendar for the
review of LUMA’s performance metrics has changed numerous times over the last 12 months. The
most recent procedural calendar that was set with the Evidentiary Hearing May 16 through 20,
2022 was postponed indefinitely until PREB issues a ruling on several outstanding matters that
would impact the proceeding.

         Summary of the T&D OMA performance metrics
       T&D OMA normal operation performance metrics
LUMA’s performance for normal operations will be measured by and evaluated against
performance metrics across three major categories:


124 Annex IX. Performance Metrics. Puerto Rico Transmission & Distribution System Operation & Maintenance Agreement. June 22,
    2020.
125 Request for Authorization to Submit Revised Pre-Filed Testimony of Melanie Jeppesen, Second Amended Revised Annex IX to
    the OMA, and Redline of Second Amended Revised Annex IX to the OMA. In Re: Performance Targets for Luma Energy ServCo,
    LLC. Case No. NEPR-AP-2020-0025. = September 24, 2021.
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                        1. Customer service metrics to ensure LUMA is achieving a high-level of customer
                           satisfaction across all customer classes
                        2. Technical, safety, and regulatory metrics to verify LUMA is operating a safe,
                           reliable electric grid while remaining compliant with applicable safety, environmental, and
                           other regulations
                        3. Financial performance metrics to ensure LUMA is operating sustainably within the
                           Operating and Capital Budgets (both federally funded and non-federally funded)
LUMA’s metrics, by category, and a description are included in Table 6. This overview reflects the
revised Annex IX of the T&D OMA as filed with PREB on September 24, 2021. As discussed above,
PREB has not yet approved these proposed performance metrics.
TABLE 6: OVERVIEW OF T&D OMA PERFORMANCE METRICS 126

                                         Metric                         LUMA description
                                         J.D.       Power      Customer Third party measure of customer satisfaction
                                         Satisfaction Survey (Residential
                                         Customers)
              Customer service metrics




                                         J.D.       Power    Customer Third party measure of customer satisfaction
                                         Satisfaction Survey (Business
                                         Customers)
                                         Average speed      of   answer The average wait time from the moment the customer enters
                                         (minutes)                      the Automated Call Distribution (ACD) queue to the time the
                                                                        call is answered by an agent
                                         Customer complaint rate        Total annual complaints registered with PREB divided by the
                                                                        total number of customers and then multiplied by 100,000
                                         Abandonment rate               The percentage of callers who hang up (abandon) while the
                                                                        call is still in the ACD queue
                                         Occupational Safety & Health Total number of OSHA recordable incidents as a result of
                                         Administration        (OSHA) work-related injury
                                         Recordable Incident Rate
 Technical, safety, and regulatory




                                         OSHA Fatalities                All work-related fatalities
                                         OSHA Severity Rate             Total number of work-related injuries with severity days (both
                                                                        restricted and lost time days)
                                         OSHA Days Away Restricted or Total number of OSHA recordable cases with lost-time days
                                         Transferred                  (away, restricted or transferred)
                                         (DART) Rate
                                         System Average Interruption Indicates how often the average customer experiences a
                                         Frequency                   sustained interruption over a predefined period of time
 metrics127




                                         Index (SAIFI)
                                         System Average Interruption Indicates the total duration of interruption for the average
                                         Duration Index              customer during a predefined period of time
                                         (SAIDI)


126 Subject to final PREB approval
127 The descriptions for SAIFI and SAIDI are from the Institute of Electrical and Electronics Engineers (“IEEE”) Guide for Electric
    Power Distribution Reliability Indices IEEE Std. 1366™-2012.
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                         Metric                          LUMA description
                         Distribution Line Inspections & The number of distribution line inspections
                         Targeted                        completed, with data recorded in a database for
                         Corrections                     analysis. Category 0 and Category 1 findings
                                                         shall be incorporated in a plan to be addressed
                                                         within 60 days of identification.
                         Transmission Line Inspections The number of transmission line inspections
                         & Targeted                      completed, with data recorded in a database for
                         Corrections                     analysis. Category 0 and Category 1 findings
                                                         shall be incorporated in a plan to be addressed
                                                         within 60 days of identification.
                         T&D Substation Inspections & The number of distribution and transmission
                         Targeted                        substation inspections completed with data
                         Corrections                     recorded in a database for analysis. Category 0
                                                         and Category 1 findings shall be incorporated in
                                                         a plan to be addressed within 60 days of
                                                         identification.
                         Operating budget                Measures ability to stay within budget
                         Capital budget: federally funded Measures ability to stay within budget
 Financial performance




                         Capital budget: non-federally Measures ability to stay within budget
                         funded
                         Overtime                        Measures ability to manage overtime costs under normal
                                                         operations (excluding emergency events)
                         Days Sales Outstanding (DSO) - Measures ability to collect bills from general customers
 metrics




                         General Customers
                         Days Sales Outstanding (DSO) - Measures ability to collect bills from government customers
                         Government Customers


The Revised Annex IX includes modifications to the draft Annex IX within the T&D OMA through
proposed additions, deferrals, and deletions, which are currently under review by PREB and are
further detailed below. Most deferrals are due to limited or insufficiently accurate operation data
to develop a baseline or target performance. LUMA’s proposed modifications are under review by
PREB. Some of these the key deferrals or deletions are further explained below for clarification:
Deferrals:

              •          First Call Resolution (FCR): PREPA’s systems historically did not have the ability to track
                         and report FCR. LUMA proposed deferring the calculation and reporting of this metric
                         until a new cloud-based Contact Center platform is fully implemented and FCR
                         performance tracking can be established. This is currently targeted for Year 2.

              •          Customers Experiencing Multiple Interruptions (CEMIN): Due to data quality issues,
                         including lack of accurate customer information and lack of customer connectivity in the
                         Outage Management System, LUMA proposed deferring CEMIN until after the
                         information can be corrected and a baseline accurately determined, currently expected to
                         be Year 4.

              •          Momentary Average Interruption Frequency Index (MAIFI): Due to data availability and
                         quality issues, LUMA recommended deferring the MAIFI metric until it can be accurately

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         measured. This requires replacing the Energy Manage System which is currently targeted
         for year 4 or 5.

    •    Reduction in Network Line Losses: PREPA does not currently allocate losses to the
         components of the system. Such allocation requires the development of an appropriate
         model, as well as additional metering and other measures. This is currently targeted for
         Year 2.

    •    Customer Average Interruption Duration Index (CAIDI): Proposed eliminating based on
         growing industry concerns that CAIDI is very limited as a performance metric. Since
         CAIDI is the ratio between SAIDI and SAIFI, CAIDI can be misleading because it can
         remain the same even when the SAIDI and SAIFI values decrease.
Most performance metrics in the T&D OMA Annex IX have three (3) calculated performance
levels; (1) an initial baseline level based on historical operating data or an analysis subject to
approval by PREB; (2) a target level expected to be achieved over the initial three-year period and
determined by consideration of past performance, effort and resources required and available to
achieve performance improvements, including available budgets; and (3) a minimum level for
eligibility to earn credit towards the Incentive Fee for that particular metric. On the other side,
four (4) metrics will be binary: OSHA fatalities; operating budget; capital budget: federally
funded; and capital budget: non-federally funded. For binary metrics, failing to meet the metric
is equivalent to missing the minimal performance level and LUMA will be ineligible to earn credit
towards the Incentive Fee through that particular metric.
A subset of the performance metrics has been designated Key Performance Metrics. If LUMA fails
to meet the determined minimum performance level for any three Key Performance Metrics for
three consecutive contract years and this failure is not excused by a Force Majeure Event, Outage
Event, or Owner Fault, then LUMA shall be in a Minimum Performance Threshold Default of the
T&D OMA. A list of proposed Key Performance Metrics are included in the T&D OMA and are as
follows:
    1. Customer service metrics: Average Speed of Answer and Abandonment Rate;
    2. Technical, safety, and regulatory metrics: OSHA Fatalities, OSHA Severity Rate,
       SAIFI, SAIDI, and Distribution Line Inspections & Targeted Corrections;
    3. Financial performance metrics: Operating Budget, Capital Budget: Federally
       Funded, and Capital Budget: Non-Federally Funded.

        T&D OMA Major Outage Event Performance Metrics
The T&D OMA also includes a set of Major Outage Event Performance Metrics to measure
LUMA’s performance during a Major Outage Event. For the purposes of the T&D OMA and Major
Outage Event Performance Metrics, a Major Outage Event is defined as:128
         “Major Outage Event” means an event as a result of which (i) at least two hundred
         and five thousand (205,000) T&D Customers are interrupted for more than 15

128 As stated in Section 2.8 of Request for Authorization to Submit Revised Pre-Filed Testimony of Melanie Jeppesen, Second
    Amended Revised Annex IX to the OMA, and Redline of Second Amended Revised Annex IX to the OMA In Re: Performance
    Targets for Luma Energy ServCo, LLC, Case No. NEPR-MI-2020-0025, September 24, 2021.
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         minutes or (ii) at any point in time during the event, there are one thousand five
         hundred or more (≥1,500) active outage events for the T&D System, which are
         tracked in the Outage Management System (OMS). The major outage event is
         deemed ongoing so long as the interruptions/outages continue to remain above
         the stated cumulative amounts, in each case for a period of twenty-four hours or
         longer (≥24) and are caused by an act of God. If such an act of God is a storm, the
         storm must be designated as a named storm by the U.S. National Weather Service
         or a State of Emergency declared by the Government of Puerto Rico. The major
         outage event shall be deemed to have ended when the cumulative number of T&D
         customers remaining interrupted falls below ten thousand (10,000) for a
         continuous period of eight (8) hours.
The T&D OMA Annex IX metrics for a Major Outage Event and a description of each metric are
included in Table 7.
TABLE 7: OVERVIEW OF T&D OMA MAJOR OUTAGE EVENT PERFORMANCE METRICS 129

Metric                                Description
1. Preparation Phase                  Completion of steps to provide timely and accurate emergency event
                                      preparation following an alert from U.S. National Weather Service or
                                      the company's private weather service, in accordance with the
                                      Emergency Response Plan, for an event expected to impact the
                                      company's service territory.

2. Downed Wires                       Response to downed wires reported by municipal public
                                      Officials
3. Damage Assessment                  Completion of preliminary damage assessment
4. Crewing                            50% of the forecast crewing [from mutual assistance] committed to the
                                      utility.
5.    Estimated   Time    of Estimated Time of Restoration for 90% of service outages (made
Restoration (ETR) for 90% of available by utility on web, IVR, to Customer Service Representatives
Service Outages              (CSRs), etc.)
6. ETR Accuracy for 90% of Regional ETR accuracy
Service Restoration        Municipal ETR accuracy
7. Municipality Coordination          Coordination with municipalities regarding road clearing, down wires,
                                      critical customers, etc.
8.Municipal        Emergency Coordination with municipal Puerto Rico Commonwealth and
Operation    Centers  (EOC) Federal EOCs.
Coordination   Puerto   Rico
Commonwealth/Federal EOC
Coordination
9. Utility Coordination               Coordination with other utilities (communications, water, etc.)
10. Safety                            Measure of any employee or contractor injured doing hazard work
                                      during storm/outage and restoration
11. Mutual Assistance                 Crew requests made through all sources of mutual assistance or other
                                      pre negotiated contracts with utility service providers


129 Subject to final PREB approval.
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Metric                                 Description
12. Call Answer Rates                  Customer calls answered by properly staffed call centers
                                       (use of IVR and other technology is an acceptable solution).
13. Web Availability                   Company’s website, specifically the section pertaining to outage impact
                                       and restoration, must be available around the clock during a major
                                       storm event and information must be updated hourly until final
                                       restoration. In the event no new information is available, the web site
                                       must display the last time and date that information was updated. The
                                       web site and/or section pertaining to outage impact and restoration
                                       may be taken offline for a short period during off peak hours to perform
                                       system maintenance.
14. PREB and Administrator Provide storm event information to PREB and Administrator (P3A) in
(P3A) Reporting            accordance with Electric Outage Reporting System guideline
                           requirements to be established in the ERP for LUMA.
15. Customer Communications Availability of press releases, text messaging, email and social media.
16.Outgoing         message        on Recorded message providing callers with outage information is
telephone line                        updated within two hours of communication of press releases.



       T&D OMA performance metrics revision cadence
Within LUMA’s Revised Annex IX submission, LUMA proposes that the performance metrics for
both normal operation and a Major Outage Event, as well as the baseline, target, and minimum
performance levels, remain through the third contract year. The draft Annex IX proposes five-
year revision cadence, however given the quality of the PREPA data and the speed of change
within the first Contract Years of the T&D OMA, LUMA proposed reviewing metrics prior to the
fifth contract year. Any changes to the performance metrics must be reviewed and may be
submitted to PREB for approval.

         Incentive Fee calculation approach
LUMA’s performance in the contract year as measured against the normal operation performance
metrics shall determine LUMA’s eligibility to the T&D OMA Incentive Fee. Each category of
metrics is allocated a percentage of the incentive compensation pool and each metric within the
category is assigned a certain number of base points. Customer service metrics and financial
performance metrics are allocated 25% of incentive compensation pool each while technical,
safety, and regulatory metrics are allocated 50%. If LUMA exceeds the minimum performance
level for a particular metric, LUMA may earn from 25% to 150% of the base point value for that
metric depending on the extent to which LUMA exceeds the minimum performance level. The
more LUMA exceeds the minimum performance level, the larger the multiplier on the base point
value. This process is repeated for all metrics and categories to determine LUMA’s overall point
score and the corresponding Incentive Fee.130 For the first contract year, performance levels will
be adjusted proportionately if the service commencement date occurs after the beginning of the
fiscal year.



130 Further information on this process and an example Incentive Fee calculation can be found in the OMA at
    https://www.p3.pr.gov/wp-content/uploads/2020/06/executed-consolidated-om-agreement-td.pdf
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Finally, if any Major Outage Event (including a Major Outage Event that is a Force Majeure Event)
prevents LUMA from achieving one or more of the normal operation performance metrics, LUMA
is still entitled to earn the Incentive Fee for the period of the Major Outage Event as long as LUMA
achieves the Major Outage Performance Metrics during such period of time.




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Chapter 9. Operational Measures
        PREPA Operational Measures

      Overview
Operational measures defined in previous PREPA Certified Fiscal Plans remain imperative for the
transformation of Puerto Rico’s energy sector. Together, these measures span all aspects of the
energy service value chain – generation, transmission and distribution, and customer service –
and address chronic issues in electric service reliability, safety, sustainability, and affordability.
Consistent with requirements set forth in PROMESA Section 201(b) and guidance provided by
the Oversight Board, PREPA, as a covered territorial instrumentality, is required to identify and
describe operational improvements necessary or beneficial to achieve its fiscal targets and
advance the energy sector transformation goals described in Chapter 3 (Transformation). The
Certified Fiscal Plan broadly defines “operational measures” as groups of projects or activities that
share a common theme and are targeted at revenue enhancement, expense savings and/or
performance improvements. PREPA must continue working on implementing multiple measures
for its remaining operations, as it works with P3A to achieve the Commonwealth Government’s
vision and the Certified Fiscal Plan’s requirements FY 2022.

      Key Accomplishments for FY 2022
Over the course of the past fiscal year, PREPA made progress towards several key operational
measures as part of its transformation. However, much work remains to be done to complete other
operational measures across PREPA’s generation assets and T&D System. Highlights of key
accomplishments are presented below.
■   Fuel Procurement: At the beginning of FY 2022, PREPA issued RFPs for both diesel and
    bunker-C and completed the evaluation and selection process by the end of September and
    October, respectively. Both RFPs attracted considerable market interest and resulted in
    improved terms to PREPA when compared to prior agreements

    • On October 29, 2021, PREPA executed a $606 million fuel contract with Puma Energy
      Caribe LLC for bunker-C fuel. The contract price adder in the competitively procured
      agreement represents an ~33% price reduction compared to the previous bunker-C fuel
      supply contract.

    • On November 18, 2021, PREPA executed a $265.5 million diesel fuel supply contract with
      Novum Energy Trading Inc. The contract price adder in the competitively procured
      agreements represents a 19% savings when compared to the terms provided by the previous
      diesel supplier, Puma Energy Caribe LLC, which was PREPA’s sole provider of diesel fuel
      since 2014.
■   Renewable PPOA procurement: Although the process is delayed, PREPA selected 18
    projects that represented savings when compared to prior pricing terms achieved through
    non-competitive means. However, all these projects are still pending final negotiations and
    execution and have not commenced construction.

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      Overview of PREPA Initiatives for FY2023
As LUMA continues to advance remediation and transformation of the T&D System, and as the
new Legacy Generation operator begins its transition period, PREPA must continue to implement
interim initiatives on generation asset-related initiatives, Title III-related financial reporting and
implementation requirements, and support of Legacy Generation P3 and reorganization efforts
needed to complete the transformation objectives.
TABLE 8: FY2023 INITIATIVES

   FY2023 Initiative Category                                 Initiative List
 1) Renewable Procurement            1.1 Renewable Generation & Battery Storage RFP
                                     2.1 Fuel Needs and Cost Analysis
 2) Fuel Supply                      2.2 Diesel Fuel Supply Contract
                                     2.3 Bunker Fuel Supply Contract
                                     3.1 Federally Funded Generation Capacity
 3)Generation      Repair      and   3.2 San Juan Repairs
 Maintenance                         3.3 Plant Maintenance Program
                                     3.4 Environmental Regulatory Compliance Program
 4) Pension Reform                   4.1 Pension Plan Reform Implementation
 5)PREPA Reorganization        and   5.1 Legacy Generation P3 Transition
 Legacy Generation P3                5.2 PREPA Reorganization Implementation

 6) Net Metering Program             6.1 Study on Net Metering and DG


9.1.3.1 RENEWABLE PROCUREMENT
In PREB’s final order on the IRP, it ordered PREPA to develop and execute a plan to procure
renewable generation and battery storage in a series of six (6) tranches. On February 22, 2021,
PREPA issued an RFP for up to 1,000 megawatts of renewable power production and up to 500
MWs of battery storage, incorporating recommendations from PREB and the Oversight Board.
The RFP solicits proposals for the design, construction, installation, ownership, operation, and
maintenance of renewable energy resources, energy storage resources, and VPPs for sites across
Puerto Rico and for a service period of up to 25 years. On February 2, 2022, PREB approved 18 of
the solar PPOAs recommended by the Evaluation Committee.
As it relates to the Tranches 2 through 6, PREB has not yet clarified the timeline for issuance of
these tranches nor certain key details on process. On June 9, 2022, PREB issued a resolution and
order establishing PREPA and LUMA’s respective roles in any future tranche. Some of PREPA’s
responsibilities include, but are not limited to: (a) Select one (1) PREPA Governing Board
member, selected from the members appointed by the Governor at his sole discretion to form part
of the Selection Committee; (b)Provide guidance and input to the Energy Bureau and PREB-IC
concerning the lessons learned of Tranche 1 to ensure they are incorporated in future tranches;
(c)Provide legal advice and resources in ensuring the RFP documents, including the PPOAs to be
included as part of the RFP and final contracts execution. On the other hand, the roles and duties
of LUMA include, but are not limited to: (a) Select one (1) LUMA officer, with knowledge and/or
experience in similar transactions, to form part of the Selection Committee; (b) Provide any data
and information required by the PREB-IC; (c) Provide guidance and input to the Energy Bureau
and PREB-IC concerning the lessons learned of Tranche 1 regarding interconnection studies,
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system impacts and other related technical matters to ensure they are incorporated in future
tranches. Finally, PREB also reiterated that any final decisions required during the RFP process
shall be determined by the PREB and that PREPA and LUMA’s roles shall in no manner delay the
RFP process.131
TABLE 9: RENEWABLE PROCUREMENT – REVISED POTENTIAL TIMELINE

Projects                  #    Milestones                                                              Proposed Deadline
Renewable Generation 1         Execute Tranche 1 RFP PPOA’s approved by PREB and FOMB                  Q1 FY2023
& Battery Storage RFP
                      2        Issue RFP for Tranche 2                                                 Q1 FY2023
                          3    Issue RFP for Tranche 3                                                 Q3 FY2023
                          4    Issue RFP for Tranche 4                                                 Q1 FY2024
                          5    Issue RFP for Tranche 5                                                 Q3 FY2024
                          6    Issue RFP for Tranche 6                                                 Q1 FY2025


9.1.3.2            FUEL SUPPLY
PREPA’s current Light Distillate No. 2 Fuel Oil (“diesel”) and bunker fuel (“HFO”) supply and
delivery contracts expire on October 29 and November 18, 2022, respectively, but include an
optional one-year extension under the same terms and conditions as the current contracts. In
light of this, prior to issuing an RFP for future diesel and HFO contracts, PREPA must analyze
whether a competitive procurement process is expected to yield more favorable results than those
that PREPA would maintain if it elected to extent the existing agreements. Should PREPA
conclude a competitive procurement process would be most beneficial, it must endeavor to begin
such process as early as possible, as reflected in Table 10 below.
TABLE 10: FUEL SUPPLY ACTION PLAN

Projects                  #    Milestones                                                              Proposed Deadline
Diesel Fuel Supply        1    Begin Fuel Needs & Cost Analysis                                        May 2022
                          2    Begin competitive process to award a new contract for diesel fuel June 2022
                               supply, if determined to be in PREPA’s best interest.
                          3    Finalize competitive process to award a new contract for diesel September 15, 2022
                               fuel supply, if determined to be in PREPA’s best interest.
                          4    Finalize agreement with selected supplier and seek approval to October 31, 2022
                               execute the contracts with the PREPA Governing Board and the
                               Oversight Board
                          5    Current contract expires                                                November 18, 2022
                          6    Commence new contract                                                   November 19, 2022
Bunker Fuel Supply        1    Begin Fuel Needs & Cost Analysis                                        May 2022
                          2    Begin competitive process to award a new contract for bunker fuel June 2022
                               suppliers, if determined to be in PREPA’s best interest




131 Resolution and Order, Roles of PREPA and LUMA in the Procurement Process for Upcoming Tranches, In Re: The
    implementation of the Puerto Rico Electric Power Authority integrated resource plan and modified action plan, Case No. NEPR-
    MI-2020-0012, June 9, 2022
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Projects            #    Milestones                                                    Proposed Deadline
                    3    Finalize agreement with selected supplier and seek approval to August 31, 2022
                         execute the contracts with the PREPA Governing Board and the
                         Oversight Board
                    4    Current contract expires                                      October 29, 2022
                    5    Commence new contract                                         October 30, 2022


9.1.3.3 GENERATION PLANNING AND MAINTENANCE
During FY 2023, PREPA will undertake measures to execute on critical maintenance work for
generation plants and implement performance improvement projects. PREPA’s necessary
maintenance plan for FY2023 was prepared against the backdrop of the forced outages and
ensuing blackouts during 2021 that impacted nearly all of Puerto Rico, along with recent ongoing
outages, including the most recent island-wide blackout in early April 2022, as well as ensuring
that the legacy generation system can achieve a minimum level of reliability, stability, compliance,
and ability to maintain sufficient reserves to avoid severe outage incidents.
PREPA’s Governing Board, approved an emergency declaration on October 8, 2021 authorizing
the use of emergency procurement procedures to: (i) address immediate repairs; (ii) support
scheduled maintenance programs; and (iii) maintain necessary reserves to avoid future major
plant outages.

EXHIBIT 45: REVISED & UPDATED MAINTENANCE SCHEDULE
                                       GenCo’s Outage Schedule
       Unit     Capacity                               Outage Schedule Timeline
SJ CC 5           2020       NA
SJ CC 6            220       NA
SJ 7               100       March 2023 – June 2023
SJ 8               100       November 2022 - January 2023
SJ 9               100       October 2022 – November 2022
SJ 10              100       NA
PS 3              6216       January 2023 – April 2023
PS 4               216       May 2023 – June 2023
CS 5               410       November 2022 – February 2023
CS 6               410       May 2023 – June 2023
AG 1               450       NA
AG 2               450       March 2023 – April 2023


One of the key areas of focus for planned maintenance for FY2023 is the projects at the San Juan
Combined Cycle Power Plant, units 5 and 6, which are PREPA's most modern base load units with
the capability to burn diesel or natural gas. Both units supply roughly 35% of load for the north
region and 15% for the rest of the island with efficient, environmentally compliant, and reliable
energy. These units are fueled with natural gas, which offers a reduction of 90% in SO2 emissions
rates compared with diesel fuel oil within an area classified by the U.S. Environmental Protection

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Agency (EPA) as a non-attainment area. Potential emissions from other pollutants such as PM,
PM10, PM2.5, H2SO4, NOx, and CO were also reduced due to the implementation of the San Juan
5 and 6 natural gas conversion, and the emission limits accompanied by these efforts. The
reliability and availability of San Juan Units 5 and 6 is critical to maintain a stable and efficient
electrical system. By running San Juan Units 5 and 6 at higher capacity factors with natural gas,
PREPA has been able to reduce its reliance on other generating units that consume heavy fuel oil,
yielding additional emissions reductions. With these units, PREPA can achieve significant
reductions in air emissions, at lower generation costs.
PREPA is planning to perform major maintenance and repairs on San Juan unit 6 during FY 2023,
after the peak summer months have passed. Furthermore, PREPA plans to complete the necessary
Installation of Modules D & E, Heat Recovery Steam Generator and the Supply and the
Installation (Replacement) of the Online Condenser Cleaning System of Unit 5.
PREPA’s maintenance plan will also address the Hydrogas and Cambalache Division power
plants, which includes the 220MW of capacity at Mayagüez, 248MW of capacity at Cambalache
(165MW excluding Unit1), and 378MW of capacity from the 18 Frame 5 peaking and emergency
backup units distributed across the island at various power plant complexes and distributed
peaking facilities. PREPA routinely faces capacity limitations and a total lack of availability at
these power plants, and units, which are responsible for immediate emergency response and
electrical grid restoration during load sheds and after blackouts. Greater availability of these units
could have mitigated or avoided altogether the most recent blackout event that occurred starting
on April 6, 2022. PREPA FY 2023 Generation NME Budget includes major inspection,
maintenance, and repairs at most of the Division’s facilities, including annual costs of the LTSA
for Cambalache and specific projects for maintenance of Mayagüez and the 18 Frame 5 peaking
units. Maintenance and repairs costs at Mayagüez also include expansion of water
demineralization capacity to ensure adequate production availability for the full plant operation.
Natural Gas Generation
PREPA is evaluating the use of federal funding to install new base load gas powered generation in
the North of the island to improve reliability, allow for orderly integration of renewables, and
lower overall generation costs for the benefit of Puerto Rico. PREPA is also evaluating the
expansion of certain units’ capability to use natural gas with federal funding. To that end, on
February 11, 2022, PREPA submitted a motion before PREB titled Petition for Leave to Conduct
Works in PREPA’s Steam Units to Achieve Environmental Regulatory Compliance, on PREB
docket no. NEPR-MI-2021-0002.
PREPA is seeking leave from PREB to pursue the conversion of San Juan units 7-10 to natural gas
as a potentially necessary step to achieve attainment with the 2010 1-Hour SO2 National Ambient
Air Quality Standard (NAAQS) in the San Juan air district. Doing so would enable PREPA to avoid
costly sanctions and achieve compliance with the Mercury and Air Toxics Standards (MATS)
required by EPA, 40 CFR 63 Subpart UUUUU - National Emission Standards for Hazardous Air
Pollutants. The MATS became effective on April 16, 2012, at the San Juan site, if the IRP
renewable deployment schedule is delayed.




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9.1.3.4 PENSION REFORM
Please refer to Chapter 15 (Pension Reform) for a detailed discussion regarding the challenges
faced with PREPA's employee retirement system
9.1.3.5 PREPA REORGANIZATION AND LEGACY GENERATION P3
To achieve Puerto Rico’s energy system transformation, a change in PREPA’s historical roles and
responsibilities and their reassignment through multiple entities is imperative. Accordingly,
PREPA’s vertically integrated operations to be disaggregated into Generation and T&D utility
functions – GenCo and GridCo, respectively. GenCo is comprised of existing PREPA-owned
generation resources that are to be operated and maintained by one or more private operators
until their retirement, as mandated by Act XX-XXXXXXX and outlined in PREPA’s approved
Integrated Resource Plan. In addition to the selection of LUMA as the T&D operator, Puerto Rico’s
transformed energy sector also rests on the GenCo private operator(s) as the party responsible
for, among other activities, the operation and maintenance of existing PREPA-owned generation
resources, environmental compliance, safety, and plant retirement and decommissioning.
Additionally, the private operator(s) will be responsible for working closely with LUMA to ensure
appropriate short-, mid-, and long-term system planning and timely and efficient execution of
system-wide capital improvements. As such, on November 10, 2020, the P3A issued a RFP to
select one or more private operators for PREPA’s existing generation assets. (See Chapter 3)
In addition to the measures outlined above, PREPA must play an integral role in the Front-End
Transition to the legacy generation P3 O&M service provider in FY 2022, in accordance with the
milestones and requirements specified in the O&M agreement. In FY2023, PREPA must continue
to advance and complete corporate reorganization activities (see Table 11 below for objectives and
milestones).

TABLE 11: GENERATION FRONT-END TRANSITION AND REORGANIZATION PLAN
                                                                                                    Proposed
Projects                #                   Milestones                                              Deadline
Front-End            1                      Formation of teams and development of plans to prepare July 1, 2022
Transition to Legacy                        the organization for financial, operational, and legal
Generation        P3                        transition
Service Provider     2                      Complete all other conditions and requirements before TBD133
                                            Service Commencement Date
PREPA               1                       Submit subsidiaries for approval by PREB                July 31, 2022
Reorganization Plan                         PREB to issue its determination on the creation of the August 30, 2022
                    2
Implementation                              subsidiaries
                        3                   Submitting an updated work plan with detailed dates August 30, 2022
                                            and workstreams.
                        4                   Finalize the creation of the subsidiaries: GenCo, GridCo, August 30, 2022
                                            HydroCo, PropertyCo and HoldCo (including defined
                                            roles and responsibilities)
                        5                   Finalization and execution of the GGHOA                 September 30, 2022
                        6                   Transferring of Assets (capital agreements)             February 28, 2023



132 The Puerto Rico Energy Public Policy Act, Act No. 17 of April 11, 2019
133 Subject to the milestones for service commencement once the OMA is signed.
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9.1.3.6 STUDY ON NET METERING AND DISTRIBUTED GENERATION
As provided in Act 114-2007, as amended by Act 17-2017, existing customers who have installed
distributed generation (i.e. rooftop solar) systems and who participate in the net metering
program are entitled to receive a credit for the excess energy exported to the grid that is equal to
the cost of the energy purchased from the grid. On other words, the energy exported to the grid is
purchased by LUMA at the same price (the prevailing retail electricity rate) as the energy
purchased by the customer from LUMA. Under Act 17-2019, this same compensation and credit
structure will apply to new net metering customers, at least until April 11, 2024 (5-years from the
enactment of Act 17-2019), and until PREB concludes a study on net metering and distributed
energy and issues a determination establishing a new net metering compensation and crediting
structure.
While renewable DG provides unquestionable benefits to rooftop solar customers and the system
as a whole, a sub-optimal net metering program may have unintended detrimental effects and
risks an unequitable distribution of costs throughout the system. Similarly, by requiring LUMA
to purchase the excess energy produced by net metering customers at the prevailing energy rate,
the effective cost to ratepayers of the renewable energy generated by net metering customers may
be higher than the cost of purchasing that same quantity of electricity from other resources. As of
June 2022, LUMA was required to pay $0.28 for each kWh of energy exported to the grid by net
metering customers, a cost that is then passed on, on whole or in part, to all other remaining
customers.
Accordingly, as required by Act 17-2019, PREB must commence the net metering and distributed
generation study contemplated in Section 4 of Act 114-2007, as amended by Act 17-2019, which
study must be concluded by June 30, 2023. Thereafter, PREB must initiate a process for
implementing the conclusions and recommendations of the study and updating a net metering
compensation and crediting structure, which process must be concluded on or before April 11,
2024, with the updated net metering structing coming into effect on that same date.

TABLE 12: STUDY ON NET METERING AND DISTIRBUTED GENERATION
                                                                              Proposed         Responsible
    Projects          #                     Milestones                        Deadline            Party
Study   on    Net 1       Conclude study on net metering and distributed June 30, 2023            PREB
Metering and DG           generation required by Section 4 of Act 117-2007, as
                          amended by Act 17-2019
                  2       Conclude administrative proceeding to establish On or before April      PREB
                          updated net metering compensation and crediting 11, 2024
                          structure
                  3       Implement updated net metering compensation and April 11, 2024          PREB
                          crediting structure


       LUMA Operational Measures
In April 2022, LUMA submitted its Annual Budgets and update to the SRP to PREB for approval.
These filings are closely interrelated and are aligned through LUMA’s Recovery and



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Transformation Framework. The Framework seeks to align T&D System O&M Services with
current Puerto Rico public energy policy.
The activities proposed within LUMA’s filings aim to improve safety for utility employees and the
people of Puerto Rico (including better training and safety equipment), improving customer
experience, including faster response and resolution times, greater service reliability, and overall,
more effective delivery of utility services. LUMA also anticipates it will complete significant
remediation and improvement work to the utility grid across Puerto Rico, while driving
operational excellence through system measures. Further, the activities described in LUMA’s
filings will lay the groundwork for grid modernization, digital transformation, and renewable
energy integration called for in Act XX-XXXXXXX, as well as this and prior Certified Fiscal Plans, and
outlined in the Modified Action Plan of PREPA’s Integrated Resource Plan (IRP).
The information presented below is a summary of the initiatives included in LUMA’s Annual
Budgets and SRP. LUMA’s improvement programs have been organized into portfolios of similar,
interdependent programs that together cover all functional areas of the utility. The following
overview describes the seven (7) portfolios at a high level.
The customer service portfolio includes a set of programs to improve customer service
through modernized customer service technology, improve billing systems, implement advanced
metering infrastructure, establish a “Voice of the Customer” program, and upgrade and replace
distribution streetlights.
The distribution portfolio includes improvements to the distribution system, including
overhead and underground distribution line rebuilds, pole and conductor repairs, system
inspections, spot repairs and replacements as needed, and implementation of technology that
enables better planning.
The transmission portfolio includes improvements to the transmission system, including line
rebuilds and hardening, priority pole replacements, system inspections and spot repairs with
replacements as needed, and improved transmission monitoring systems, as well as
telecommunications investments to improve first responder and emergency response
communication and centralized monitoring and control.
The substations portfolio includes investments to rebuild, harden, and modernize
transmission and distribution substations, including physical security upgrades, and studies to
eliminate major cascading outages and ensure system compliance with codes and regulations.
The control center & buildings portfolio includes investments in rebuilding damaged
facilities, upgrading security systems, and implementing energy and advanced distribution
management systems that enable renewable energy, demand response, and battery storage
integration and dispatch.
The enabling portfolio includes a number of safety and operational excellence programs and
initiatives including the provision of new tools and Personal Protective Equipment (PPE), skills
and safety training for all employees, a new program management office to plan and execute large




134 The Puerto Rico Energy Public Policy Act, Act No. 17 of April 11, 2019.
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capital projects, a new data system to manage T&D asset data, and vegetation and fleet
management.
The support service portfolio includes cross-functional programs that service all
departments, such as Human Resources (HR), IT / OT, and finance. This portfolio also includes
studies on renewables integration and minigrids.
More details on the improvement portfolios, including a summary of annual spending estimates
for each portfolio for FY 2022 through FY2024, are provided in Chapter 7 (LUMA Improvement
Portfolios).
As part of LUMA’s obligations under the T&D OMA, LUMA has assumed reporting of certain
statistics related to the T&D System and system planning. LUMA reports these statistics along
with PREPA’s generation related statistics to PREB quarterly as part of PREB’s review of the
Performance of the Puerto Rico Electric Power Authority within docket NEPR-MI-2019-0007.
Since commencement, LUMA’s implementation of improvement programs described within the
seven portfolios and in Chapter 7 (Improvement Portfolios), has resulted in several improvements
to system statistics include faster customer service with wait times both for customers visiting one
of LUMA’s 25 customer service centers and for those calling one of LUMA’s on-island customer
contact centers. LUMA answered calls 94% faster than the first quarter of FY 2022 and reducing
wait times at customer service centers by 25%. Further, during the second quarter of FY 2022,
LUMA received 44% fewer customer complaints, the lowest number in Puerto Rico since Act57-
2017 complaints started to be recorded. LUMA has also put into service more than 590 vehicles
enabling crews to attend outages quicker and have provided modern and functional tools and
personal protective equipment for its employees as well as over 50,000 hours of safety and
technical training for LUMA employees to enable them to perform the work safely and more
effectively.




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Chapter 10. Legal and Regulatory Structure
         Overview of Regulatory Structure and Key Legislation
Historical Context
For much of its history, PREPA was structured as an unregulated monopoly, it did not have a
strong, independent third-party regulator. The successful transformation of Puerto Rico’s energy
sector into a safe, reliable, affordable, and modern system depends on the presence and active
involvement of a rational, politically independent, and professionally supported regulator. The
utility industry has long recognized that an independent regulator is critical to overseeing the
performance of utility energy service providers and protecting the interests of consumers. The
regulator plays a vital role in ensuring that: (i) energy rates are just and reasonable; (ii) targets
for quality of service, efficiency improvement, and renewable resources are met; and (iii) capital
spending programs are implemented on time and budget.
The Puerto Rico Energy Bureau (PREB) was established by Act 57-2014 as an independent and
professional regulatory body to promote and enable the transparent implementation of Puerto
Rico’s energy policy. Act 57-2014 also established standards and procedures for PREB to assess
and approve electricity rates, requiring that rates be “just and reasonable, as well as consistent
with sound fiscal and operational practices which result in a reliable service at the lowest
reasonable cost.”135
As Puerto Rico’s energy sector continues its transformation into a reliable, sustainable, modern
and efficient system, PREB will be responsible for promoting prudent investments, assuring
increased quality of service to customers, and ensuring industry trends and technological
advancements are appropriately incorporated into Puerto Rico’s energy system.136 To fully
achieve its purpose, PREB must remain financially and operationally independent from the
Commonwealth Government and its determinations must be free from any direct or indirect
political influence or interference.
Several legislative acts have strengthened the regulatory framework and empowered PREB with
greater authority and independent administrative budget, setting forth ambitious goals for private
sector operations and revitalization of the energy sector.
Act 17-2019
Act 17-2019 established a comprehensive energy policy that sets forth aspirations for the
transformation of Puerto Rico’s electric sector and establishing regulatory guidelines for the
realization of these goals. Key tenets and requirements of the Act include:
■   Unbundling – Functional Reorganization: The Act requires the unbundling of the
    electric system through the transfer of operation and maintenance responsibilities of PREPA’s
    transmission and distribution (T&D) and generation assets to private operators, thereby
    ending PREPA’s existing vertically integrated monopoly.



135 Act 57-2014, as amended.
136 Ibid.
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■    System modernization and renewable energy: Along with promoting grid resiliency
     through the development of microgrids for critical loads and facilities, the Act strongly
     promotes renewable energy and distributed generation. It updates Puerto Rico’s Renewable
     Portfolio Standard (RPS) (e.g., 40% by 2025, up from 20%; 60% by 2040, and 100% by 2050),
     allows faster permitting and interconnection for residential renewable projects, and mandates
     the elimination of coal-fired generation by January 1, 2028.
■    Expanded PREB authority under Puerto Rico law: The act confirms PREB’s role as an
     independent, apolitical regulator and expands its authority to (i) establish mechanisms for
     imposing incentives/penalties, (2) exercise a high degree of scrutiny over the maintenance of
     the electric network, (3) require reporting on the state of the electricity systems, and (iv) use
     alternative mechanisms to regulate tariffs based on service costs. The act also delineates
     PREB’s annual budget of $20 million and makes it clear that this budget is not subject to
     executive or legislative approval. In addition, PREB is currently mandated to transition from
     its current employee structure to one with no less than 75% civil servant employees and no
     more than 25% trust employees.137
PREB’s Organizational Structure
Although administratively located within the Public Service Regulatory Board (PSRB), PREB is a
functionally independent entity (Exhibit 46). PREB is comprised of five commissioners and
makes decisions with majority approval. Commissioners are appointed by the Governor with the
advice and consent of the Puerto Rico Senate and serve staggered terms.138 Commissioners must
meet certain requirements relating to professional education and experience to hold their position
and can only be removed for just cause.

EXHIBIT 46: PREB REGULATORY STRUCTURE




137 See Act 17-2019, Section 5.13 amending Section 6.7(k) of Act 57-2014.
138 PREB has its full slate of five commissioners, including the Chairman, in place. Under Act 57-2014, as amended, the terms are:
    The Chairman shall hold office for six (6) years, two (2) commissioners for four (4) years; and two (2) commissioners for two (2)
    years. The successors of all commissioners shall be appointed for six (6) year terms.
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         Key Regulatory Issues
PREB’s statutory mandate as an independent regulator is to promote an efficient, reliable,
resilient, and customer-responsive energy system. As such, PREB’s primary responsibilities
include (1) rate setting, (2) Integrated Resource Plan (IRP) approval and compliance, (3)
protecting the interests of customers and consumers, and (4) ensuring workforce safety.
Pursuant to its enabling act, as amended, PREB is responsible for the oversight and
implementation of Puerto Rico’s energy public policy, including the various transformations
currently under way with PREPA’s T&D System and the legacy generation assets. Some of PREB’s
more important responsibilities include:
■   Oversight & Execution – exercising direct oversight responsibilities of, and ensuring
    execution by, all energy market participants (including the T&D operator, operators of
    existing generation assets and current and new independent power producers, etc.) to ensure
    full compliance with energy public policy goals as mandated by law. This includes (a)
    overseeing the quality and reliability of the electric power services provided by PREPA, LUMA,
    and any other electric power company certified in Puerto Rico, and (b) formulating and
    implementing strategies to achieve the objectives of Act 57-2014 as amended by Act 17-2019,
    including, but not limited to, reducing and stabilizing energy costs permanently, controlling
    volatility in the price of electricity in Puerto Rico, and ensuring that prices are fair and
    reasonable, consistent with the public interest, and compliant with the parameters established
    by PREB through regulations.
■   Rates and Resource Planning – reviewing rates and approving those found to be just and
    reasonable, ensuring expenditures in the energy system are prudent and consistent with
    energy public policy, and ensuring appropriate long-term resource planning through the
    periodic review and updates of IRPs and other capital investment plans.
■   Transparency – requiring any electric power service company certified in Puerto Rico to
    keep, maintain, and regularly submit to PREB those records, data, documents, and plans that
    are necessary to attain the public policy objectives of Act 57-2014, as amended by Act 17-2019.
■   Renewable energy portfolio standards – supporting investments in generation and
    related resources directed at reaching Puerto Rico’s RPS of 40% by 2025, 60% by 2040, and
    100% by 2050. Following PREPA’s delay in conducting the renewable energy resource
    procurement processes, PREB will also execute the second tranche and future renewable
    generation procurements through an independent coordinator.139
■   Net metering – establishing and periodically updating Puerto Rico’s net metering program
    so that it both promotes cost-effective investment in renewable energy systems and ensures
    appropriate recovery of costs among customer classes.
■   Wheeling and cost unbundling – establishing and enforcing the rules and regulations for
    the unbundling of PREPA costs and the proposal of new industry structures to introduce
    competition among generators to provide services, primarily to large industrial customers.



139 PREB Resolution & Order issued on October 29, 2021. See NEPR-MI-2020-0012.
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■   Contributions in lieu of taxes (CILT) – ensuring full compliance by PREPA and the
    municipalities with the establishment of CILT-eligible consumption levels and the billing,
    collection, and payment of amounts relating to electricity consumption by municipalities in
    excess of the CILT-eligible consumption levels. On October 22, 2020, PREB completed and
    approved the study for the Puerto Rico Legislature on alternatives for optimizing the value
    and benefits of the CILT structure to municipalities and PREPA, as required by Act 17-2019.
    PREB completed and approved the study for the Puerto Rico Legislature on alternatives for
    optimizing the value and benefits of the CILT structure to municipalities, as required by Act
    17-2019.140
■   Energy Efficiency (EE) – adopting regulation to establish framework promoting the
    adoption of energy efficiency measures in a manner that enables Puerto Rico an opportunity
    to reach the goal of thirty percent (30%) cumulative reduction in energy usage from energy
    efficiency by 2040 compared to PREPA’s FY 2019 net utility sales, using an array of energy
    efficiency programs that will be available to all customer classes, including municipalities.
    PREB adopted a regulation for Demand Response (DR) on December 10, 2020, and EE on
    January 21, 2022. The adopted DR and EE regulations utilize similar program approaches for
    development, administration, implementation, and funding. PREB has resolved that LUMA
    should launch pilot programs no later than July 1, 2022. Formal first three-year EE Plans shall
    be filed triennially on March 1 and cover three-year periods, beginning on March 1, 2024.
    Currently, PREB is the power sector’s regulator and obtains its powers from the Legislature.
    The Oversight Board has ultimate responsibility under PROMESA on Certified Fiscal Plan and
    budget issues for the Commonwealth, PREPA, and other covered territorial instrumentalities.
    PROMESA provides the Governor and Legislature may not enact or implement any statute,
    regulation, policy, or rule that impairs or defeats the purposes of PROMESA as determined by
    the Oversight Board. Because PREB is a territorial entity, it is subject to the same constraints
    as state agencies and public corporations. Therefore, in the event PREB’s actions impair or
    defeat PROMESA’s purposes, as determined by the Oversight Board, the Oversight Board can
    enforce PROMESA’s constraints by directing PREB and seeking judicial intervention when
    necessary. To ensure PREB becomes a best-in-class regulator, the Oversight Board has
    included a few structural changes in the 2022 Commonwealth Certified Fiscal Plan.141

         Guiding Principles for Ratemaking
To achieve an optimal rate structure, PREB is required by law to consider the following non-
exhaustive set of guiding principles for Ratemaking:142
■   Just & Reasonable: PREB must ensure that rates are just and reasonable and consistent
    with sound fiscal and operational practices which result in a reliable service at the lowest
    reasonable cost




140 Investigation Into Contribution in Lieu of Taxes. Case No. NEPR-IN-2019-0003, October 22, 2020.
141 2022 Commonwealth Certified Fiscal Plan, Chapter 10, “Power Sector Reform”
142 PREB’s authority to review rates and approve modifications or temporary adjustments are established under Section 2.8 of Act
    57-2014, which amends Section 6(B) of Act 83-1941.
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■   Fiscal responsibility: Rates must be sufficient to cover payment of, among other things,
    fuel and purchase power costs, and the costs of electric utility operations, including operating
    costs, capital requirements, and other obligations.
■   Affordability: The Ratemaking process should account for customer socioeconomic factors
    (e.g., consideration of subsidies and other cost-allocation measures).
■   Cost causation/cost of service allocation: Customer electricity rates are based on the
    cost of providing service to a specific type or class of customer, except where otherwise
    mandated by law (e.g., subsidies for low income, hotels, senior citizens).
■   Transparency: Rate components and calculation methodology must be clearly
    communicated (fixed monthly and volumetric customer consumption), providing customers
    with detailed information on the costs covered by rate components.
■   Policy alignment: Customer behavior is incentivized to be consistent with energy public
    policy (e.g., promote improvements in energy efficiency, reward customers for reliability
    benefits associated with customer-owned resources, encourage achieving renewable portfolio
    standards).

         PREPA’s Current Rate Structure
The current rate structure was established and approved within PREB’s Resolution and Order in
case CEPR-AP-2015-0001 dated January 10, 2017143. The Initial Budgets, and the now proposed
Annual Budgets filed by LUMA with P3A and PREB on April 1, 2022, were within the limits of the
base rate approved by PREB and implement methodologies consistent with riders associated with
the 2017 Rate Order. LUMA is not seeking a base rate increase or revision in connection with or
because of the LUMA Annual Budgets. The 2022 Certified Fiscal Plan’s FY2023 through FY2025
expense forecast reflects LUMA’s Annual Budgets as proposed to P3A and PREB on April 1st,
2022.
Overview of PREB-Approved Rates
The 2017 rate order establishing PREPA’s new rate structure marked a meaningful step toward
greater transparency by separating CILT and subsidy riders from the fuel and purchased power
rate components. In FY2023, the projected rate components 5% for CILT and other subsidies,
24% for base rate, including utility operating and maintenance costs, and 71% for power
generation costs (




143 Amended in part and affirmed in part on March 8, 2017.
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EXHIBIT 47).




EXHIBIT 47: FY 2023 OVERALL RATE COMPOSITION




Significant work remains to achieve a rate structure that covers relevant operational,
maintenance, and capital expenditures for the benefit of customers and consumers while also
encouraging sustainable economic development. The regulatory reform that has been set in
motion will allow Puerto Rico’s electric system to better serve its customers reliably and cost
effectively.

       Overview of CILT Reform
The Government of Puerto Rico has made significant changes in the treatment of the CILT by
enacting Act 57-2014 and Act 4-2016. Under the revised rate structure, PREPA recovers the cost
of CILT via the CILT and a subsidies rider on customer bills. The CILT rider provides greater
transparency and accountability for customers and establishes incentives for improved municipal
energy efficiency. Any additional reductions or amendments would require further legislation.
Actions taken to implement CILT reform include the following:


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    •    Transparent billing: CILT costs are shown as a separate line item in customer bills.
    •    New treatment for ineligible service accounts: Removed municipal for-profit and
         other ineligible entities from receipt of the CILT electric service credit.
    •    Municipal consumption cap: Legally established total consumption (kWh) cap was
         implemented during FY 2017 on the municipal CILT per municipality and reduced by 15%
         over following three fiscal years (5% each year).
    •    Energy efficiency incentives: A mechanism that promotes energy efficiency and
         additional savings above the mandated total consumption cap imposed on municipalities
         by Act 57-2014; municipalities would receive a payment from PREPA for the value of the
         difference between the mandatory total consumption cap and actual consumption, which
         would only be payable if all municipalities, in the aggregate, comply with their respective
         caps.
In FY 2021, the CILT rider amounted to approximately 2% of the average customer rate.

    •    Excluded Consumption and Consumption Above the Consumption Cap: In FY 2017, the
         first year of the CILT consumption cap, municipalities’ consumption in excess of the
         eligible consumption cap and consumption at ineligible (e.g. “for-profit”) facilities was
         approximately $20 million. In FY 2020, this figure declined to $17.0 million and declined
         further in FY 2021 to approximately $12.8 million.
    •    Eligible Consumption Below the Consumption Cap: The total cost of eligible municipal
         consumption declined from $81.0 million in FY 2017 to $63.9 million in FY 2020. Actual
         municipal consumption during FY 2020 was 279 million kWh, 23% below the cap of 363
         million kWh. During FY 2021, the eligible municipal consumption decreased further to
         $63.9 million and 271 million kWh, 25% below the cap.
Act 17-2019 required PREB to study “the implementation, effectiveness, cost-benefit,
reasonableness, and economic impact of the contribution in lieu of taxes (CILT)” to determine the
need for reform. Specifically, under Section 1.18 thereof, PREB was required to conduct a study
on the implementation, effectiveness, cost-benefit, reasonableness, and economic impact of the
CILT to determine the need and convenience, if any, of reforming this mechanism and the
subsidies. The results of this study were completed by October 2020 and published 144 and
submitted to both Houses of the Legislative Assembly for contemplation and consideration of any
necessary legislation145.
The key milestones completed for CILT reform are described in brief below:

    •    October 21, 2020: as required by law, PREB completed, and its commissioners
         approved, the study regarding the implementation, effectiveness, cost-benefit,
         reasonableness, and economic impact of CILT and other subsidies.
    •    December 15, 2020: PREPA completed development of a process to categorize properly
         municipal accounts as eligible or ineligible for CILT and has implemented the process for
         municipalities to pay for electricity consumption not covered by CILT and to file
         complaints related to CILT before PREB.



144 https://energia.pr.gov/wp-content/uploads/sites/7/2020/10/Resolucio%CC%81n-y-Orden-NEPR-IN-2019-0003.pdf
145 Act 17-2019, Section 1.18
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     The Role of PREB and Regulatory structure after T&D
transformation
Pursuant to Act 57-2014, as amended, PREB has jurisdiction over PREPA and all other electric
service companies operating in Puerto Rico. Act 17-2019 broadened PREB’s authority and
increased its budget substantially. Of particular relevance to the ongoing transformation efforts,
Act 17-2019 entrusts to PREB oversight responsibility for electric system planning and operation,
including the evaluation and approval of IRPs, and for approval of power purchase agreements
and of Partnership Contracts implementing the transformation process defined in Act 120-2018.
Under the T&D OMA, LUMA is the agent for PREPA in regulatory proceedings before PREB
related to T&D O&M Services and in making all relevant required filings and applications for
Governmental Approvals.146 For the avoidance of doubt, LUMA does not set the energy policy of
Puerto Rico. Furthermore, the T&D OMA requires LUMA to comply with the public policy and
regulatory framework for transforming the Puerto Rico electric system. LUMA is required to
interact, support, work, and comply with PREB on several processes and roles including, but not
limited to, (1) rate cases, (2) IRPs, (3) power purchase agreements (PPAs), (4) environmental
compliance, (5) energy efficiency mandates, (6) renewable portfolio standards, (7) resource
procurement (e.g., support through interconnection studies), and (8) customer complaints.
The T&D OMA further guarantees that PREB retains all rights, responsibilities or authority over
the T&D System, Owner, or Operator.147 PREB’s regulatory authority and oversight, as outlined
and summarized in this chapter, is and will continue to be, highly relevant for LUMA, and for any
other private operator that may be selected as part of the ongoing PREPA legacy generation O&M
public-private partnership. The safeguards provided by a strong, independent regulator like
PREB will remain firmly in place following the T&D transformation.

          Federal Environmental Law Requirements & Compliance
As an electric utility, PREPA must comply with different environmental laws and regulations,
including the Clean Air Act (CAA), which is the comprehensive federal law that regulates air
emissions from stationary and mobile sources. Among other things, this law authorizes EPA to
establish the national ambient air quality standard (NAAQS) to protect public health and public
welfare and to regulate emissions of air pollutants, including hazardous air pollutants.
Under Section 107(a) of the CAA, each state, territory, or local air district has the primary
responsibility for submitting a state implementation plan (SIP) for specifying the manner in
which NAAQS will be achieved and maintained within each of its air quality control regions. 42
U.S.C. § 7407(a). The CAA also requires that the EPA review and approve SIPs that meet the
requirements of the Act. In the case of Puerto Rico, compliance with the CAA requires the


146 Puerto Rico Transmission and Distribution System Operation And Maintenance Agreement, p. 66, Section 5.6: System
    Regulatory Matters. (a) General. From the Service Commencement Date and during the duration of the Term thereafter, Operator
    shall function as agent of Owner, and Owner hereby irrevocably authorizes Operator to (i) represent Owner before PREB with
    respect to any matter related to the performance of any of the O&M Services provided by Operator under this Agreement, (ii)
    prepare all related filings and other submissions before PREB and (iii) represent Owner before any Governmental Body and any
    other similar industry or regulatory institutions or organizations having regulatory jurisdiction.
147 "[N]otwithstanding anything to the contrary…, no provision of this Agreement shall be interpreted, construed or deemed to limit,
    restrict, supersede, supplant or otherwise affect, in each case in any way, the rights, responsibilities or authority granted to PREB
    under Applicable Law with respect to the T&D System, Owner or Operator." Section 20.17, OMA Agreement, p. 165.
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Department of Natural and Environmental Resources of Puerto Rico (DNER) to submit a SIP for
EPA’s approval in relation to the 2010 1-Hour Sulfur Dioxide (SO2) NAAQS.
The EPA designated the Guayama-Salinas and San Juan air districts as nonattainment areas for
the SO2 NAAQS, effective April 9, 2018. EPA’s nonattainment designation was based on SO2
modeling results from modeling performed on these air districts. On May 2016, the Government
of Puerto Rico decided to use the EPA’s approved air dispersion model (AERMOD) as the strategy
to demonstrate compliance with the SO2 NAAQS.
The air district of Guayama-Salinas includes part of the municipalities of Guayama and Salinas.
In the case of the San Juan air district, it includes the municipality of Cataño and part of the
municipalities of San Juan, Guaynabo, Bayamón, and Toa Baja. These air districts cover the area
where PREPA’s Aguirre, San Juan, and Palo Seco steam plants are located.
Given the nonattainment designation by EPA under the CAA, DNER must submit a final SIP for
EPA approval, which shall provide for attainment of the 2010 1-Hour SO2 NAAQS in the
Guayama-Salinas and San Juan nonattainment areas by April 9, 2023. The deadline to submit
the SIP to EPA was October 9, 2019. DNER missed the October 9, 2019, deadline, and on
November 3, 2020, EPA issued Findings of Failure to Submit (FFS) SIP Required for Attainment
of the 2010 1-Hour Primary Sulfur Dioxide (SO2) NAAQS, with an effective date of December 3,
2020. 85 Fed. Reg. 69,504 (Nov. 3, 2020). Per the RRS, there are certain deadlines that must be
met to avoid mandatory EPA-imposed sanctions.
According to the current Puerto Rico SIP process, EPA must determine completeness of DNER’s
SIP by June 3rd, 2022, to avoid the imposition of “2-to-1” offset sanctions in the nonattainment
areas. If the EPA does not determine that DNER has made a complete SIP submittal by June 3rd,
each new ton of SO2 emitted from any new or modified source in the nonattainment areas must
be offset by a two-ton reduction. In addition to PREPA’s power plants, the “2-to-1” offset sanction
applies to all facilities considered as emissions sources in the nonattainment areas. To achieve
compliance with EPA’s regulations, the “2-to-1” offset sanction will require that all owners and
operators of emissions sources in the nonattainment areas implement emissions control
measures, assuming a doubling of their actual emissions. This sanction would increment the
operational and maintenance costs of operating industrial and commercial facilities in the
nonattainment areas, affecting the economic development in these areas.
Furthermore, if EPA does not determine that the SIP is complete by December 3rd, 2022,
additional sanctions will apply, consisting of a moratorium on roads and highways funds for all
projects in the nonattainment areas (except for projects related to safety). In general, these
projects include new roads or improvements to existing roads and highways. Puerto Rico depends
on receiving federal funds for developing roads and highways projects, which can exceed $144
million annually. These federal funds or part of such funds would enter in a moratorium if the
SIP submitted by the DNER is not declared complete by December 3, 2022.
As part of the development of the SIP, the DNER has modeled the SO2 emissions in the Guayama-
Salinas and San Juan air districts and found that these areas cannot achieve attainment if PREPA
continues using Bunker C and regular Diesel fuels in the generating units located at Aguirre, San
Juan, and Palo Seco. When modeling combustion turbines using ultra-low sulfur diesel (ULSD),
the emissions are reduced but not enough to achieve attainment. In the absence of retiring
generation units in the short run in full, timely compliance with the PREB approved IRP, PREPA
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and the DNER have indicated that achieving attainment in the relevant air districts may require
burning natural gas in existing steam units located at Aguirre, San Juan, and Palo Seco.
Considering the joint priorities of providing reliable electricity and meeting the SO2 NAAQS, the
DNER and PREPA have identified the following action items as feasible strategies for achieving
attainment:
   •       Integration of renewable energy as mandated by the Approved IRP and Modified
           Action Plan.
   •       Substituting fuels used in existing thermal generating units, such as ULSD.
   •       Development of an SO2 monitoring network within the designated nonattainment
           areas for demonstrating attainment with the NAAQS.
   •       Consistent with these actions, in the short term, PREPA will:
           o Complete the Tranche 1 procurement process and continue working diligently to
               support PREB with the remainder tranches mandated in the IRP Modified Action
               Plan.
           o Substitute regular diesel with ULSD fuel at combined cycle units, combustion
               turbines, and the aeroderivative machines located at the San Juan, Palo Seco, and
               Aguirre Power Plants.
           o Comply with the DNER’s requirements for the development of an SO2 monitoring
               network.
PREPA incurred a number of delays in conducting the Tranche 1 Renewable Energy and Storage
Procurement Process and the launching of subsequent tranches, which led to PREB assuming the
execution of future tranches in order to facilitate compliance with Puerto Rico RPS targets and
the IRP. Specifically, fossil fuel generation unit retirements may be set back in case of delays in
the integration of renewable energy generation sources. If such delays continue, to adequately
maintain a safe and reliable electric service, PREPA may need to propose executing certain actions
to keep its steam units operational and in compliance with applicable environmental regulations.
DNER and PREPA modeling results indicate that achieving attainment with the SO2 NAAQS,
while maintaining the current steam units running (in the case of further delays in renewable
integration), would require burning natural gas at existing steam units instead of Bunker C fuel.
Thus, in the short and medium term, pursuing the substitution of Bunker C fuel with natural gas
in the steam units located at San Juan, Palo Seco, and Aguirre may be necessary to achieve an
EPA compliant SIP and avoid the above-mentioned penalties while maintaining serviceable
generation load levels. However, lack of an amendment to the PREB approved IRP and the
required funding to produce such conversion may cause implementation issues for these
initiatives and thus be deemed an incomplete SIP subject to potential adverse action by the EPA.
As such, any unit conversions should not be contemplated without approval from PREB in the
form of leave, waiver or amendment from the PREB approved IRP.
To that end, on February 11, 2022, PREPA submitted before PREB a motion titled Petition to
Conduct Work in PREPA’s Steam Units for Environmental Compliance, seeking leave from the
PREB to pursue the conversion of San Juan units 7-10 to natural gas to achieve attainment with
the 2010 1-Hour SO2 NAAQS in the San Juan air district and, consequently, avoiding costly
sanctions, and achieving compliance with the MATS required by EPA, 40 CFR 63 Subpart U -
National Emission Standards for Hazardous Air Pollutants which became effective on April 16,
2012, at the San Juan site. PREB has yet to issue a determination on PREPA’s motion.

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Chapter 11. Summary of Financial Projections
The following chapters of the 2022 Certified Fiscal Plan provide an overview of PREPA’s projected
financials, both for the near term (next 5 years) and the longer-term (next 30 years). These
projections reflect the potential impact of external factors (e.g., projected changes in fuel prices
and the macroeconomic outlook for Puerto Rico), as well as the potential impact of internal
developments (e.g., the Legacy Generation P3 RFP and the planned and initiated integration of
renewable generation capacity, to name a few). The projections reflect the expected positive
impact of PREPA’s ongoing transformation, including the initiatives and operational measures
that are in implementation or planned for by PREPA and LUMA. For example, the expense
projections incorporate LUMA’s April 1, 2022, Budget filings, which outline efficiency gains and
factor in additional expense measures such as fuel cost reduction initiatives. For this reason, the
next three chapters also show three separate entities that will make up PREPA in the future –
HoldCo, GenCo, and GridCo. Expenses will be split according to their specific roles and
responsibilities. Chapter 3 (Transformation), as well as Chapters 9 (Operational Measures) and
7 (LUMA Improvement Portfolios), outline the impact of PREPA’s transformation as well as
specific operational measures. The projections in this and the following two chapters are
consistent with the macroeconomic assumptions underlying the Commonwealth Certified Fiscal
Plan and assume full compliance with Act 17-2019 and IRP resource planning mandates.

         Baseline rate and Revenue Requirement
To project and measure the impact of PREPA’s ongoing transformation and of additional financial
and operational initiatives and to estimate the resulting improvements in rates, this chapter
describes the baseline rate projection. This baseline projection does not assume the restructuring
of legacy debt and pension obligations, and instead includes the full cost for unrestructured debt
and pensions. As such, the baseline rate reflects the hypothetical state of the world in which
PREPA does not proceed with the transformation or debt restructuring.
All rates in this Certified Fiscal Plan are based on revenue requirements. This means that the rates
approved by PREB should provide PREPA with the revenue that it requires to pay for all the
projected costs to provide adequate service to customers. FY 2021 is the last fiscal year in which
consolidated expenses for PREPA are presented for reporting. For FY 2022 onwards, the Certified
Fiscal Plans and Budgets present the three component units – GenCo, GridCo, and HoldCo.
Baseline rate projections are shown in Exhibit 48 below. They show that absent any
transformation of PREPA, and without the benefits of any financial restructuring or operational
improvement initiatives, customers are projected to increase by 11 to 16 c/kWh, when compared
to FY 2021 rates.148 Over the next thirty years, baseline rates without the positive impact of
PREPA’s ongoing transformation are expected to increase as high as 42.5 c/kWh largely driven
by declining demand, as fixed cost are spread across a lower number of kilowatt-hours. The high
and increasing baseline rates shown below illustrate the need for a comprehensive transformation
of PREPA, as outlined in Chapter 3 (Transformation), and Chapters 9 (Operational Measures)
and 7 (LUMA Improvement Portfolios).



148 FY 2021 has been used as the base year to determine rate comparisons.
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Several additional major factors beyond the initiatives and the transformation mentioned above
could potentially have a large effect on future rates. They can be broadly categorized into expense
related and demand related factors.

   •   Expense related factors: As explained above, as rates are based on revenue
       requirements, if PREPA’s expenses go up, rates will have to increase to ensure PREPA has
       the funds to cover these expenses. Most of PREPA’s utility operating costs can be projected
       in a predictable manner based on the PREPA and LUMA base cost expenses with inflation.
       Some costs, however, are dependent on third party process and political outcomes and
       market factors, and this cannot be projected in a predictable manner. These include,
       among others:
           o A 10% cost-share requirement that PREPA must cover for federally funded capital
               expenditures. PREPA currently assumes that it can cover the cost-share
               requirement by funds from HUD-CDBG (see Chapter 6 on Capital Plans and
               Federal Funding). If the cost-share cannot be covered by CDBG, rates will need to
               increase.
           o The market price for fossil fuel. At this point in time PREPA is still highly reliant
               on diesel, heavy-fuel oil, and coal, which are subject to price volatility.

   •   Demand related factors: If demand increases, PREPA’s fixed costs, such as
       administrative costs, debt, and pensions, among others, that are not dependent on how
       much power is generated (e.g., fuel), – are spread across a higher number of kilowatt-
       hours, reducing the rate per kwh. Conversely, if demand decreases, rates per kwh go up.
       Therefore, several factors related to electricity demand have a potentially high impact on
       future rates. Key factors include, among others, usage of and electricity demand from
       electric vehicles, energy efficiency, and distributed generation. Electric vehicles have the
       potential to increase demand as more customers charge their vehicles by connecting to the
       power grid. Energy efficiency initiatives (e.g., transition to higher efficiency air
       conditioning units and other appliances) will result in a lower demand per customer or
       less power required from the system to support the same customer activities. Installation
       of distributed generation (e.g. rooftop solar on residential homes) will decrease demand
       in the system as these customers generate their own power for at least some of their needs.
       Electric Vehicles represent a source of new demand that could partially offset load losses
       from other drivers. Chapter 12 provides a discussion of the Puerto Rico load and rate
       impact of the factors.




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EXHIBIT 48: REVENUE REQUIREMENT RATE INCLUDING PAYGO PENSION AND OPEX AND
UNRESTRUCTURED DEBT (C/KWH) VERSUS LOAD (GWH)
                                                                        47.0
             45                                                                                    18,000
                                                                                         41.5
                                                               40.1     11.0   39.0
             40                                                                           2.5      16,000
                                                     34.6                      2.7        3.5
             35                                                9.5       2.9   3.3                 14,000
                  30.1      28.9   29.7   30.0                           3.0
             30                                       8.0                                11.5      12,000
                   2.1                                         2.7
                                          7.0                  2.5             10.7
                                   6.8




                                                                                                                    (c/kWh)
             25             6.4                       2.3                9.7                       10,000
                   7.1                                2.0
   (c/kWh)




                                          1.9




                                                                                                            (GWh)
                            1.1    1.8                         8.1
             20             2.3    1.8    1.8                                                      8,000
                                                      7.1
             15             6.9    6.7    5.9                                                      6,000
                                                                               22.3      24.0
             10   20.8                                                  20.3                       4,000
                                                     15.2      17.3
                            12.2   12.6   13.4
             5                                                                                     2,000

             0                                                                                     0
                  FY23     FY24    FY25   FY26      FY31      FY36      FY41   FY46     FY50
                  F&PP                           Non-F&PP Operating Expenses    CILT & Subsidies
                  Pension Cost                   Debt Cost                      Load




             FY 2022 Baseline and Future Revenues and Expenses
             Financial Projections for FY 2022 and FY 2023
The Oversight Board approved a revised compliant FY 2022 budget for PREPA on July 1, 2021.
The certified budget included the revised amounts for GenCo and HoldCo labor costs, and notably
included amounts for pension funding that were substantially lower than prior year employer
contributions. For years prior to FY 2022, PREPA had typically budgeted an employer
contribution amount based on a percentage of employee salaries, approximately ~35% or $70-80
million per year. For FY 2022, the Oversight Board approved $26.5 million in employer
contributions for GenCo and HoldCo employees, or approximately ~65% of budget salaries.
For the FY2023 period, the Certified Fiscal Plan does not project a deficit.

             Forecasted Revenues
PREPA’s revenues are expected to follow a gradual decline in line with the projected decline in
sales (Exhibit 49). The combined effects of energy efficiency and distributed generation are
expected to further decrease overall electricity consumption. Chapter 13 discusses the load impact
of EE, DG, and electric vehicles in more detail.




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EXHIBIT 49: 30-YEAR SALES AND REVENUE PROJECTIONS (GWH AND USD MILLION)
    20,000                               Other sales (in GWh)              Industrial sales (in GWh)           5,000
                                         Commercial sales (in GWh)         Residential sales(in GWh)

                16,510 16,212
                                         Projected Revenues                                                    4,500

                                15,222                                                                         4,000
                                         14,752
                                                   14,325
    15,000
                                                                12,553                                         3,500

                                                                         10,603                                3,000

                                                                                  9,219




                                                                                                                       $M
    10,000                                                                                                     2,500
                                                                                             8,446
                                                                                                       7,959
  GWh




                                                                                                               2,000

                                                                                                               1,500
        5,000
                                                                                                               1,000

                                                                                                               500

           0                                                                                                   0
                FY2023 FY2024 FY2025 FY2026 FY2027 FY2032 FY2037 FY2042 FY2047 FY2051




          Forecasted Expenses
Overall expenses are projected to decrease substantially between FY 2023 and FY 2024 driven by
two principal factors – a projected decrease in fuel prices and the dispatch modeling approach, as
further explained in the Assumptions table on Chapter 13.2.
On the long run, it is expected that overall expenses would decrease in real terms. This is partially
driven by decreasing labor and non-labor operating costs. Additionally, specific budget line items
including Title III expenses and costs will likely decline after FY 2023, due to the expected exit of
PREPA from Title III bankruptcy.
Most notably, however, the overall decline in expenses is driven by decreasing generation cost as
renewable power replaces outdated and inefficient oil-based generation linked to volatile oil and
gas prices. As the share of renewable generation capacity is increasing over the coming years, the
cost associated with non-renewable fuel and power is expected to decline quickly until FY 2027.
As cheap but polluting coal generation is projected to be phased out in FY 2028 (Exhibit 50) non-
renewable fuel expenses are projected to increase again. However, thereafter, fossil fuel related
costs are projected to decline steadily as more renewable generation comes online. Expenses for
renewable PPAs is projected to increases over the same time period, consistent with Act 17-2019’s
mandate to increase the share of renewable generation. Chapter 13 (Expenses) provides a more
detailed discussion of PREPA’s expense projections.




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EXHIBIT 50: CONSOLIDATED FORECAST EXPENSES UNTIL THE END OF THE IRP, EXCLUDING
DEBT SERVICE (USD MILLION, NOMINAL DOLLARS)
          5,001




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Chapter 12. Revenue
Understanding load, electricity sales, revenues, and the underlying drivers is crucial for utilities
as it enables accurate planning for investments into generation and the T&D System. This chapter
provides an overview of PREPA’s revenue compared to its budget, and discusses load projections,
the underlying drivers, including emerging drivers like electric vehicles, as well as key
assumptions that impact revenue projections. PREPA’s revenues are expected to follow a gradual
decline in line with the projected decline in sales (Exhibit 49).

         FY 2022 Actual Revenue Against Budget
According to the latest financial results for FY2022 through March, PREPA’s gross revenues, i.e.,
revenues from electricity sales without Other Income or other adjustments, were $3.1 billion
versus budget gross revenues of $2.6 billion. The difference is driven by higher than projected fuel
prices and resulting fuel and purchased power charges.
During the first three quarters of FY2022, PREPA’s gross revenues149 were approximately 20%
above the projected amount (see Exhibit 51). The FY2022 YTD sales / consumption figures are
approximately 2% below budget overall (see
Exhibit 53), driven primarily by lower than budget industrial consumption.

EXHIBIT 51: FY2022 YTD (MARCH) BUDGET VS. ACTUALS (USD MILLION)

  Gross Revenues by Month                                                                       Actual          Budget
  ($M)
  400          366    373                                                               362
         342                                      331                326
  350                                   333                323                 316
  300
  250
  200
  150
  100




149 Gross revenues include revenues collected from customers for consumption, whereas consolidated revenues include revenues
    collected from customers for consumption, revenue for other income sources, and other adjustments (bad debt expense, CILT
    and subsidies, etc.).
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EXHIBIT 52: FY2022 YTD REVENUE VARIANCE VS BUDGET BY CUSTOMER CLASS (USD MILLION)




EXHIBIT 53: FY2022 SALES AND VARIANCE VS BUDGET (GWH, %)




       Overview of Load Projections
Historical Demand and Sales Impact
As referenced in Chapter 2 (Historical Context and Current Challenges), electricity consumption
in Puerto Rico continues to be impacted by ongoing economic distress and demographic shifts of


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a declining population. Energy consumption and peak demand, which are PREPA’s most critical
billing determinants, have been in decline for approximately 16 years (
Exhibit 54). This decline is projected to continue, consistent with the most recent economic and
demographic projections issued by the Oversight Board in its Commonwealth Certified Fiscal
Plan.


Exhibit 54 shows that forecasted sales and peak demand in Puerto Rico fall below FY 2000 levels,
driven by several key factors, which will also impact future electricity consumption patterns:

    •   Macroeconomic indicators and demographics: The Certified Fiscal Plan
        incorporate macroeconomic projections consistent with those used in the 2022
        Commonwealth Certified Fiscal Plan. They show a steady population decline over the next
        5 years, driven by a combination of outmigration and demographic factors, and they
        indicate that the previously projected rebound in economic activity driven by federal
        funding for restoration and associated short-term employment seen in 2019 was more
        than offset by COVID-19 related impacts in 2020. However, Covid-19 related fiscal
        stimulus is projected to lead to a rebound and recovery in FY 2022, that is expected to
        continue into FY 2023.
    •   Energy efficiency (EE) and distributed generation (DG): Expectations from
        various stakeholders and industry experts, including PREB and IRP intervenors, project
        further long-term declines in utility sales due to demand-side impacts from secular trends
        in EE and DG. Together with declining population, these factors represent the greatest
        drivers in load decline through the Certified Fiscal Plan forecast period (Exhibit 55).
One factor that could mitigate the decline of load in the future is the adoption of Electric
Vehicles (EV). Driven by declining technology cost and regulatory support, EV sales are
expected to increase over the next 2-3 decades and have a potentially large impact on load. The
Fiscal Plan, in its base case, does project the impact of EVs until FY38. However, it fails to project
further growth beyond that point.

EXHIBIT 54: HISTORICAL BILLING DETERMINANTS (GWH, MW)




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EXHIBIT 55: 30-YEAR LOAD FORECAST WITH THE INDIVIDUAL EFFECTS OF THREE DRIVERS
CAUSING LOAD REDUCTION (TWH)




       Macroeconomic Projections and Demographics
The 2022 Certified Fiscal Plan incorporates the macroeconomic and demographic projections
developed for and presented in the Commonwealth Certified Fiscal Plan. The population forecast
shows a steady decline due to the combined effects of outmigration and demographic factors. The
pace of decline is less severe than prior year’s assumptions. The COVID-19 pandemic has
significantly dampened previous projections of economic rebound. Assumptions underlying the
rebound were driven principally by federal funding for restoration, which would create short-term
employment opportunities; however, overall trends now project a population decline (Exhibit 56).
The macroeconomic projections include the combined effects of the COVID-19 pandemic,
ongoing austerity, population decline, natural disaster recovery, and federal funding across all
sectors of Puerto Rico’s economy (Exhibit 57). Forecast reflecting the abrupt impact of the
COVID-induced recession at the end of FY 2020, followed by a rebound and recovery in FY 2021
(supported by significant federal and local disaster-related and Covid-19 related stimulus funds),
that is expected to continue into FY 2023. Economic growth is expected to be limited (in real
terms) between FY 2024 and FY 2027.




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EXHIBIT 56: COMMONWEALTH OF PUERTO RICO POPULATION PROJECTIONS, IN THOUSAND




EXHIBIT 57: COMMONWEALTH OF PUERTO RICO GNP PROJECTIONS




       Energy efficiency
The Certified Fiscal Plan load forecast assumes that PREPA achieves the target set forth by
legislative mandate in Act 17-2019 of a 30% reduction in load attributable to energy efficiency by
2040 (compared to PREPA’s FY 2019 net utility sales). The annual reduction in load is consistent
with the IRP projections with an adjustment for the program starting year. The energy efficiency

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programs listed in the table below are consistent with the PREPA IRP, which included these
programs as illustrative options for achieving the target energy efficiency results based on a
screening assessment of programs used in other jurisdictions.

TABLE 13: ENERGY EFFICIENCY PROGRAMS
EE Program              Description                                     Assumption                                      TRC150
Residential Incentivizes higher efficiency A/C Participation   rates,   energy 3 – 5
A/C      (Air systems in homes                 savings, program costs based on
conditioning)                                  comparable programs
Residential             Provides free LEDs to residential Participation rates increase to 4 – 6
Lighting                customers                         2.5% annually
Commercial              Incentivizes high efficiency A/C A baseline average commercial 1 – 2
A/C                     systems in commercial buildings A/C size is accurately assessed
Commercial              Incentivizes   high     efficiency Annual   kWh     savings  per 3 – 4
Lighting                lighting in commercial buildings participant based on comparable
                                                           programs
Public Street Full conversion to LED lamps                              Public funding is available to n/a
Lighting                                                                support this program

The cumulative energy savings through implementing these programs is expected to be
approximately 1,200 GWh in FY 2026. The biggest contribution to the savings comes from
lighting improvements in commercial buildings, which was determined to be the highest impact
and lowest cost potential program for PREPA to implement, followed by additional savings from
streetlight conversions to LED151 and installation of higher efficiency air conditioning systems in
homes.
As these energy efficiency programs and implementation projections are purely illustrative, there
could be many other combinations and types of programs implemented to achieve the target
result. Actual energy savings from energy efficiency depend on the uptake of these measures
among customers. As Act 17 compliant projections in the Certified Fiscal Plan are based on
optimistic assumptions regarding participation rates and savings potential, the observed impact
of such measures might be lower.
To comply with statutorily mandated EE targets, PREB, on April 22, 2021, started a new
proceeding and released a draft regulation on EE to explore viable funding mechanisms for energy
efficiency program implementation. Notably, to the extent these efficiency measures are delayed
or not achieved there will be a more gradual decline in electricity demand.




150 Total Resource Cost (TRC) estimates cost efficiency of energy efficiency programs. The TRC is calculated as the present value
    of the avoided energy cost (energy savings x average rate) to the present value of the program costs.
151 LUMA, as T&D operator, will address repairing and replacing existing public lighting with LED within its Distribution Streetlight
    Program as detailed in LUMA’s IRP.
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EXHIBIT 58: CUMULATIVE ENERGY EFFICIENCY SAVINGS BY PROGRAM (GWH)
 GWh
                                                     4,848 4,848 4,848
5,000
                                                                       Public Street
4,500                                         4,190                    Lights

4,000
3,500
                                                 2,849                                 Commercial
3,000                                                                                  Lighting

2,500
2,000                                    1,522
1,500                            1,216                                                 Commercial A/C
                          911                                                          Residential
1,000                                                                                  Lighting
  500     55      118                                                                  Residential A/C
    0
         FY23    FY24    FY25    FY26    FY27     FY32   FY37   FY42    FY47    FY50


        Distributed Generation (DG)
Deployment of distributed generation (i.e., rooftop solar and combined heat and power
generation) is expected to grow and is projected based on the same methodology used for the IRP.
The effect of DG is more significant in the later years of the 30-year projection, as the Certified
Fiscal Plan assumes that DG will continue to rise because of declining costs for DG technology
and increasing electricity rates. As the transformation process for the energy system advances,
this trend is likely to continue.
The adoption of DG is expected across all customer classes (Exhibit 59). While commercial and
residential customers are more likely to adopt rooftop solar generation, industrial customers are
more likely to build combined heat and power generation (CHP,
Exhibit 60). The assumptions for CHP are based on customer survey and data gathering used in
the IRP and updated by PREPA Planning and T&D personnel. Because CHP is expected to be
customer owned and associated with industrial processes there is no cycling of these units to
accommodate renewable generation in the financial projections. CHP generation is assumed to
be economically dispatched by customer-owners relative to available system generation costs
(e.g., if system generation is cheaper than CHP, customer-owners use system generation).




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EXHIBIT 59: 30-YEAR DISTRIBUTED GENERATION FORECAST BY CUSTOMER CLASS (TWH)




EXHIBIT 60: 30-YEAR DISTRIBUTED GENERATION FORECAST BY SOURCE (TWH)




         Electric vehicles
Driven by technological development and regulatory support, the penetration of electric vehicles
is expected to significantly increase in the upcoming decades. For instance, some estimates project
that by 2040 EVs could reach nearly 60% of total vehicles sales in the US.152 While these numbers
depend on a variety of factors, including battery cost developments, regulation, and customer
preferences, a significant uptake in EV sales will have an impact on electricity demand, both on
average and peak load and has the potential to offset the effect of EE and DG. To understand the
effects on average and peak load on a local level, and identify potential T&D investment needs, it
is crucial to develop a thorough perspective on EV uptake. Nevertheless, PREPA must follow
PREB’s guidance to include the impact of electric vehicles in future IRPs.



152 Bloomberg NEF, Electric Vehicle Outlook 2020
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       Load Projection Sensitivities
Overview
The Certified Fiscal Plan Base Case (the “Base Case”) developed by PREPA and LUMA includes a
load scenario that is based on assumptions for key gross load drivers (GNP and population
projections consistent with Commonwealth Certified Fiscal Plan) and for key net load drivers
related to energy efficiency (EE), distributed generation (DG) adoption and electric vehicle (EV)
uptake. The net load driver assumptions in the Base Case are based on Act 17 compliance (EE
achieving 30% target by FY 2040) and basic assumptions of future growth based on historical
growth (DG and EV).
These assumptions in the Base Case do not fully capture the actual constraints and realities in
Puerto Rico or the state of current programs and plans in place to support these assumptions.
This has implications on resource planning. Please refer to Section 5.1.2 for a discussion of the
associated implications.
An alternative forecast based on a bottom-up approach, that uses the current situation in Puerto
Rico as the starting point, that is not constrained by Act 17, that incorporates the latest data
available on current and future costs, and that is supported by driver specific models provides a
perspective on a potentially different load forecast (the “Alternative Forecast”). This Alternative
Forecast is subject to change in law and regulation, changes in price and cost trajectories and
other factors.

1. Comparative View
In general terms, the Alternative Forecast projects a net load that is 2.1 TWh higher than the Base
Case by FY 2050. This difference results from different projection for EE, DG, and EV. In terms
of EE, the Alternative Forecast projects savings of 1.5 TWh less than the Base Case by FY 2050.
Regarding DG, the Alternative Forecast projects the load impact to be relatively close to the
projection in the Base Case (0.1 TWh increase). Lastly, in terms of EV, the Alternative Forecast
projects EV load to be 0.6 TWh higher than the Base Case by FY 2050. Figure 1 showcases the
overall outcome of the Base Case and the Alternative Forecast.




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       Figure 1 - Net Load Forecast FY23-50, Twh




2. Key Differences and Assumptions
Fundamentally, the Base Case projections are based on top-down assumptions, while the
Alternative Forecast approach is based on a bottoms-up perspective.
The Base Case projects EE load to reach the FY 2040 30% EE target established by Act 17 while
the Alternative Forecast assumes organic growth of EE through incremental year-over-year
technology efficiencies without considering legislation or program investments. More specifically,
the Base Case starts with a top-down target and assumes that the 30% reduction by FY 2040 – as
put forth in Act 17 – is achieved in time. Also, the Base Case assumes a constant yearly EE load
increase of ~2% to get there. It is important to highlight that there are currently no programs,
implementation plans, or funding incentives in place to support an energy efficiency program.
The load decrease through EE is unlikely to be achieved only through commercial, industrial and
residential lighting, equipment, and appliance replacements. On the other hand, the Alternate
Forecast projects yearly load savings independent of any target through a bottoms-up model that
uses as inputs – among others – equipment natural life cycles, yearly energy efficiency gains, and
customer uptake.
Regarding DG, the Base Case forecasts DG load based on historical uptake rates, while the
Alternative Forecast projects DG load based on adoption curves for different payback periods,
calculated based on DG installation and O&M cost projections.
The Base Case forecasts EV load based on historical growth assumptions, while the Alternative
Forecast projects EV adoption based on total cost of ownership (TCO). The TCO model includes
a cost comparison of ownership for both EVs and combustion engine vehicles and customer
preference, such as ease of purchase, maintenance, and availability of charging stations.


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3. Specific Assumptions in the Alternative Forecast – Energy Efficiency
The EE forecast in Alternative Forecast is based on replacement life cycles, savings from energy
efficiency gains, and customer uptake. For example, each equipment type is assumed to have a
projected useful life/natural replacement cycle (e.g., residential lighting CFL is expected to be
replaced every 4.7 years and LED lighting every 14.8 years). Additionally, the Alternative Forecast
considers yearly efficiency gains specific to each equipment type from technology innovation (e.g.,
residential ACs are expected to have 0.3-0.4% annual efficiency gain), which is forecasted to be
lower in Puerto Rico than in the US mainland. Finally, the Alternative Forecast also accounts for
the yearly customer uptake based on the level of behavior change required and purchasing
decisions (e.g. 40% uptake for residential LEDs and 60% uptake for commercial LEDs due to
increased costs of technology). Figure 2 showcases the net difference that these assumptions
generate in the projection of net load.

       Figure 2 - Energy Efficiency Load forecast FY 2023-50, in TWh




4. Specific Assumptions             in    the   Alternative       Forecast      –   Distributed
   Generation
In terms of DG, the projections from the Alternative Forecast are based on adoption curves for
different payback periods, calculated based on projected DG technology costs. For instance, the
Alternative Forecast assumes a payback period that continues to improve due to decreasing CapEx
and O&M costs, in line with NREL ATB projections adjusted for Puerto Rico. As an example, this
scenario assumes that the cost of installing residential PV systems is expected to decline 10% year-
over-year from 2022 to 2040. It also assumes that Capex is expected to decrease from $2.7k/kW
in 2019 to $0.9k/kW in 2040, in real terms. Furthermore, O&M costs are expected to decrease
from $27/kW/yr to 12/kW/yr over the same period. When adjusting for other costs on the island,
the scenario assumes that Puerto Ricans are forecast to face a higher cost (+16%) when installing
DG systems compared to the US mainland due to various constraints (e.g. Jones Act).
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The Alternative Forecast also includes several additional assumptions. It assumes 100% net
metering for customers who adopt DG until 2024, followed by policies covering the marginal cost
of generation for new customers beyond 2024. It also assumes that batteries are not required to
adopt PV systems, as examples from the mainland US show. For example, Michigan has the
highest battery storage penetration, with 7% of solar DG adopters also having a co-located energy
storage unit. Another important assumption considers that the eligible household’s baseline is
represented by 85% of customers per an NREL estimate. Puerto Rico's housing characteristics are
more attractive for DG adoption compared to the US, California, and Hawaii (e.g. more single-
structure housing units and fewer renters as a share of total).

        Figure 3 - Alternative DG projections for Puerto Rico, in TWh




5. Specific Assumptions in the Alternative Forecast – Electric Vehicles
The EV forecast in the Alternative Forecast is based on economic incentives (total cost of
ownership) and customer preferences. It projects 33% of cars in Puerto Rico to be EVs by FY50.
These assumptions were generated by leveraging historical sales and scrap rates to forecast future
ones and combining these projections with the historic number of cars in Puerto Rico to project
the number of registered cars on the island per year. As a result, it assumes that the number of
cars is projected to decrease over time as the population declines. It also assumes that the number
of vehicles per capita stays relatively constant over time.
Another fundamental set of assumptions were generated by leveraging the FHWA National
Household Travel Survey data for the average distance driven per year. As such, the Alternative
Forecast assumes a decreasing technology cost, specifically with respect to batteries. It accounts
for the total cost of ownership of EV models by using Puerto Rico-specific estimates. For instance,
it includes Puerto Rico-specific gasoline prices, electricity rates, and the average US vehicle cost
adjusted for Puerto Rico import duties and fees. Furthermore, the Alternative Forecast
incorporates customer sentiment and evaluates energy grid readiness through PREPA’s SAIDI

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and SAIFI scores. Figure 4 highlights the difference in EV penetration in the Alternative Forecast
contrasted with the Base Case. Figure 5 contrasts the overall difference in net load projections
from the Alternative Forecast and the Base Case.

        Figure 4 - Puerto Rico EV penetration estimates (in %)




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        Figure 5 - Puerto Rico EV load projections (in TWh)




       Other assumptions impacting revenue
       Overview of Fuel and Purchased Power
Projections are based on fuel price forecasts using the IRP methodology for natural gas at the
Henry Hub, crude oil (West Texas Intermediate or WTI), oil-derivate products of diesel (No. 2
fuel oil), and residual fuel oil (No. 6 fuel oil with 0.5% sulfur). The forecast has updated refined
fuel prices for the near term based on financial futures pricing as of March 2022 and current
effective PREPA contract adders. Prices for crude oil and refined oil products are projected to
decrease substantially from FY 2023 to FY 2024, and then rise steadily at rates above general
inflation.




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EXHIBIT 61: FUEL PRICE FORECAST153 (USD/MMBTU)
  Fuel Price, USD/MMBtu
                                                                                              LNG        Bunker-C (D6)    Diesel (D2)        Coal
             28
 28
                                                                                                                                                    26
                                                                                                                                        25
           23                                                                                                                 24
                                                                                                                    23
 24                                                                                                       22
                                                                                              21
                                                                                    20
 20                      18                                              19
                                                             18
                                     16          17                                                                                 16          17
                                                                                                                15        16
 16 14                                                                                    14         14
                                                                        12      13
                        12                                  12
 12                                             11                                                  10         11        11        11         11
                      10          1010        10          10          10      10         10

   8                          6           5           5           5
                  4
   4

   0
          FY23         FY24        FY25        FY26        FY27        FY28     FY29      FY30       FY31       FY32      FY33      FY34        FY35




            Price Elasticity
The PREPA IRP and Certified Fiscal Plan do not model customer price elasticity as a single
variable or explicitly by customer class. Looking forward, the effects of higher utility power costs
and declining costs of alternative sources of electric energy on customer behavior are captured
through the assumptions on customer participation in energy efficiency programs, long-term
efficiency improvements captured in macro-coefficients, and the selection of and switching to
behind-the-meter distributed generation options. The base long-term forecast assumes large
majority of Puerto Rico’s remaining industrial load is lost to DG and EE, along with substantial
portions of residential and commercial sales.

            Rate Structure
The 2017 PREB-approved rate structure implemented on May 1, 2019, is assumed to remain in
place for the forecast period. Projections include annual adjustments to base rates are calculated
based on corresponding annual revenue requirements. Note, however, the forecasted rates do not
include any increases required for debt service of pension funding under a Title III plan of
adjustment.

            Transformation
The Certified Fiscal Plan base case financial projections assume that LUMA Interim Period Ends
during FY 2023 and that achieves service commencement during FY 2021 by satisfying all
conditions precedent to achieve the Service Commencement Date, or at least the Interim Service
Commencement under the Supplemental Agreement. Unbundling or separation of Generation



153 Siemens Energy Business Advisory, commodity futures pricing as of 04/26/22 for April 2022-Sep 2023. 18 month blend to long-
       term forecast starting in April 2025
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and T&D functions are expected to be completed during FY 2022, and PREPA Generation is taken
over by one or more third party operator(s).


          Comparison to Prior Certified Fiscal Plans
PREPA’s sales forecast for the near term predicts accelerated decline due to energy efficiency and
distributed generation impacts. From FY 2023 to the end of the Certified Fiscal Planning period
FY 2027, the total reduction in sales is projected to be approximately 10% (Exhibit 62).

EXHIBIT 62: PREPA CERTIFIED FISCAL PLAN NET UTILITY SALES IN GWH

 Sales, GWh                         April 2017 Fiscal Plan                 Aug 2018 Fiscal Plan
                                    June 2019 Fiscal Plan                  May 2020 Fiscal Plan
                                    May 2021 Fiscal Plan                   May 2022 Fiscal Plan
 18,000

 17,000

 16,000

 15,000

 14,000

 13,000

 12,000

 11,000
            FY 17   FY 18   FY 19     FY 20   FY 21    FY 22   FY 23   FY 24   FY 25   FY 26   FY 27




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Chapter 13. Expenses
This chapter provides an overview of the projected expenses for the electric utility, i.e., the cost
that customers will have to cover. PREPA’s overall expenses are made up of nine (9) expense
categories:
    ▪   Non-renewable fuel: Cost of fossil fuel, e.g., coal, diesel, heavy fuel oil
    ▪   Conventional power purchase and operating agreements (PPOAs): Expenses
        for non-renewable power purchased from 3rd party providers (e.g., EcoEléctrica and AES)
    ▪   Renewable PPOAs: Expenses for renewable power purchased from 3rd party providers
        – in the future this will include power from over 3GW in renewable capacity that PREB
        has ordered PREPA to bring online
    ▪   CILT & subsidies: Expenses for “contributions in lieu of taxes” and other subsides that
        benefit e.g., low-income rate payers
    ▪   T&D System Operating and Capital costs: Expenses for labor, non-labor / other
        operating costs and necessary maintenance expenses as defined in the T&D OMA
    ▪   Labor operating cost: Expenses for labor associated with operating generation assets
        and the T&D System
    ▪   Non-labor / other operating cost: Expenses other than labor, e.g., supplies, rent,
        transportation, bad debt expense, etc., associated with operating, maintaining, and
        administering generation assets and the T&D System
    ▪   Necessary maintenance expenses: Expenses for maintaining generation assets and
        the T&D System. This includes repairs and associated materials, among others
    ▪   PREPA ERS pension charge: Expenses to fund pension benefits and OPEB for retirees
    ▪   PREPA debt service: Expenses to cover PREPA’s debt obligations
As outlined above, PREPA’s expenses are used by PREB, the regulator, to determine rates, i.e.,
rates are based on revenue requirements, such that they provide PREPA with the revenue – or
funds – that it requires to pay for all the projected expenses needed to provide adequate service
to its customers and pay its obligations. This chapter gives an overview of the 9 major expense
categories described above that make up PREPA’s revenue requirement and outlines how these
categories are projected to develop over time. The focus of this chapter is on the near term, i.e.,
the next 5 years until FY 2027, as within this time-period the first major financial impact of
PREPA’s ongoing transformation is expected to materialize.
Overall, due to the impact of the ongoing transformation and additionally driven by declining
load, PREPA expenses are expected to decrease over the next 5 years:
   ▪    Non-renewable fuel, the largest expense category in FY 2023, is expected to decline
        quickly over the next years, as PREPA’s generation mix shifts from owned and operated
        fossil fuel powered generation to third-party provided renewable power


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   ▪   Conventional PPA expenses are projected to decline in absolute terms, as generation shifts
       from conventional to renewable sources
   ▪   Expenses for renewable PPOAs are expected to increase quickly as outlined above, amid
       the shifting generation mix
   ▪   CILT & subsidies are expected to decrease over time
   ▪   Labor operating expenses are projected to decline in absolute terms, as generation assets
       are transitioned to private O&M operators that are expected to realize efficiencies
   ▪   Similarly, non-labor operating cost are expected to decline due to future efficiencies from
       private operators
   ▪   Necessary maintenance expenses are projected to decrease slightly in absolute terms, but
       keep their share of total expenses
   ▪   ERS pension expenses – not separately included in the FY 2023 rate in the absence of a
       determination of pension reform – are expected to make up a larger share in FY 2026.

       Overview of Expense Projections
For FY2023 through FY2027, Exhibit 63 gives an overview of the expense categories and their
projected relative shares.
Expense projections have been developed using a set of assumptions and inputs, including
macroeconomic projections, load related assumptions, and inputs for specific expense categories,
e.g., existing contracts for non-labor expenses, as well as capital plans, and PREPA’s IRP, among
others. Furthermore, the projected expenses shown below are “post-measure” in the sense that
they already account for the expected effects of certain improvement initiatives. Those include the
ones outlined in Chapters 9 (Operational Measures) and 7 (LUMA Improvement Portfolios). The
projections therefore also already account for the benefits of moving PREPA’s generation assets
and T&D System to private operators. Without these effects, expenses - and as a result rates –
would be higher, as outlined in Section 11.1 on baseline rates in Chapter 11 (Summary of Financial
Projections).
The expense overview furthermore illustrates where additional future efficiencies can be
expected. While LUMA and, in the future, one or more other private operator(s) for PREPA’s
generation assets are expected to realize efficiencies in labor and non-labor cost, the biggest
remaining opportunity will be related to fuel and purchased power. Chapters 9 (Operational
Measures) and 7 (LUMA Improvement Portfolios) provide more details on initiatives addressing
these opportunities that are already in progress and incorporated in the expense projections
below, including PREPA’s fuel-related operational measures, and the procurement of 3.75GW in
renewable generation capacity.




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EXHIBIT 63: FY 2023 VS. FY 2027 REVENUE REQUIREMENT PROJECTED BREAKDOWN BY
CATEGORY (INCLUDING ERS PENSION PAYMENTS, EXCLUDING DEBT PAYMENTS)




       Overview of Expenses by Entity
During the forecast period of this Certified Fiscal Plan, PREPA’s vertically integrated operations
will be, as mandated by law, disaggregated into Generation and T&D System functions – GenCo
and GridCo, respectively. Additionally, there will be an entity that will be responsible for certain
non-operational functions and associated payroll activities, along with paying Title III and advisor
fees (HoldCo). Chapter 3 (Transformation) provides an overview of the future structure of PREPA.
As a result of the transition to GenCo, GridCo, and HoldCo, expenses will also be split across the
three entities, too. Exhibit 64 shows the post-transition expense split for the next few years. ERS
pension contributions after FY 2023, as well as bad debt, CILT/subsidies, and expenses for
purchased power are separated. These expenses, including any employer contribution required to
be made to the PREPA ERS for employees of these three entities, bad debt, CILT/subsidies, and
purchased power are pass-throughs and cannot be considered part of the expenses per entity.
As illustrated above in Section 13.1, overall expenses are expected to decline to meet declining
load and operational efficiencies. Additionally, GenCo expenses are projected to ramp down over
time as PREPA’s units are retired and power is procured through PPOAs, which will be negotiate
with Independent Power Procedures (see Chapter 3 (Transformation) for an overview of the roles
and responsibilities after the transition to private operators). HoldCo expenses are projected to
decrease quickly, too, especially after providing support for the transition of GenCo to private
operators in FY 2023. GridCo expenses are projected to decline slowly over time, driven by the
realization of efficiencies.




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EXHIBIT 64: CONSOLIDATED PREPA EXPENSE BREAKDOWN 154 (USD MILLION)




Assumptions for expense projections are provided in the table below, consistent with underlying
assumptions for the revenue and load projections in the previous chapter.

TABLE 14: ASSUMPTIONS FOR GENCO, GRIDCO, AND HOLDCO EXPENSES
 Input                    General Assumptions
 Fuel       and           ■ Fuel and Purchased Power cost projections are based on an hourly generation
 Purchased                   dispatch model forecast that uses capacity expansion consistent with the PREB
 Power Costs                 approved IRP and Modified Action Plan and recent market pricing and
                             projections for refined fuel products.
                          ■ For FY 2023, a PROMOD simulation was used to estimate Fuel and Purchased
                             Power expenses. Projections for FY 2024 onward are based on an Aurora
                             capacity expansion model simulation which assumes an optimal economic
                             dispatch, without the capacity to consider transmission constraints, which
                             yields Fuel and Purchased Power projections that are significantly optimized
                             compared to PROMOD’s projections. Therefore, absent changes on inputs,
                             Aurora provides expense projections that are significantly lower than
                             PROMOD.
 GridCo Labor             ■ FY 2023, FY 2024, and FY 2025 are in line with the LUMA filed budget for
                             GridCo
                          ■ FY 2026 and beyond is projected using budget spending levels with an inflation
                             factor
                          ■ Benefits expenses are based on historical spending levels and performance
 GridCo     Non-          ■ FY 2023, FY 2024, and FY 2025 are in line with the LUMA filed budget
 Labor     Other          ■ FY 2026 and beyond is projected using historical spending levels with an
 Operating                   inflation factor

154 PPAs between GridCo and GenCo are excluded to avoid double counting. New reporting structure for PREPA – split into GridCo
    and GenCo – is assumed to begin in FY 2022 for the purposes of presentation and discussion in the 2021 Certified Fiscal Plan.
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 Input              General Assumptions
                    ■ Cost of service includes T&D operator management fee for the forecast period
 GridCo
                    ■   Based on historical spend and as outlined in LUMA's filed budget
 Maintenance
                    ■   Maintenance costs are expected to return to historical averages as operational
                        improvements reduce and are in place to support capital expenditure Federal
                        funding is assumed to be available to cover a substantial amount of capital
                        required for system rebuild and maintenance. Puerto Rico is requesting a cost-
                        share adjustment for future FEMA program amounts under the Stafford Act.
                        The projections in this Certified Fiscal Plan assume that Community
                        Development Block Grant-Disaster Recovery (CDBG-DR) funding will be
                        available to cover any matching requirements under the Stafford Act
 GenCo Labor        ■   FY 2023, FY 2024, and FY 2025 are in line with the filed budget for GenCo
                    ■   FY 2026 and beyond is projected using budget spending levels with an inflation
                        factor
                    ■   Benefits expenses are based on historical spending levels and performance
 GenCo      Non-    ■   FY 2023, FY 2024, and FY 2025 are in line with the filed budget
 Labor     Other    ■   FY 2026 and beyond is projected using historical spending levels with an
 Operating              inflation factor
 GenCo
                    ■   It is expected that the exit from Title III should result in a return to the capital
 Maintenance
                        markets to finance capital improvements and improved counterparty risk to
                        attract private investment into the generation system
                    ■   Federal funding is assumed to be available to cover a substantial amount of
                        capital required for system rebuild and maintenance. Puerto Rico is requesting
                        a cost-share adjustment for future FEMA program amounts under the Stafford
                        Act. The projections in this Certified Fiscal Plan assume that Community
                        Development Block Grant-Disaster Recovery (CDBG-DR) funding will be
                        available to cover any matching requirements under the Stafford Act


         Overview of GenCo Expense Projections
From 2012 to 2021, PREPA’s generation workforce fell by over 50% due to the loss of 871
employees. This reduction was caused by several factors including austerity measures related to
Act 66-2014 and Act 26-2017, among others. PREPA’s leadership is acutely focused on ensuring
that PREPA can retain and hire the necessary employees to responsibly operate legacy generation
units, however, unpredictable retirement patterns without available substitutes to assume the
roles of skilled personnel eligible for retirement are driving a critical situation that could
potentially cause major operational disruptions. To that point, PREPA’s generation directorate
currently faces a (i) shortage of key operational personnel and (ii) a high proportion of key
personnel eligible for retirement.
In order to address the issues mentioned above, PREPA’s projected spending on labor expenses
is consistent with facilitating the transition to private operation via the P3 process currently
underway and is designed to retain and hire/train the necessary employees to allow for the
continuous and safe operation and maintenance of legacy generation assets. This is also relevant
and necessary to enable PREPA’s implementation and orderly transition to renewable energy, as
mandated by Act 17-2019 and the approved Integrated Resource Plan.


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The non-labor expense category includes the purchase of non-capitalizable services, equipment
and tools and materials that are essential and critical to carry out technical activities. This is
essential to ensure a safe and reliable operation and maintenance of the generating units that
make up the legacy generation fleet, and to meet the energy dispatch and load reserve
requirements required during hours of regular and peak demand, as well as the hurricane season.
The budget for non-labor expense was developed by the PREPA generation directorate and
executive management to ensure that generating units are available, reliable and in compliance
with the requirements of the EPA Consent Decrees, as well as any operational and power plant’s
condition requirements under PREPA’s property and casualty, business interruption, and other
insurance policies155. The FY 2023 GenCo budget includes amounts sufficient to ensure that
PREPA can undertake the necessary non-capitalizable maintenance and repair activities to
comply with operational, environmental and insurance related requirements. For discussion on
GenCo NME projections please reference Section Error! Reference source not found.
Error! Reference source not found..
GenCo expenses are projected to decline over the Certified Fiscal Plan period as PREPA-owned
generation units are retired, and the mix shifts to third-party owned generation, specifically
renewable generation, which will be contracted through PPAs. PPA and fuel expenses are
considered pass-through charges and are therefore not included in GenCo’s expenses. PREPA will
however transition O&M activities to one or more private operator(s) for its legacy generation
units. This transition is expected to be completed in FY 2023. Labor, non-labor, and necessary
maintenance expenses associated with operating and maintaining PREPA’s legacy generation
assets are expected to decrease from its current levels, as units are being retired. Exhibit 65 shows
that the expense categories most closely correlated with the number of legacy generation units
and their capacity - labor and necessary maintenance expenses - are expected to decrease between
FY 2023 and FY 2027 by ~50% and ~70%, respectively. Non-labor and other expenses - which
include expense sub-categories like the shared services agreement between LUMA and GenCo -
are less correlated with legacy generation capacity than for instance labor as it includes insurance
and IT cost, is expected to decrease less rapidly (~21%) over the same period.




155 Note that the cost of insurance premiums for the various insurance policies mentioned here is included in the cost of Shared
    Services with LUMA, not in Generation Non-Labor Expenses.
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EXHIBIT 65: FIVE-YEAR EXPENSE FORECAST FOR GENCO 156 (USD MILLION)




           Overview of GridCo Expense Projections
GridCo expenses are projected to decrease slightly over the next 5 years, as the Title III process is
completed and initiatives begin execution phase, leading to efficiencies. Labor costs are projected
to slightly increase between FY 2022 and FY 2023, while the process of hiring LUMA’s workforce
is being completed. After FY 2023 labor expenses are projected to stay stable in real terms. Non-
labor/other expenses are expected to decrease over time, as future efficiencies from the transition
to a private operator are being realized. These efficiencies have already been reflected in the
projections shown in Exhibit 66 below. Necessary maintenance expenses are projected to increase
over the forecast period as work begins on the execution of grid modernization and strengthening
projects outlined in the T&D roadmap (see Chapter 7 (LUMA Improvement Portfolios) for
details).




156 Full transition to the private generation operator(s) is expected to take place by FY2022. Excludes ERS pension expense after
    2022
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EXHIBIT 66: FIVE-YEAR EXPENSE FORECAST FOR GRIDCO (USD MILLION)157




          Overview of HoldCo
Exhibit 67 shows HoldCo’s expense projections over the next 5 years. Expenses are projected to
decrease by approximately 50% between FY 2023 and FY 2027, as in FY 2022 HoldCo will still
provide some transition support to GenCo (e.g., administrational support, etc.), but will transition
these support activities to GenCo in FY 2023. Additionally, Title III related costs are expected to
decrease in this time period, too, as PREPA is expected to leave Title III bankruptcy in FY 2023.
After FY 2024, HoldCo expenses are expected to decrease further, as more and more activities
from GenCo will be shifted to private operators, which will further decrease the support HoldCo
will have to provide to GenCo. As HoldCo will not be responsible for any O&M work related to
PREPA’s generation assets or the T&D System, HoldCo will not have any necessary maintenance
expenses and will only have to cover its labor and non-labor expenses. As outlined above, non-
labor expenses include Title III costs, advisor fees and P3A transaction costs, which will decrease
between FY 2023 and FY 2024 and between FY 2026 and FY 2027, as PREPA exits Title III.




157 Full transition to LUMA is expected to take place by FY 2022.
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EXHIBIT 67: FIVE-YEAR EXPENSE FORECAST FOR HOLDCO (USD MILLION)158




158 Full transition to LUMA is expected to take place by FY2022. Excludes ERS pension expense after 2022.
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Chapter 14. Debt Service
          Overview of PREPA Debt
As of May 2017, PREPA was burdened with approximately $9 billion in bond and other debt
obligations, along with an unsustainable repayment schedule. To pay full debt service on these
obligations, PREPA would have been required to increase rates by approximately 6 to 8 c/kWh in
real terms over the next twenty years. PREPA’s unsustainable capital structure reflects decades of
borrowing to fund operating deficits. In February 2014, three major credit-rating agencies
downgraded Puerto Rico’s public debt to below investment grade. In late June 2015, the debt was
downgraded a second time when it became clear that the Island’s debts were unpayable. 159
Finally, in the spring of 2016, as the investment community viewed default on nearly all of Puerto
Rico’s debt as a “virtual certainty,” PREPA lost access to credit markets – thus eliminating debt as
a means of funding necessary capital spending and operating deficits. 160,161
In July 2017, in the interest of ensuring PREPA’s future financial sustainability, and at the request
of the Government of Puerto Rico, the Oversight Board filed a voluntary petition on behalf of
PREPA for protection under Title III of the Puerto Rico Oversight, Management, and Economic
Stability Act (PROMESA) in the U.S. District Court. Since then, a group of PREPA creditors, the
Oversight Board, the Government, and PREPA negotiated a consensual debt restructuring
support agreement. However, as a result of the uncertain and unpredictable effects of COVID-19
on PREPA and its customers, the Oversight Board and the Puerto Rico Fiscal Agency and
Financial Advisory Authority (AAFAF) requested, and the court granted a pause in the Title III
process to assess and understand the implications of COVID-19.
On March 8, 2022, due to concerns regarding affordability and sustainability of the electric system
(among other reasons) AAFAF terminated the PREPA restructuring support agreement, an action
supported by the Oversight Board. As a practical matter, the Oversight Board had the contractual
right to terminate the agreement on its own. The termination terminated the agreement as to all
parties such that the restructuring support agreement is no longer in effect.
Any future, successful restructuring scenario is dependent on achieving a compromise with one
or more prepetition creditor groups, which include asset managers, insurers, and other financial
institutions that allows for sustainable rates and affordable debt service. Sustainable rates and
affordable debt service will both underpin PREPA’s ability to operate in a financially viable
manner, avoid undue burden on ratepayers, and provide a fair recovery to creditors.




159 D. Andrew Austin, Puerto Rico’s Current Fiscal Challenges, (U.S. Library of Congress, Congressional Research Service, R44095,
    2016), 4, https://fas.org/sgp/crs/row/R44095.pdf.
160 “An obligation rated ‘CC’ is currently highly vulnerable to nonpayment. The ’CC’ rating is used when a default has not yet occurred
    but S&P Global Ratings expect a default to be a virtual certainty, regardless of the anticipated time to default.”, “S&P Global
    Ratings       Definitions,”   S&P        Global       Ratings,        last     modified        September         18,      2019,
    https://www.standardandpoors.com/en_US/web/guest/article/-/view/sourceId/504352.
161 D. Andrew Austin, Puerto Rico’s Current Fiscal Challenges, 4.
                                                                 168
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          Implications of Unrestructured Debt on Projected Rates
Without restructuring its debt and other liabilities, PREPA would need to repay approximately
$3.2 billion of scheduled legacy debt service obligations over five years from FY 2023 to FY 2027
before considering the roughly $4.1 billion of unpaid past and currently due amounts through FY
2022. Fully funding PREPA’s unrestructured debt service obligations in the near term would
require rate increases of approximately 6 to 8 c/kWh in real dollars (Exhibit 68). In the longer
term, PREPA’s estimated annual debt service obligation is approximately $1 billion162 per year
based on amortization of all long-term financial liabilities at a 5.25% interest rate over 20 years.
Absent restructuring of the debt, PREPA and its customers cannot afford to meet these obligations
unless rates are increased by up to 8 c/kWh and collected which faces obstacles such as imposing
higher rates on a poor population, incentivizing users to convert to solar power, deterring business
investment, and spurring out-migration.
Payments for unrestructured debt service directly translate into higher customer bills. For
instance, for a typical customer with a monthly electricity consumption of 500 kWh in FY 2022,
including payments for unrestructured debt in the electricity rate (on top of the pre-measure rate
that does not include any debt payments) would increase the customer’s average monthly bill in
FY 2025 by ~30% from $94.9 to $123.5. This illustrative calculation assumes energy efficiency
improvements in compliance with Act 17-2019 (as included in PREPA’s IRP), unrestructured
pensions, and no demand increasing effects from, for example, electric vehicles or other
technologies.

EXHIBIT 68: RATE WITH UNRESTRUCTURED DEBT ADDED (IN NOMINAL 2022 C/KWH)




162 This includes bond principal, bond interest, fuel line principal, fuel line interest, and UCC payments.
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          Debt Sustainability Analysis
The debt sustainability analysis (DSA) included here provides a framework for assessing PREPA’s
long-term capacity to pay debt service.163 PREPA’s debt levels need to align with the objective of
recovering capital market access to fund ongoing and future infrastructure capital investment
and/or refunding savings and ensuring sustainable electric system with affordable energy prices
for the Commonwealth and its residents. The following debt sustainability analysis describes
PREPA’s capacity to pay current and projected debt.
The DSA assesses PREPA’s long-term capacity to pay debt service. The analysis must take into
account that raising rates to pay legacy debt is subject to persons’ and businesses’ ability to pay,
alternatives available to them if rates increase beyond their ability or willingness to pay, and the
negative impact higher rates have on a generally poor population and the Commonwealth’s ability
to attract new investments to grow its economy and provide jobs for a population having a high
unemployment rate. Exhibit 8, the “share of wallet” of electricity costs for the average Puerto Rico
household, is far above the average for U.S. and comparable island markets even without the
recent surge in fuel prices. PREPA’s debt levels also need to align with the objective of recovering
capital market access at reasonable rates to fund essential ongoing and future infrastructure
capital investment and/or refunding savings, ensuring a sustainable electric system with
affordable energy prices for the Commonwealth and its residents, and avoiding the consequences
to PREPA of accelerating load defection to solar and other alternative energy resources, along
with electricity theft. This debt sustainability analysis incorporates PREPA’s capacity to pay
current and projected debt through a rate increase that accounts for these concerns and PREPA’s
statutory mission and duties. Thus, the analysis, of necessity, incorporates objective and
subjective judgments and concerns concerning fairness to Puerto Rico residents, fairness to
creditors, carrying out PREPA’s statutory mission, and risks of demand loss from multiple causes.
The DSA matrix illustrates PREPA’s implied debt capacity at varying coupon levels and
hypothetical levels of net revenue (TABLE 15). The DSA assumes a 30-year term and level debt
service (i.e., 1.0 times coverage). Restructuring is imperative to achieving a sustainable solution
to PREPA’s debt obligations and paving the way to regaining its investment grade rating and
ensuring a fiscally sustainable future for the Puerto Rico energy system and Puerto Rico residents.
TABLE 15: ILLUSTRATIVE DEBT CAPACITY SENSITIVITY (Values in $000’s)


                                 Sensitivity Analysis – Implied Debt Capacity

  c/kWh                                       1.500                  2.000                 2.500                    3.000

                            5.000%          2,804,419            3,739,225               4,674,031             5,608,838

                            5.500%          2,673,610             3,564,813              4,456,016                 5,347,219
  PV Rate %
                            6.000%         2,552,796             3,403,728              4,254,660                  5,105,592

                            6.500%           2,441,019           3,254,692              4,068,365              4,882,038



163 PROMESA Section 201(b)(1)(I) mandates that the Certified Fiscal Plan include a debt sustainability analysis.
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Chapter 15. Pension Reform
       Historical Background and Organizational Structure
The PREPA Employees’ Retirement System (PREPA ERS) was originally created through
Resolution 200 of PREPA’s Governing Board in accordance with the terms of a Collective
Bargaining Agreement executed in 1942 between the Puerto Rico Electrical Industry and
Irrigation Workers Union (“UTIER,” by its Spanish acronym) and the Water Resources Authority,
now known as PREPA. PREPA’s Governing Board adopted the resolution establishing the PREPA
ERS as of July 1, 1945. Through the years, the PREPA ERS expanded its scope to cover other
PREPA employees. Since its inception, the PREPA ERS has been governed by its bylaws, as
amended, which are contractual in nature, known as the “Electric Power Authority Employee
Retirement System Regulations” (the “ERS Regulations”).
The PREPA ERS is a public pension system. Its assets are dedicated for the benefit of the active
members, retired members, and their beneficiaries. PREPA is the plan sponsor, contributes to the
PREPA ERS, and pays for all the administrative costs of the PREPA ERS, which total
approximately $4.7M per year. The ERS Regulations establish a Board of Trustees (the “Board of
Trustees”) to administer the PREPA ERS. That Board is comprised of eight (8) members, of which
one (1) member is the Executive Director of PREPA, three (3) members are active members of the
PREPA ERS and are elected by the active members of the PREPA ERS, three (3) members are
appointed by the PREPA Governing Board, and one (1) member is elected by the retired members
of the PREPA ERS.
Article 7 of the ERS Regulations provides that the powers of the Board of Trustees are subject to
the limitations that the Governing Board of PREPA may prescribe. Further, Article 11 of the ERS
Regulations provides that the ERS Regulations may be amended by the Board of Trustees,
provided that said board notifies the PREPA Governing Board thirty (30) days in advance of its
intention to amend the ERS Regulations. PREPA’s Governing Board may, within said thirty-day
(30) period, veto the proposed amendment. Additionally, Article 9(2) of the ERS Regulations
provides PREPA’s Governing Board with the ability “upon recommendation of the Board of
Trustees” to modify contributions to or terminate the PREPA ERS “for reasons that affect its
development and normal operations as a solvent entity, discontinue, suspend or reduce its
contributions.” Article 9(3) allows PREPA to terminate operation of the PREPA ERS “based on
causes or circumstances that are outside of its control”.
The ERS Regulations provide for PREPA to make an employer contribution to the PREPA ERS in
the amount of the actuarially determined contribution (ADC), which is an actuarially determined
amount reflecting the cost of benefits earned during the year (“normal cost”) plus the amortization
of the unfunded status of the plan over a fixed number of years. The ADC is the amount needed,
if contributed consistently based on each year’s actuarial calculation, to fully fund all of the
benefits payable by a plan, so long as it is based on a set of assumptions that accurately represents
expected future costs of the plan. The ERS Regulations impose on the Board of Trustees the
obligation to approve its actuarial reports and financial statements annually. Up until the June
30, 2016, actuarial valuation that the actuary for the PREPA ERS provided PREPA with an ADC
that was demonstrated, in hindsight, to be based on overly optimistic assumptions regarding
payroll, life expectancy, and return on system assets. As a result, the ADC that has been

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historically approved by the Board of Trustees was too low to maintain the health and funded
status of the PREPA ERS. An actuarial revision was performed by the ERS actuary in 2018, with
the intervention of the PREPA Governing Board, which updated many key economic and
demographic assumptions, and significantly increased the ADC beginning with the June 30, 2017,
valuation reports (i.e., FY 2019 ADC). Under its bankruptcy status, however, PREPA continued to
fund the ERS plan at the lower levels calculated from the ADC before such ADC was revised to
more realistic assumptions.

       Pension Benefits Background
PREPA ERS undertook a significant pension reform in 1993 including, most notably, an increase
in the minimum retirement age and the imposition of a cap on pension benefits through the
establishment of a maximum annual compensation limit of $50,000 as the base for the
calculation of the pension benefit (i.e., in comparison to pre-1993 employees who would receive a
merit-based pension of 75% of the highest three years of compensation without any cap). The
maximum amount of annual pension benefit that a post-January 1, 1993, hire could earn,
therefore, is $37,500 (75% of $50,000). Such reform notwithstanding, the Cost-of-Living
Adjustment (COLA) remained in effect and applies to all retirees, providing for an increase to
benefits every three years. Additionally, effective June 30, 2002, and June 30, 2003, an annual
$400 Christmas bonus and a $100 Summer bonus were added to retiree benefits. As of June 30,
2004, a lump sum Funeral Benefit of $1,000 was also established.
Key retirement provisions are itemized in the table below, both for employees hired before and
after January 1, 1993.
TABLE 16: KEY RETIREMENT PROVISIONS

   Defined
                       Hired Before January 1, 1993                Hired On or After January 1, 1993
   Benefit

 Eligibility for
 Full
                   ▪ 30 years of service                          ▪ Age 55 and 30 years of service
 Retirement
 Benefit


 Maximum           ▪ Average of the three highest annual base     ▪ Average of the three highest annual
 Compensation        salaries                                       base salaries, but capped at $50,000


                   ▪ Merit annuity is 2.5% of compensation times years of service up to 30 years
 Annual            ▪ Accrued benefit annuity is 1.5% compensation for each year of service, plus 0.5% of
 Benefits            compensation for each year of service after 20 years

                   ▪ Maximum benefit at retirement is $37,500 for those hired on or after January 1, 1993

 Employee          ▪ Employee contributions are generally
                                                                 ▪ Employee contributions are 11% of salary
 Contributions       9.06% of salary




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 Cost-of-Living         ▪ Every three years: 8% increase for monthly pension of up to $300; 4% increase for
 Adjustment               monthly pension between $300 and $600; 2% increase for monthly pension in excess
                          of $600

                        ▪ Annual bonuses of $500 ($400 for Christmas and $100 for Summer); Funeral benefit
 Other Benefits           of $1,000 paid as a lump sum; Lump sum of one year’s pay at death while active or
                          retired


Furthermore, surviving spouses of retired members are entitled to receive a life annuity equal to
30% of the annual pension level at the time of death.

        Other Post-Employee Benefits (OPEB)
For Other Post-Employment Benefits (OPEB), PREPA provides postretirement medical benefits
outside of the PREPA ERS (i.e., not paid from pension trust). The eligibility for receiving medical
benefits is 30 years of service. Currently, PREPA provides medical coverage for retirees through
a contract with Triple-S. This benefit is completely unfunded and is included in the PREPA
operating budgets, costing approximately $12 million annually under the current contract. There
are approximately 8,200 retirees that receive the OPEB medical benefit.

         Distribution of Active Participants by Age and Years of Service
As of June 30, 2020, there were approximately 12,480 retirees (12,336, as of April 2022) that
receive an average monthly pension benefit of $1,815, and 5,524 non-retired participants (3,592
as of May 2022164) that participate in the pension system. The exhibit below sets forth the
distribution of active participants by age and years of service (as of June 30, 2020).




164 The 3,592 includes over 2,000 former PREPA employees that transferred to Commonwealth agencies at the time of the
    formation of LUMA. PREPA ERS and the Oversight Board are engaged in on-going conversations related to the continued
    accruals of additional pension benefits in PREPA ERS for these employees.
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EXHIBIT 69: NUMBER OF PARTICIPANTS AND TOTAL SALARY




        Funded Status
As of March 31, 2022, the PREPA ERS total asset value was $539 million, of which approximately 29% or
$157 million was invested in “illiquid assets,” such as venture capital and partnerships, as well as employee
loans/mortgages (i.e., Other Assets). The exhibits below show the pension system’s assets declining rapidly,
primarily due to (a) significant outflow resulting from benefit payments, (b) an insufficient employer
contribution, and (c) a significant decrease in headcount leading to a reduced amount of
employee/employer contributions. As also shown in Exhibit 75 below, based on the depletion rate of trust
from FY 2022, there are approximately 19 months remaining until the liquid assets are depleted (or a
projected asset depletion date in October 2023). Note that investment returns, administrative expenses,
and employee contribution withdrawals, including any by employees that have transferred to LUMA, could
potentially accelerate the time until liquid assets are depleted.




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EXHIBIT 70: PENSION ASSETS AS OF MARCH 31, 2022




EXHIBIT 71: PENSION FUNDED STATUS AS OF JUNE 30, 2020




The exhibit above illustrates the funded ratio of the PREPA ERS plan for FY 2016-FY 2020.
Historically, the funded ratio of the plan has steadily declined since 2008 when the plan was 67%
funded. As of June 30, 2020, the pension liability was $4.3 billion compared to an asset value of
$762 million, representing a funded ratio of eighteen percent (18%), which drops to twelve
percent (12%) when excluding illiquid assets. A funded ratio of 18% means that all pension assets,
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including those that may not be liquid, cover 18% of the actuarial accrued liability associated with
the PREPA ERS Plan. The steady decline in funded status demonstrates a long history in
mismanagement of pension costs resulting in significant underfunding of the plan.
From FY 2017 to FY 2021, PREPA budgeted and contributed an approximate average of $80
million per year as the employer portion of the pension system contribution, with the FY 2022
contribution decreasing to ~$27 million. For FY 2023, the Certified Fiscal Plan reflects
contributions of ~$18 million.

       Implications of Full Funding of ADC vs. PayGo Funding
The PREPA ERS ’s current policy for calculating the ADC was established as of June 30, 2010, for
the Unfunded Actuarial Accrued Liability (UAAL), to be fully amortized over a 30-year period on
a closed basis. The UAAL is amortized as a level dollar amount, and, as of June 30, 2021, the
remaining amortization period is 20 years.
PREPA estimates that for FY 2023 (July 1, 2022, to June 30, 2023), the full ADC will be $313
million, based on the remaining 20-year amortization period. The expected benefit payments for
the same period are estimated to be $283 million, which represents over 1/2 of the market value
of assets (liquid plus illiquid) as of March 31, 2022.

EXHIBIT 72: PROJECTED PAYGO COSTS AFTER PROJECTED PREPA ERS ASSET DEPLETION




If PREPA ERS assets are depleted and PREPA employer contributions are insufficient to cover
pension benefits, PREPA would need to find resources to pay for pensions and employee
contribution withdrawals on a Pay-As-You-Go (“PayGo”) basis, or risk non-payment of benefits
to pensioners. At the current rate of funding, the PREPA pension system plan assets could become
depleted PayGo during FY 24, requiring an emergency electric rate increase to fund pension
obligations on a PayGo basis. Exhibit 72 shows the projected Paygo payments and the associated
cost to ratepayers after PREPA ERS assets are exhausted Under PayGo, employer contribution
would continue decades beyond the year 2050 until all benefits are paid. Possible solutions to
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avoid such outcome include but are not limited to: (i) a future payment, potentially through the
issuance of debt, made under the plan to PREPA ERS; (ii) or new pension trust from a transition
charge established under the Plan; (iii) a separate stream of PayGo payments to pensioners
directly (net of any distributions from residual PREPA ERS assets); or (iv) pro rata share of the
unsecured creditor distribution under the Plan to PREPA ERS, requiring PREPA ERS to reduce
pension payments to retirees pro rata.

       Structural Pension Reform Considerations
Because the PREPA-ERS trust is significantly underfunded a reform must be adopted to
structurally support the ongoing needs of pensioners, while balancing the impact on power rates
given the expected future reductions in electricity demand from the grid in future years. PREPA
must determine the method by which these benefits will be funded, and the level of benefits that
will be provided in the future (e.g. whether to apply a freeze, COLA elimination, cut etc.). The
overarching decision that needs to be made relates to the pension funding vehicle. Currently,
pension contributions are made to the PREPA ERS trust with benefits and administrative costs
paid from the trust’s accumulated assets. Current contributions to the plan are insufficient and
will result in the trust becoming insolvent in the near future. If PREPA ERS assets are depleted,
the payments will need to be converted to PayGo. A decision is needed whether to maintain a
trust structure and rebuild the funded status of the plan to avoid the need to convert to PayGo, or
simply accept the conversion to PayGo. In either case, additional decisions are needed in the areas
outlined below to consider not only the contributions needed to appropriately fund the plan, but
the impact of these costs on electricity rates.

       Short term pension funding considerations
If benefits are funded through a pension trust (either PREPA ERS or a newly established trust),
PREPA will consider how best to reduce the negative impact of significant variations in the
surcharge from year to year on customers. While rates would need to be reviewed annually to
adjust for any losses occurring during the year, potentially adversely affecting long term adequate
funding of the trust (for example variation in actual demand levels versus projected demand,
unfavorable asset returns, etc.), funding benefits through a trust should allow the rate to be more
even, providing increased stability in electricity rates over the years.
If pensions are paid via PayGo, the risk of fluctuation of revenue from the pension surcharge in
electricity rates is even greater. Ideally, retirees need to be able to count on a stable monthly
retirement income from PREPA ERS. Therefore, unlike other expenses which may be delayed for
a period of time under challenging business conditions, a retirement system plan must be in place,
with confirmations each month, to ensure that retirees receive their monthly pension checks in a
timely manner. This may involve, for example, structuring the surcharge to collect revenue in
advance for benefits that will be payable at some point in the future, so that if revenue is less than
expected in the short term (e.g., lower demand due to natural disasters or general seasonal
fluctuations), there is time to adjust the surcharge to generate the level of revenue necessary to
pay benefits to retirees.

       Longer term pension funding considerations
If benefits are funded through a trust, there is more flexibility in how to structure the pension
surcharge. Given the projected decline in future electricity demand and the long-term nature of
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the pension obligation, a funding practice that results in a relatively stable contribution level each
year will, as a by-product, result in continued increases in electric rates when lower demand levels
in later years are factored in. As an alternative, a flat electricity rate could be determined that, if
charged on current and future rates, would result in cumulative contributions at a level sufficient
to fully fund the retirement system plan by the end of the closed amortization period.
If instead pension system expenses are funded via PayGo, there must be a recognition that
pension payments for younger plan participants will extend decades beyond the length of the
Certified Fiscal Plan. Therefore, a plan is necessary to make sure that these participants receive
the pensions promised to them under PREPA pension reform as far out in years as necessary,
even as demand may continue to decline.




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Chapter 16. Post-Certification Reporting
Electric utilities and energy providers operate critical infrastructure, often as monopolies. To
provide transparency and inform regulators, employees, customers, and other stakeholders,
regulated energy and utility companies must adhere to strict transparency and reporting
requirements mandated by different federal, state, and other regulatory entities. Such reporting
requirements are industry standard and apply to PREPA.
Historically, it has been PREPA’s responsibility to report on its financial, operational, and
reliability indicators. As part of the transformation of Puerto Rico’s energy sector and LUMA’s
role as the operator of the T&D System, LUMA has continued to comply with some of these – and
certain additional – reporting requirements, as specified in the T&D OMA. The T&D OMA
authorizes LUMA to represent PREPA before PREB “with respect to any matter related to the
performance of any of the O&M Services” provided by LUMA. It further specifies that LUMA will
be responsible for all related filings and other submissions before PREB. Annex I of the T&D OMA
details LUMA’s accounting and financial information reporting requirements, including to both
PREB and the P3A, and mandates LUMA to aid PREPA and P3A “in connection with the
preparation of reports and other documents to satisfy PREPA’s reporting requirements.” These
include (among other requirements):
   ▪   quarterly and annual (year-end) financial reporting;
   ▪   monthly and annual federal agency reporting requirements;
   ▪   PREB reporting requirements;
   ▪   Budget Reconciliation Act of 2017 and other federal and Commonwealth stimulus or
       funding program reporting requirements; and
   ▪   Department of Energy reporting requirements.


To monitor the progress of PREPA’s operational and financial reorganization and the
transformation of Puerto Rico’s energy sector, as well as the health and performance of Puerto
Rico’s electricity system, the Oversight Board has historically required PREPA to submit
additional performance and implementation-related information to the Oversight Board on a
regular basis. PREPA must continue to meet these reporting requirements until it is no longer a
covered territorial instrumentality as designated by the Oversight Board pursuant to PROMESA.
Going forward and as defined in their respective OMAs, the private operators of PREPA’s T&D
and generation assets will be responsible for certain operational and non-operational measures.
As a result, PREPA will be required to work closely with both entities to fully implement and
complete the reorganization and transformation of Puerto Rico’s energy sector.
The Oversight Board will use the private operators’ reports to PREB and P3A on outcome metrics
and implementation status to supplement the information provided by PREPA and continue to
monitor the financial health and performance of Puerto Rico’s electricity system, while reserving
its right to request certain other reports from LUMA either directly or through PREPA.
The sections below describe various reports and metrics that must be submitted by PREPA,
LUMA, and any other future generation asset private operator(s). Section 16.1 below describes the
required information and submission cadence for each non-operational report PREPA must
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submit to the Oversight Board, or that LUMA must submit to P3A and/or PREB, and to which the
Oversight Board will have access to, as per the agreement with LUMA. “Non-operational” in this
context means that these reports are not tied to specific operational measures but are overarching,
indicating the overall performance and health of the electricity system. Section 16.2 includes an
overview of the T&D-related metrics that LUMA is submitting to P3A and PREB as per the
OMA165, and to which the Oversight Board will have access to as per the agreement with LUMA.
The overview in section 16.3 summarizes generation-related metrics and reports that are tied to
specific operational measures and that PREPA must submit to the Oversight Board. It reflects
improvements to PREPA’s reporting process initiated in FY 2020. Once the transition of PREPA’s
legacy generation assets has been finalized, the generation-related reporting responsibilities will
move over from PREPA to the private operator. These changes will be reflected at a later point in
time.
PREPA and the private operators will submit reports on a weekly, monthly, quarterly, or annual
basis. The cadence and process for reporting is described in the table below.


TABLE 17: REPORTING CADENCE

Report Type           Submission Timeline
Weekly                Submitted on Wednesdays for the preceding week
Monthly               Expected 15 days after the end of the month
Quarterly             Expected 45 days after the end of the quarter in the form of a consolidated report
Annually              Expected 120 days after the end of a Fiscal Year in the form of a consolidated report


         Non-operational Reports
Reporting of non-operational matters, i.e., information not tied to specific operational measures
but information that is describing the performance and health of the electricity system at a more
general level, is divided into two (2) categories: (1) Resilience and Resource Planning, and (2)
Financial. Resilience and Resource Planning reports provide updates on implementation of the
Integrated Resource Plan (IRP), grid modernization, and federal funding efforts. The financial
reporting cadence varies based on the nature of the reported metric, ranging from weekly to
annually.




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TABLE 18: NON-OPERATIONAL REPORTS

                                                                                                                Responsible
                                        Report                          Detail                      Cadence       Entity
                                   Implementation      Submission of all PREB required IRP status As determined PREPA/ LUMA
                                   of PREB             reports, including a two-year near-term by PREB
                                   approved IRP        forecast of the system’s expected capacity
                                   and Modified        resource balance on a seasonal basis and its
                                   Action Plan         ability to meet peak load and operating
                                                       reserve requirements with existing and
                                                       anticipated resources at each of the
                                                       forecasted intervals.
                                   Implementation Grid modernization plan must provide an           Monthly     PREPA/ LUMA
                                   of          Grid overview of the major investment
                                   Modernization    categories and projects that PREPA is
                                                    considering in order to deliver reliable,
                                                    resilient power and status of project
                                                    delivery against milestones
                                   Permanent    and Updates on FEMA and CDBG-DR funding             Monthly     PREPA/ LUMA
                                   Emergency        programs for permanent and emergency
                                   Work-Related     work for generation and T&D assets.
                                   Federal Funding Provide the following by PW:
                                   Report           ■ Intended use and description of project
                                                        portfolio
                                                    ■ Obligated amount
                                                    ■ Received amount
                                                    ■ Cost-match requirements
                                                    ■ Cost-match funded (by source)
                                                    ■ Project timeline and/or milestones

                                   Budget to Actuals Tracking of certified Budget to Actual for     Monthly     PREPA/ LUMA
                                   (Reporting          GenCo and HoldCo based on template to be
                                   requirement      is provided by the Oversight Board:
                                   separate from any ■ Include explanation for material
                                   requirement under       variances (greater than 10% and $30
                                   Section    203  in      million)
  Resiliency & Resource Planning




                                   PROMESA)            ■ Include income statement in the
                                                           reporting package
                                                       ■ Provide monthly budget reporting
                                                       Tracking of certified Budget to Actual for   Quarterly   PREPA/ LUMA
                                                       GridCo, GenCo and HoldCo based on
                                                       template to be provided by the Oversight
                                                       Board:
                                                       ■ Include explanation for material
                                                           variances (greater than 10% and $30
                                                           million)
                                                       ■ Include income statement in the
                                                           reporting package
                                                       ■ Provide quarterly budget reporting




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                                                                                 Responsible
            Report                        Detail                     Cadence       Entity
      Accounts          Continued reporting on cash flow, payables   Monthly        LUMA
      Receivable        and receivables by customer or vendor
      (AR)/Accounts     class.
      Payable (AP) cash
      flow reporting


       Transmission & Distribution-related Operational Measures
Per the T&D OMA, LUMA will annually submit T&D-related performance metrics to P3A and
PREB across three categories: (1) Customer Satisfaction and (2) Technical, Safety, & Regulatory,
and (3) Financial Performance. LUMA will also submit performance metrics on LUMA’s
performance during a Major Outage Event. The specific metrics within each category are included
in Chapter 8.
In addition, LUMA shall provide to the Oversight Board copies of any monthly, quarterly or
annual report submitted to PREB, the P3A, or any other government agency, until PREPA is no
longer a covered territorial instrumentality, as designated by the Oversight Board pursuant to
PROMESA. Moreover, LUMA and PREPA, will complement their System Remediation Plan
updates to the PREB (NEPR-MI-2020-0019) with information related to vegetation
management. Specifically, LUMA will provide updates on the number of miles cleared, the
municipalities impacted, and number or percentage of service interruptions caused by it. The
Oversight Board will use these reports to supplement the information provided by PREPA in
monitoring the financial health and performance of Puerto Rico’s electricity system.

       Generation-Related Operational Metrics and Reports
Until the private operator for PREPA’s generation assets assumes responsibility, PREPA is
required to report on its generation asset related operational measures on a monthly cadence for
all operational measures. The precise reporting requirements vary by the nature of the measure,
as outlined by the table below.




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TABLE 19: REPORTS ON GENERATION-RELATED OPERATIONAL MEASURES

                                      Report              Detail                                                      Cadence

 Agreements                           Diesel      supply Report to include diesel purchases Year-To-Date (YTD),         Monthly
 Fuel Supply



                                      contract           with year-over-year comparison of results. Reporting
 and Power
 Purchase


                                                         required on renegotiation or renewal extension process.
                                      Bunker       fuel Report to include bunker fuel purchases YTD, with year-         Monthly
                                      supply contract over-year comparison of results. Reporting required on
                                                        renegotiation or renewal extension process.
                                      Legacy              Reporting requirements to include RFP process updates         Monthly
                                      generation P3       for generation operator(s) and subsequent front end
                                                          transition process
                                      PREPA          Reporting requirements to include a project workplan for           Monthly
                                      Reorganization execution of PREPA Reorganization Plan, including but
                                      Plan           not limited to:
                                      Implementation     • A clear description of PREPA’s reorganized
                                                             corporate structure, including identifying all
                                                             subsidiaries expected to be established in relation
                                                             to its reorganization (GridCo, GenCo, HoldCo,
                                                             HydroCo, and PropertyCo), as well as any other
                                                             remaining subsidiaries (i.e., PREPA Holdings,
                                                             PREPA Networks, LLC—now known as HUB
     P3 Projects and Transformation




                                                             Advanced Networks, etc.).
                                                         • A description of each entity within the overall
                                                             umbrella structure, including operational scope,
                                                             roles, responsibilities, and required roster size of
                                                             operations over time (i.e., Organizational Charts).
                                                         • A detailed timeline with specific milestones
                                                                   that is consistent with the goal of a timely
                                                                   completion for PREPA’s reorganization.
                                                              •    A list of clear descriptions of PREPA’s intended
                                                                   transformation with regards to each entity or
                                                                   subsidiary (e.g., processes contemplated for
                                                                   managing and divesting assets, transferring
                                                                   operations to third party operators whether
                                                                   private or public, as applicable).




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Chapter 17. Conclusion
The 2022 Certified Fiscal Plan lays out the actions the Government of Puerto Rico
must take to accelerate and successfully complete the transformation of Puerto
Rico’s energy system. As laid out in this Certified Fiscal Plan, as well as in the 2022
Commonwealth Certified Fiscal Plan, the full and complete implementation of the Energy Sector
Reform is a fundamental component of Puerto Rico’s strategy to promote economic development,
improve its attractiveness as an investment destination, and, last but not least, improve the
quality of life of its residents.
The modest steps taken by PREPA to procure renewable resources and the successful transition
to LUMA as private operator of the T&D system important achievements that together provide
PREPA’s customers with a sense of hope that a modern, efficient and reliable energy system is
possible. Nonetheless, the overall delays in many other initiatives, including the development of
the 150MW of non-operational renewable resources previously approved by the Oversight Board,
PREPA’s corporate reorganization, the deployment of federal funding and the procurement of
renewable resources in excess of those procured in Tranche 1, among others, pose a clear and
present risk to the progress seen thus far. Unless urgent action is taken, in particular by PREPA,
LUMA and PREB, Puerto Rico’s residents may find themselves having to permanently rely on an
outdated and unreliable energy system.
Aside from ensuring the short-term reliability of its generation fleet, PREPA’s resources and focus
should be deployed to enable the successful transition of Generation operations to one or more
private operators, as mandated by Act 17-2019. Similarly, PREPA should continue to focus and
enhance its efforts on facilitating the access and deployment of federal funds, both towards the
improvement of generation resources as well as towards investments in the T&D System, by
supporting and serving as a partner to LUMA in its efforts to improve the quality and reliability
of energy services in Puerto Rico.
In the longer term, updating and implementation of the IRP, 10-year Infrastructure Plan, and
LUMA’s improvement programs, will be essential to building a modern, safe, reliable, and
resilient electricity sector for Puerto Rico. The 2022 Certified Fiscal Plan sets PREPA on a course
to fully transform the energy system with best-in-class operational technology and expertise.




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